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                                                                                                                         Mr. R o n al d Tr a c ht e n b er g, Es q.
                                                                                                                                       F ur h m a n a n d D o d g e
                                                                                                                                                            Pa ge 2

T h e cli e nt i n t hi s a s si g n m e nt i s F ur h m a n a n d D o d g e a n d t h e i nt e n d e d u s er s of t hi s r e p ort ar e att or n e y
R o n al d Tr a c ht e n b er g, t h e l a w fir m of F u hr m a n a n d D o d g e, a n d t h e cli e nt o w n er s hi p e ntit y of t h e
s u bj e ct pr o p ert y a n d n o ot h er s. T h e s ol e i nt e n d e d u s e i s f or di s p ut e r e s ol uti o n a n d liti g ati o n p ur p o s e s.
T h e v al u e o pi ni o n s r e p ort e d h er ei n ar e s u bj e ct t o t h e d efi niti o n s, a s s u m pti o n s, li miti n g c o n diti o n s, a n d
c ertifi c ati o n s c o nt ai n e d i n t hi s r e p ort.

T h e fi n di n g s a n d c o n cl u si o n s ar e f urt h er c o nti n g e nt u p o n t h e f oll o wi n g e xtr a or di n ar y a s s u m pti o n s
a n d/ or h y p ot h eti c al c o n diti o n s, t h e u s e of w hi c h mi g ht h a v e aff e ct e d t h e a s si g n m e nt r e s ult s:

E xtr a or di n ar y Ass u m pti o ns:
             T hi s a p pr ai s al i s pr e di c at e d o n t h e e xtr a or di n ar y a s s u m pti o n t h at h a z ar d o u s s u b st a n c e s d o n ot
              e xi st at t h e s u bj e ct pr o p ert y. T h e a p pr ai s er, h o w e v er, i s n ot q u alifi e d t o d et e ct s u c h s u b st a n c e s,
              i n cl u di n g t h e e xi st e n c e of ur e a-f or m al d e h y d e i n s ul ati o n, r a d o n g a s, f o a m a n d a s b e st o s
              i n s ul ati o n, l e a d p ai nt or ot h er p ot e nti all y h a z ar d ou s m at eri al t h at m a y aff e ct t h e v al u e of t h e
              pr o p ert y. A d diti o n all y, n o s oil s ur v e y h a s b e e n f u r ni s h e d, a n d it i s a s s u m e d t h at n o s urf a c e or
              s u b s urf a c e c o nt a mi n a nt s ar e pr e s e nt. N o r e s p o n si bilit y i s a s s u m e d f or a n y s u c h c o n diti o n s,
              n or f or a n y e x p erti s e or e n gi n e eri n g k n o wl e d g e r e q uir e d t o di s c o v er t h e m.
             It i s a s s u m e d t h at t h e i nf or m ati o n pr o vi d e d t o u s b y t h e o w n er a n d cit y/ c o u nt y offi ci al s i s
              a c c ur at e. A n y d e vi ati o n fr o m h o w t hi s i nf or m at i o n w a s r e pr e s e nt e d t o u s c o ul d r e s ult i n a
              c h a n g e i n o pi ni o n of v al u e. M or e s p e cifi c all y, w e w er e pr o vi d e d wit h a f or m er l e a s e a gr e e m e nt
              t h at r e p ort e d t h e gr o s s b uil di n g ar e a of t h e pr o p ert y t o b e 3 6, 5 0 0- s q u ar e f e et. H o w e v er,
              a c c or di n g t o c o u nt y pr o p ert y r e c or d s, t h e gr o s s b uil di n g ar e a w a s r e p ort e d t o b e 3 8, 9 0 5-
              s q u ar e f e et. Aft er c o n d u cti n g a r o u g h m e a s ur e m e nt vi a a eri al GI S s oft w ar e, t h e b uil di n g ar e a
              r e p ort e d o n t h e l e a s e a p p e ar s t o b e t h e m o st a c c ur at e fi g ur e. T h er ef or e, f or p ur p o s e s of t hi s
              a n al y si s, w e h a v e r eli e d o n t h e 3 6, 5 0 0- s q u ar e fi g ur e r e p ort e d b y t h e l e a s e d o c u m e nt.
             T h e a p pr ai s er w a s n ot s u p pli e d a l e g al d e s cri pti o n or s ur v e y of t h e s u bj e ct pr o p ert y. T hi s
              a p pr ai s al i s c o nti n g e nt o n t h e s u bj e ct sit e( s) b e i n g t h e si z e, s h a p e, a n d di m e n si o n s a s i n di c at e d
              i n t hi s r e p ort.
             If a n y i nf or m ati o n ari s e t h at c o ntr a di ct s t h e e xtr a or di n ar y a s s u m pti o n s st at e d a b o v e, w e
              r e s er v e t h e ri g ht t o r e- e nt er t hi s d o c u m e nt a n d m a k e a n y c h a n g e s t o t h e c o n cl u si o n
              d et er mi n e d h er ei n t h at w e d e e m n e c e s s ar y. T h e u s e of t h e s e e xtr a or di n ar y a s s u m pti o n s m a y
              h a v e aff e ct e d t h e a s si g n m e nt r e s ult s.

H y p ot h eti c al C o n diti o ns:
             W e h a v e a p pr ai s e d t h e pr o p ert y a s ' st a bili z e d' a s       d e s cri b e d i n t hi s r e p ort a s of t h e d at e of
              v al u e.
B a s e d o n t h e a n al y si s c o nt ai n e d i n t h e f oll o wi n g r e p ort, o ur v al u e c o n cl u si o n s ar e s u m m ari z e d a s
f oll o w s:




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                                                                                                                            Mr. R o n al d Tr a c ht e n b er g, Es q.
                                                                                                                                          F ur h m a n a n d D o d g e
                                                                                                                                                               Pa ge 3


                                                                          V al u e C o n cl u si o n s
                                                                                                                                      P r o s p e cti v e U p o n
    C o m p o n e nt                                                                                                       As Is               St a bili z ati o n
    V al u e T y p e                                                                                           M ar k et V al u e              M ar k et V al u e
    Pr o p ert y Ri g hts A p pr ai s e d                                                                         F e e Si m pl e                L e as e d Fe e
    Eff e cti v e D at e of V al u e                                                                     O ct o b er 2 1, 2 0 1 9               M a y 1, 2 0 2 0
    V al u e C o n cl u si o n                                                                                    $ 4, 0 0 0, 0 0 0              $ 6, 3 0 0, 0 0 0
                                                                                                                 $ 1 0 9. 5 9 p s f             $ 1 7 2. 6 0 p s f


R e s p e ctf ull y s u b mitt e d,
V al bri d g e Pr o p ert y A d vi s or s | C hi c a g o




  G ar y K. D e Cl ar k, M AI, C R E, F RI C S, R/ W- A C
  S e ni or M a n a gi n g Dir e ct or a n d Pri n ci p al
  Wi s c o n si n Li c e n s e 2 6 1- 1 0
  g d e cl ar k @ v al bri d g e. c o m




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                                                                                                                                                                   T A BLE OF C O N TE N TS




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L ett er of Tr a n s mitt al
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    Q u alifi c ati o n s................................................................................................................. .................................................... 1 5 5
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                                                                                                                             S U M M A R Y O F S A LI E N T F A C T S




S u m m ar y of S ali e nt F a ct s
   Pr o p ert y I d e ntifi c ati o n
       Pr o p ert y N a m e                                               V a c a nt Gr o c er y St or e
       Pr o p ert y A d dr e s s                                          1 5 0 C o m m er c e Dr
                                                                          C ol u m b us, C ol u m bi a C o u nt y, Wi s c o nsi n 5 3 9 2 5
       L atit u d e & L o n git u d e                                     4 3. 3 4 8 6 4 9, - 8 9. 0 3 8 5 1 4
       T a x P ar c el N u m b er                                         1 1 2 1 1 - 1 5 1 2. 0 2
       Pr o p ert y O w n er                                              C C C L ot 2, L L C

   Sit e
       Z o ni n g                                                         Li g ht I n d ustri al (I- 1)
       F E M A Fl o o d M a p N o.                                        55 0 21 C0 60 6F
       Fl o o d Z o n e                                                   Zo ne X
       L a n d Ar e a                                                     3. 5 6 0 a cr e s

   E xi s ti n g I m pr o v e m e nt s
       Pr o p ert y U s e                                                 Fr e e St a n di n g R et ail B uil di n g
       I n v e st m e nt Cl a s s                                         C
       O cc u p a nc y T y p e                                            V a c a nt
       Gr o s s B uil di n g Ar e a ( G B A)                              3 6, 5 0 0 sf
       N et R e nt a bl e Ar e a ( N R A)                                 3 6, 5 0 0 sf
       N u m b er of B uil di n g s                                       1
       N u m b er of St ori e s                                           1
       Y e ar B uilt                                                      2015
       C o n diti o n                                                     Good
       C o nstr u cti o n Cl a s s                                        C - M a s o nr y
       C o nstr u cti o n Q u alit y                                      Good
       S urf a c e P ar ki n g                                            1 2 6 s p a c es
   V al u ati o n O pi ni o n s
       Hi g h e st & B e st U s e - As V a c a nt                         C o m m er ci al/r et ail
       Hi g h e st & B e st U s e - As I m pr o v e d                     Gr o c er y st or e
       R e a s o n a bl e E x p o s ur e Ti m e                           9 t o 1 2 m o nt hs
       R e a s o n a bl e M ar k eti n g Ti m e                           9 t o 1 2 m o nt hs




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                                                                                                                           S U M M A R Y O F S A LI E N T F A C T S



                                                                          V al u e I n di c ati o n s
                                                                                                                                      Pr o s p e cti v e U p o n
    A p pr o a c h t o V al u e                                                                                             As Is             St a bili z ati o n
    L a n d O nl y - S al e s C o m p ari s o n                                                                      $ 3 1 0, 0 0 0

    C o st                                                                                                        $ 3, 8 6 0, 0 0 0              $ 6, 0 9 0, 0 0 0

    S al e s C o m p ari s o n                                                                                    $ 3, 7 9 0, 0 0 0              $ 6, 0 2 0, 0 0 0
    I n c o m e C a pit ali z ati o n
        Dir e ct C a pit ali z ati o n                                                                            $ 4, 1 0 0, 0 0 0              $ 6, 3 3 0, 0 0 0
                                                                          V al u e C o n cl u si o n s
                                                                                                                                      Pr o s p e cti v e U p o n
    C o m p o n e nt                                                                                                       As Is              St a bili z ati o n
    V al u e T y p e                                                                                           M ar k et V al u e             M ar k et V al u e
    Pr o p ert y Ri g hts A p pr ai s e d                                                                         F e e Si m pl e                L e as e d Fe e
    Eff e cti v e D at e of V al u e                                                                     O ct o b er 2 1, 2 0 1 9               M a y 1, 2 0 2 0
    V al u e C o n cl u si o n                                                                                    $ 4, 0 0 0, 0 0 0              $ 6, 3 0 0, 0 0 0
                                                                                                                 $ 1 0 9. 5 9 p s f             $ 1 7 2. 6 0 p s f




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                                                                                                    A E RI A L A N D F R O N T VI E W S




A eri al a n d Fr o nt Vi e w s
                                                                          A E RI A L VI E W




                                                                          F R O N T VI E W




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                                                                                                                            V A C A NT GR O CERY ST ORE
                                                                                                                                        I N T R O D U C TI O N




I ntr o d u cti o n
Cli e nt a n d I nt e n d e d Us ers of t h e A p pr ais al
T h e cli e nt i n t hi s a s si g n m e nt i s F ur h m a n a n d D o d g e a n d t h e s ol e i nt e n d e d u s er s of t hi s r e p ort ar e
att or n e y R o n al d Tr a c ht e n b er g, t h e l a w fir m of F u hr m a n a n d D o d g e, a n d t h e cli e nt o w n er s hi p e ntit y of
t h e s u bj e ct pr o p ert y. U n d er n o cir c u m st a n c e s s h all a n y of t h e f oll o wi n g p arti e s b e e ntitl e d t o u s e or
r el y o n t h e a p pr ai s al or t hi s a p pr ai s al r e p ort:

       i.             T h e b orr o w er( s) o n a n y l o a n s or fi n a n ci n g r el ati n g t o or s e c ur e d b y t h e s u bj e ct pr o p ert y,
       ii.            A n y g u ar a nt or( s) of s u c h l o a n s or fi n a n ci n g; or
       iii.           Pri n ci p al s, s h ar e h ol d er s, i n v e st or s, m e m b er s or p art n er s i n s u c h b orr o w er( s) or g u ar a nt or s.

I nt e n d e d Us e of t h e A p pr ais al
T h e s ol e i nt e n d e d u s e of t hi s r e p ort i s f o r di s p ut e r e s ol uti o n a n d liti g ati o n p ur p o s e s.

R e al Est at e I d e ntifi c ati o n
T h e s u bj e ct pr o p ert y i s l o c at e d at 1 5 0 C o m m er c e Dr, C ol u m b u s, C ol u m bi a C o u nt y, Wi s c o n si n 5 3 9 2 5.
T h e s u bj e ct pr o p ert y i s f urt h er i d e ntifi e d b y t h e t a x p ar c el n u m b er 1 1 2 1 1- 1 5 1 2. 0 2. T h e s u bj e ct i s a
3 6, 5 0 0- s q u ar e f o ot v a c a nt gr o c er y st or e t h at ori g i n all y o p er at e d u n d er t h e S e ntr y F o o d s a n d A c e
H ar d w ar e b a n n er s. It m o st r e c e ntl y w a s l e a s e d t o M a ur er' s F o o d s i n D e c e m b er 2 0 1 8. I n M ar c h 2 0 1 9,
M a ur er' s a n n o u n c e d t h at t h e pr o p ert y will b e cl o si n g it s d o or s a n d b e g a n t h e li q ui d ati n g pr o c e s s. T h e
pr o p ert y offi ci all y b e c a m e v a c a nt i n M a y of 2 0 1 9 a n d r e m ai n s v a c a nt a s of t h e eff e cti v e d at e of t hi s
r e p ort. T h e i m pr o v e m e nt s w er e c o n str u ct e d i n 2 0 1 5 a n d ar e c o n si d er e d i n g o o d o v er all c o n diti o n. T h e
s u bj e ct i s p art of a r et ail c e nt er t h at i s att a c h e d t o a v a c a nt st or e t h at w a s pr e vi o u sl y o c c u pi e d b y
S h o p k o, pri or t o t h e r et ail er fili n g f or b a n kr u pt c y i n J a n u ar y of 2 0 1 9.

L e g al D es cri pti o n
A c o m pr e h e n si v e s ur v e y of t h e s u bj e ct pr o p ert y h a d n ot b e e n pr o vi d e d t o t h e a p pr ai s er( s). L e g al
d e s cri pti o n( s) of t h e s u bj e ct p ar c el( s) h a v e n ot b e e n utili z e d or c o n si d er e d i n t hi s v al u ati o n. T h e s u bj e ct
pr o p ert y i s a n al y z e d b a s e d o n a p pr o xi m at e b o u n d ar i e s d e pi ct e d o n m a p s ( or ot h er d o c u m e nt) f o u n d
t hr o u g h o ur r e s e ar c h of r e c or d s p u bli s h e d b y c o m m er ci al a n d g o v er n m e nt al s o ur c e s, a s w ell a s a n y
a d diti o n al r e s o ur c e m at eri al( s) w hi c h m a y b e pr o vi d e d b y t h e cli e nt a n d/ or it s affili at e s. U nl e s s
s p e cifi c all y st at e d, all e x hi bit s c o nt ai n e d wit hi n t hi s a p pr ai s al r e p ort w hi c h d e pi ct pr o p ert y b o u n d ari e s,
e a s e m e nt s, ri g ht s - of - w a y, or a n y ot h er t y p e of e n c u m br a n c e( s) w hi c h m a y aff e ct t h e s u bj e ct pr o p ert y
h a v e n ot b e e n i n d e p e n d e ntl y v erifi e d b y a n y e m pl o y e e of V al bri d g e Pr o p ert y A d vi s or s. F or o ur
v al u ati o n p ur p o s e s, t h e i nf or m ati o n c o nt ai n e d i n s u c h e x hi bit s a n d i n o ur d e s cri pti o n s of t h e s u bj e ct
pr o p ert y i s a s s u m e d t o b e tr u e a n d a c c ur at e a n d t hi s i nf or m ati o n s er v e s a s t h e b a si s f or o ur
c o m p etiti v e a n al y si s of t h e s u bj e ct pr o p ert y.

Us e of R e al Est at e as of t h e Eff e cti v e D at e of Val u e
A s of t h e eff e cti v e d at e of v al u e, t h e s u bj e ct w a s a v a c a nt gr o c er y st or e pr o p ert y.

Us e of R e al Est at e as R efl e ct e d i n t his A p pr ais al
T h e o pi ni o n of v al u e f or t h e s u bj e ct a s i s r efl e ct s u s e a s a fr e e st a n di n g r et ail b uil di n g.

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                                                                                                                                   I N T R O D U C TI O N



O w n ers hi p of t h e Pr o p ert y
A c c or di n g t o p u bli c r e c or d s, titl e t o t h e s u bj e ct pr o p ert y i s v e st e d i n C C C L ot 2, L L C.

Hist or y of t h e Pr o p ert y
O w n er s hi p of t h e s u bj e ct pr o p ert y h a s n ot c h a n g e d wit hi n t h e p a st t hr e e y e ar s.

T h e s u bj e ct w a s c o m pl et e d i n A pril 2 0 1 5. A c c or d i n g t o t h e d e v el o p er, t h e b uil di n g a n d F F & E
r e p ort e dl y c o st a p pr o xi m at el y $ 8. 3 milli o n. T h e pr o pert y w a s ori gi n all y o p er at e d u n d er t h e S e ntr y
F o o d s a n d A c e H ar d w ar e b a n n er s. I n M ar c h of 2 0 1 8, t h e gr o c er c e a se d o p er ati o n s a s S e ntr y F o o d s
a n d r e br a n d e d a s C ol u m b u s H o m et o w n M ar k et. I n N o v e m b er 2 0 1 8 t h e pr o p ert y w a s l e a s e d t o
M a ur er’ s F o o d s. M a ur er’ s F o o d s o p er at e d t h e s u bj e c t a s M a ur er’ s M ar k et b e gi n ni n g i n D e c e m b er 2 0 1 8.
I n M ar c h 2 0 1 9, M a ur er’ s a n n o u n c e d t h at t h e pr o p ert y w o ul d b e cl o si n g it s d o or s a n d b e g a n t h e
li q ui d ati o n pr o c e s s, e x er ci si n g a si x- m o nt h c a n c el ati o n cl a u s e wit hi n t h eir l e a s e. B a s e d u p o n d at a
pr o vi d e d b y t h e cli e nt, t h e st or e cl o s e d i n M a y 2 0 1 9 a n d cit e d p o or s al e s at t h e s u bj e ct’ s l o c ati o n f or
t h e cl o s ur e of t h e pr o p ert y. F urt h er i n v e sti g ati o n r e v eal e d t h at t h e p o or s al e s w a s d u e t o f o ur y e ar s of
o n g oi n g r o a d c o n str u cti o n wit hi n t h e vi ci nit y of t h e s u bj e ct pr o p ert y. T h e r o a d c o n str u cti o n n e g ati v el y
i m p a ct e d t h e b u si n e s s at t h e s u bj e ct pr o p ert y a n d t h e s urr o u n di n g c o m m er ci al pr o p erti e s, i n cl u di n g
t h e S h o p k o a n d n ei g h b ori n g stri p c e nt er. T o f urt h er c o m p o u n d t h e p o or s al e s of t h e f or m er gr o c er y
st or e, it w a s r e p ort e d t h at t h e f or m er t e n a nt, S e ntr y F o o d s, w a s n ot a g o o d fit f or t hi s l o c ati o n gi v e n
t h e hi g h er pri c e d it e m s s ol d b y t h e gr o c er. L a stl y, n ot k n o w n b y t h e o w n er pri or t o t h e o c c u p a n c y of
S h o p k o, t h e r et ail er c arri e d a p pr o xi m at el y 2 5 % f o o d i n v e nt or y at t h e st or e, w hi c h n e g ati v el y i m p a ct e d
t h e s al e s of t h e a dj a c e nt s u bj e ct gr o c er y st or e. All of t h e s e f a ct or s r e s ult e d i n t h e p o or s al e s of t h e
f or m er t e n a nt a n d t h e e v e nt u al cl o si n g of st or e at t hi s l o c ati o n. It w a s r e p ort e d b y t h e i nt er vi e w e d
gr o c er y st or e s p e ci ali st, t h at a c c or di n g t o m ar k et r e s e ar c h, r o a d cl o s ur e s c a n a c c o u nt f or a s m u c h a s
5 0 % r e d u cti o n i n st or e r e v e n u e s. C o m bi ni n g t h e r e m a i ni n g n e g ati v e f a ct or s t h at eff e ct e d t h e s u bj e ct
pr o p ert y, st or e s al e s c o ul d b e r e d u c e d b y a s m u c h a s 6 0 % t o 7 5 %, w hi c h d efi nit el y l e a d t o t h e d e mi s e
of t h e pri or t e n a nt.

W h e n a p pr o pri at e, w e h a v e c o n si d er e d a n d a n al y z e d t h e k n o w n hi st or y of t h e s u bj e ct i n t h e
d e v el o p m e nt of o ur o pi ni o n s a n d c o n cl u si o n s.

A n al ysis of Listi n gs/ Off ers/ C o ntr a cts
T h e s u bj e ct i s n ot c urr e ntl y li st e d f o r s al e or u n d er c o ntr a ct f or s al e.

Ty p e a n d D efi niti o n of Val u e
T h e a p pr ai s al pr o bl e m i s t o d e v el o p a n o pi ni o n of t h e m ar k et v al u e of t h e s u bj e ct pr o p ert y. “ M ar k et
V al u e,” a s u s e d i n t hi s a p pr ai s al, i s d efi n e d a s “t h e m o st pr o b a bl e pri c e t h at a pr o p ert y s h o ul d bri n g i n
a c o m p etiti v e a n d o p e n m ar k et u n d er all c o n diti o n s r e q ui sit e t o a f air s al e, t h e b u y er a n d s ell er e a c h
a cti n g pr u d e ntl y a n d k n o wl e d g e a bl y, a n d a s s u mi n g t h e pri c e i s n ot aff e ct e d b y u n d u e sti m ul u s.”
I m pli cit i n t hi s d efi niti o n i s t h e c o n s u m m ati o n of a s al e a s of a s p e cifi e d d at e a n d t h e p a s si n g of titl e
fr o m s ell er t o b u y er u n d er c o n diti o n s w h er e b y:

             B u y er a n d s ell er ar e t y pi c all y m oti v at e d.
             B ot h p arti es ar e w ell i nf or m e d or w ell a d vis e d, e a c h a cti n g i n w h at t h e y c o nsi d er t h eir o w n b est
              i nt er ests;


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                                                                                                                                                V A C A NT GR O CERY ST ORE
                                                                                                                                                            I N T R O D U C TI O N


                A r e as o n a bl e ti m e is all o w e d f or e x p os ur e i n t h e o p e n m ar k et;
                P a y m e nt is m a d e i n t er ms of c as h i n U. S. d oll ars or i n t er ms of fi n a n ci al arr a n g e m e nts
                 c o m p ar a bl e t h er et o; a n d
                T h e pri c e r e pr es e nts t h e n or m al c o nsi d er ati o n f o r t h e pr o p ert y s ol d u n aff e ct e d b y s p e ci al or
                 cr e ati v e fi n a n ci n g or s al e c o n c essi o ns gr a n t e d b y a n y o n e ass o ci at e d wit h t h e s al e.” 1
T h e v al u e c o n cl u si o n s a p pl y t o t h e v al u e of t h e s u bj e ct pr o p ert y u n d er t h e                                       m ar k et c o n diti o n s
pr e s u m e d o n t h e eff e cti v e d at e of v al u e.

Pl e a s e r ef er t o t h e Gl o s s ar y i n t h e A d d e n d a s e cti o n f or a d diti o n al d efi niti o n s of t er m s u s e d i n t hi s
r e p ort.

Val u ati o n S c e n ari os, Pr o p ert y Ri g hts A p pr ais e d, a n d Eff e cti v e D at es of Val u e
P er t h e s c o p e of o ur a s si g n m e nt w e d e v el o p e d o pi ni o n s of v al u e f or t h e s u bj e ct pr o p ert y u n d er t h e
f oll o wi n g s c e n ari o s of v al u e:

         V al u ati o n S c e n ari o                                                                                                    Eff e cti v e D at e of V al u e
         As Is M ar k et V al u e of t h e F e e Si m pl e I nt er e st                                                                           O ct o b er 2 1, 2 0 1 9

         Pr o s p e cti v e U p o n St a bili z ati o n M ar k et V al u e of t h e L e a s e d F e e I nt er e st                                       M a y 1, 2 0 2 0


W e c o m pl et e d a n a p pr ai s al i n s p e cti o n of                        t h e s u bj e ct pr o p ert y o n 1 0- 2 1- 2 0 1 9.

D at e of R e p ort
T h e d at e of t hi s r e p ort i s 1 1- 1 3- 2 0 1 9.

List of It e ms R e q u est e d b ut N ot Pr o vi d e d
                Titl e P oli c y/ L e g al D e s cri pti o n
                E n vir o n m e nt al Sit e A s s e s s m e nt ( E S A)
                Pl at of S ur v e y

Assi g n m e nt C h all e n g es
N o n e.

Ass u m pti o ns a n d C o n diti o ns of t h e A p pr ais al
T hi s a p pr ai s al a s si g n m e nt a n d t h e o pi ni o n s r e p ort e d h er ei n ar e s u bj e ct t o t h e G e n er al A s s u m pti o n s
a n d Li miti n g C o n diti o n s c o nt ai n e d i n t h e r e p ort a n d t h e f oll o wi n g e xtr a or di n ar y a s s u m pti o n s a n d/ or
h y p ot h eti c al c o n diti o n s, t h e u s e of w hi c h mi g ht h a v e aff e ct e d t h e a s si g n m e nt r e s ult s.

E xtr a or di n ar y A s s u m pti o n s
       T hi s a p pr ai s al i s pr e di c at e d o n t h e e xtr a or di n ar y a s s u m pti o n t h at h a z ar d o u s s u b st a n c e s d o n ot
            e xi st at t h e s u bj e ct pr o p ert y. T h e a p pr ai s er, h o w e v er, i s n ot q u alifi e d t o d et e ct s u c h s u b st a n c e s,
            i n cl u di n g t h e e xi st e n c e of ur e a-f or m al d e h y d e i n s ul ati o n, r a d o n g a s, f o a m a n d a s b e st o s


1
    S o ur c e: C o d e of F e d er al R e g ul ati o n s, Titl e 1 2, B a n k s a n d B a n ki n g, P art 7 2 2. 2 - D efi niti o n s
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              i n s ul ati o n, l e a d p ai nt or ot h er p ot e nti all y h a z ar d ou s m at eri al t h at m a y aff e ct t h e v al u e of t h e
              pr o p ert y. A d diti o n all y, n o s oil s ur v e y h a s b e e n f u r ni s h e d, a n d it i s a s s u m e d t h at n o s urf a c e or
              s u b s urf a c e c o nt a mi n a nt s ar e pr e s e nt. N o r e s p o n si bilit y i s a s s u m e d f or a n y s u c h c o n diti o n s,
              n or f or a n y e x p erti s e or e n gi n e eri n g k n o wl e d g e r e q uir e d t o di s c o v er t h e m.
             It i s a s s u m e d t h at t h e i nf or m ati o n pr o vi d e d t o u s b y t h e o w n er a n d cit y/ c o u nt y offi ci al s i s
              a c c ur at e. A n y d e vi ati o n fr o m h o w t hi s i nf or m at i o n w a s r e pr e s e nt e d t o u s c o ul d r e s ult i n a
              c h a n g e i n o pi ni o n of v al u e. M or e s p e cifi c all y, w e w er e pr o vi d e d wit h a f or m er l e a s e a gr e e m e nt
              t h at r e p ort e d t h e gr o s s b uil di n g ar e a of t h e pr o p ert y t o b e 3 6, 5 0 0- s q u ar e f e et. H o w e v er,
              a c c or di n g t o c o u nt y pr o p ert y r e c or d s, t h e gr o s s b uil di n g ar e a w a s r e p ort e d t o b e 3 8, 9 0 5-
              s q u ar e f e et. Aft er c o n d u cti n g a r o u g h m e a s ur e m e nt vi a a eri al GI S s oft w ar e, t h e b uil di n g ar e a
              r e p ort e d o n t h e l e a s e a p p e ar s t o b e t h e m o st a c c ur at e fi g ur e. T h er ef or e, f or p ur p o s e s of t hi s
              a n al y si s, w e h a v e r eli e d o n t h e 3 6, 5 0 0- s q u ar e fi g ur e r e p ort e d b y t h e l e a s e d o c u m e nt.
             T h e a p pr ai s er w a s n ot s u p pli e d a l e g al d e s cri pti o n or s ur v e y of t h e s u bj e ct pr o p ert y. T hi s
              a p pr ai s al i s c o nti n g e nt o n t h e s u bj e ct sit e( s) b e i n g t h e si z e, s h a p e, a n d di m e n si o n s a s i n di c at e d
              i n t hi s r e p ort.
             If a n y i nf or m ati o n ari s e t h at c o ntr a di ct s t h e e xtr a or di n ar y a s s u m pti o n s st at e d a b o v e, w e
              r e s er v e t h e ri g ht t o r e- e nt er t hi s d o c u m e nt a n d m a k e a n y c h a n g e s t o t h e c o n cl u si o n
              d et er mi n e d h er ei n t h at w e d e e m n e c e s s ar y. T h e u s e of t h e s e e xtr a or di n ar y a s s u m pti o n s m a y
              h a v e aff e ct e d t h e a s si g n m e nt r e s ult s.

H y p ot h eti c al C o n diti o n s
       W e h a v e a p pr ai s e d t h e pr o p ert y a s ' st a bili z e d' a s             d e s cri b e d i n t hi s r e p ort a s of t h e d at e of
            v al u e.




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                                                                                                                                        S C O PE OF W O R K




S c o p e of W or k
T h e el e m e nt s a d dr e s s e d i n t h e S c o p e of W or k ar e ( 1) t h e e xt e nt t o w hi c h t h e s u bj e ct pr o p ert y i s
i d e ntifi e d, ( 2) t h e e xt e nt t o w hi c h t h e s u bj e ct pr o p ert y i s i n s p e ct e d, ( 3) t h e t y p e a n d e xt e nt of d at a
r e s e ar c h e d, ( 4) t h e t y p e a n d e xt e nt of a n al y si s a p pli e d, ( 5) t h e t y p e of a p pr ai s al r e p ort pr e p ar e d, a n d
( 6) t h e i n cl u si o n or e x cl u si o n of it e m s of n o n-r e alt y i n t h e d e v el o p m e nt of t h e v al u e o pi ni o n. T h e s e
it e m s ar e di s c u s s e d a s b el o w.

E xt e nt t o W hi c h t h e Pr o p ert y W as I d e ntifi e d
T h e t hr e e c o m p o n e nt s of t h e pr o p ert y i d e ntifi c ati o n ar e s u m m ari z e d a s f oll o w s:
             L e g al C h ar a ct eri sti c s - T h e s u bj e ct w a s l e g all y i d e ntifi e d vi a c o u nt y r e c or d s.
             E c o n o mi c C h ar a ct eri sti c s - E c o n o mi c c h ar a ct eri sti c s of t h e s u bj e ct pr o p ert y w er e i d e ntifi e d vi a
              i nf or m ati o n pr o vi d e d b y t h e pr o p ert y o w n er, m ar k et s ur v e y s, di s c u s si o n s wit h m ar k et
              p arti ci p a nt s, a n d o ur d at a b a s e, a s w ell a s a c o m p ari s o n t o pr o p erti e s wit h si mil ar l o c ati o n al
              a n d p h y si c al c h ar a ct eri sti c s.
             P h y si c al C h ar a ct eri sti c s - T h e s u bj e ct w a s p h y si c a ll y i d e ntifi e d vi a a n a p pr ai s al i n s p e cti o n t h at
              c o n si st e d of e xt eri or a n d i nt eri or o b s er v ati o n s.

E xt e nt t o W hi c h t h e Pr o p ert y W as I ns p e ct e d
W e i n s p e ct e d t h e s u bj e ct o n 1 0- 2 1- 2 0 1 9. T h e i m pr o v e m e nt s w er e n ot m e a s ur e d d uri n g t h e c o ur s e of
t h e i n s p e cti o n.

Ty p e a n d E xt e nt of D at a R es e ar c h e d
W e r e s e ar c h e d a n d a n al y z e d: ( 1) m ar k et ar e a d at a, ( 2) pr o p ert y- s p e cifi c m ar ket d at a, ( 3) z o ni n g a n d
l a n d- u s e d at a, a n d ( 4) c urr e nt d at a o n c o m p ar a bl e li sti n g s a n d tr a n s a cti o n s. W e al s o i nt er vi e w e d
p e o pl e f a mili ar wit h t h e s u bj e ct m ar k et/ pr o p ert y t y p e . W e al s o r e vi e w e d a gro c er y st or e r et ail m ar k et
a n al y si s pr e p ar e d b y K eit h Wi c k s of K eit h Wi c k s a n d A s s o ci at e s.

Ty p e a n d E xt e nt of A n al ysis A p pli e d ( Val u ati o n M et h o d ol o g y)
W e o b s er v e d s urr o u n di n g l a n d u s e tr e n d s, t h e c o n dit i o n of a n y i m pr o v e m e nt s, d e m a n d f or t h e s u bj e ct
pr o p ert y, a n d r el e v a nt l e g al li mit at i o n s i n c o n cl u di n g a hi g h e st a n d b e st u s e. W e t h e n v al u e d t h e
s u bj e ct b a s e d o n t h at hi g h e st a n d b e st u s e c o n cl u si o n.

A p pr ai s er s d e v el o p a n o pi ni o n of pr o p ert y v al u e wit h s p e cifi c a p pr ai s al pr o c e d ur e s t h at r efl e ct t hr e e
di sti n ct m et h o d s of d at a a n al y si s: t h e c o st a p pr o a c h, s al e s c o m p ari s o n a p pr o a c h, a n d i n c o m e
c a pit ali z ati o n a p pr o a c h. O n e or m or e of t h e s e a p pr o a c h e s ar e u s e d i n all e sti m ati o n s of v al u e.
             C o st A p pr o a c h - I n t h e c o st a p pr o a c h, t h e v a l u e i n di c ati o n r efl e ct s t h e s u m of c urr e nt
              d e pr e ci at e d r e pl a c e m e nt or r e pr o d u cti o n c o st, l a n d v al u e, a n d a n a p pr o pri at e e ntr e pr e n e uri al
              i n c e nti v e or pr ofit.
             S al e s C o m p ari s o n A p pr o a c h - I n t h e s al e s c o m p ar i s o n a p pr o a c h, v al u e i s i n di c at e d b y r e c e nt
              s al e s a n d/ or li sti n g s of c o m p ar a bl e pr o p erti e s i n t h e m ar k et, wit h t h e a p pr ai s er a n al y zi n g t h e
              i m p a ct of m at eri al diff er e n c e s i n b ot h e c o n o mi c a n d p h y si c al el e m e nt s b et w e e n t h e s u bj e ct
              a n d t h e c o m p ar a bl e s.

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                                                                                                                                      S C O PE OF W O R K


             I n c o m e C a pit ali z ati o n A p pr o a c h - I n t h e i n c o m e c a pit ali z ati o n a p pr o a c h, v al u e i s i n di c at e d b y
              t h e c a pit ali z ati o n of a nti ci p at e d f ut ur e i n c o m e. T h er e ar e t w o t y p e s of c a pit ali z ati o n: dir e ct
              c a pit ali z ati o n a n d yi el d c a pit ali z ati o n, m or e c o m m o nl y k n o w n a s di s c o u nt e d c a s h fl o w ( D C F)
              a n al y si s.
All of t h e s e a p pr o a c h e s t o v al u e w er e c o n si d er e d. W e a s s e s s e d t h e a v ail a bilit y of d at a a n d a p pli c a bilit y
of e a c h a p pr o a c h t o v al u e wit hi n t h e c o nt e xt of t h e c h ar a ct eri sti c s of t h e s u bj e ct pr o p ert y a n d t h e
n e e d s a n d r e q uir e m e nt s of t h e cli e nt. B a s e d o n t hi s a s s e s s m e nt t h e C o st, S al e s C o m p ari s o n a n d
I n c o m e C a pit ali z ati o n A p pr o a c h e s w er e d e v el o p e d. F urt h er di s c u s si o n of t h e e xt e nt of o ur a n al y si s
a n d t h e m et h o d ol o g y of e a c h a p pr o a c h i s pr o vi d e d l at er i n t h e r e s p e cti v e v al u ati o n s e cti o n s.

A p pr ais al C o nf or mit y a n d R e p ort Ty p e
W e d e v el o p e d o ur a n al y s e s, o pi ni o n s, a n d c o n cl u si o n s a n d pr e p ar e d t hi s r e p ort i n c o nf or mit y wit h t h e
U nif or m St a n d ar d s of Pr of e s si o n al A p pr ai s al Pr a cti c e ( U S P A P) of t h e A p pr ai s al F o u n d ati o n; t h e C o d e
of Pr of e s si o n al Et hi c s a n d St a n d ar d s of Pr of e s si o n al A p pr ai s al Pr a cti c e of t h e A p pr ai s al I n stit ut e; a n d
t h e r e q uir e m e nt s of o ur cli e nt a s w e u n d er st a n d t h e m. T hi s i s a n A p pr ai s al R e p ort a s d efi n e d b y t h e
U nif or m St a n d ar d s of Pr of e s si o n al A p pr ai s al Pr a cti c e u n d er St a n d ar d s R ul e 2- 2 a.

P ers o n al Pr o p ert y/ F F & E
It i s c o m m o n f or t h e s u bj e ct pr o p ert y t y p e t o i ncl u d e p er s o n al pr o p ert y g e n er all y i d e ntifi e d a s
f ur nit ur e, fi xt ur e s a n d e q ui p m e nt ( F F & E). A c c or di n g t o d o c u m e nt ati o n pr o vi d e d b y t h e o w n er, t h e
c o m pl et e F F & E p a c k a g e f or t h e s u bj e ct pr o p ert y c o st $ 2, 1 1 1, 7 0 0 n e w. H o w e v er, a c c or di n g t o t h e
d o c u m e nt ati o n, a p pr o xi m at el y $ 1 6 1, 7 0 0 w a s pr o vi d e d t o A c e H ar d w ar e a n d t h er ef or e, t h e t ot al
i n v oi c e d a m o u nt f or t h e gr o c er y st or e c o m p o n e nt w a s a p pr o xi m at el y $ 1, 9 5 0, 0 0 0, i n cl u di n g g e n er al
c o n diti o n s, c o nti n g e n ci e s, t a x e s a n d fr ei g ht.

It e m s of p er s o n al pr o p ert y f or t h e s u bj e ct pr o p ert y i n cl u d e b ut ar e n ot li mit e d t o c o ol er s, fr e e z er s,
m e at pr e p, b a k er y pr e p, r a c ki n g/ s h el vi n g s y st e m s, c a s h r e gi st er s, d e c or, c o m p ut er s, et c. A c o m pl et e
it e mi z e d F F & E p a c k a g e al o n g wit h c o st n e w c a n b e f o u n d i n t h e A d d e n d a. It s h o ul d b e n ot e d,
h o w e v er, t h at a c urr e nt d e pr e ci at e d b o o k v al u e of all p er s o n al pr o p ert y/ F F & E it e m s w a s n ot pr o vi d e d
f or t hi s a n al y si s. N o n et h el e s s, t h e a g e of F F & E i s o nl y f o ur t o fi v e - y e ar s - ol d gi v e n t h e pr o p ert y w a s
c o n str u ct e d i n 2 0 1 5 a n d t h e fir st t e n a nt o c c u pi e d t h e pr o p ert y e arl y 2 0 1 5. T y pi c al gr o c er y st or e
p er s o n al pr o p ert y h a s a t ot al u s e lif e of a p pr o xi m at el y 7 t o 1 3 y e ar s, or a n a v er a g e of a p pr o xi m at el y
1 0 y e ar s. T h er ef or e, b a s e d o n t h e a v er a g e u s ef ul lif e of 1 0 y e ar s, t h e e q ui p m e nt i s a p pr o xi m at el y 4 0 %
t o 5 0 % d e pr e ci at e d o n a str ai g ht-li n e b a si s, i ndi c ati n g a n a p pr o xi m at e c urr e nt b o o k v al u e of
$ 1, 0 5 6, 0 0 0 t o $ 1, 2 6 7, 0 0 0 ( b a s e d o n t ot al c o st n e w). F or p ur p o s e s of t hi s a n al y si s, w e h a v e u s e d a
st a bili z e d b o o k v al u e of $ 1, 2 0 0, 0 0 0, w hi c h i s al s o i n-li n e wit h K eit h Wi c k s gr o c er y st or e r et ail m ar k et
a n al y si s e sti m at e of $ 1, 0 0 0, 0 0 0 t o $ 1, 4 0 0, 0 0 0.




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                                                                                                                                          V A C A NT GR O CERY ST ORE
                                                                                                                      R E GI O N A L A N D M A R K E T A R E A A N A L Y SI S



Tr a ns p ort ati o n
M aj or tr a n s p ort ati o n r o ut e s i n t h e l ar g er ar e a i n cl u d e t h e I- 3 9, I- 9 0 a n d I- 9 4 e x pr e s s w a y s. O v er all
a ut o m o bil e a n d tr u c k a c c e s s t o ar e a hi g h w a y s i s g o o d. I- 3 9, I- 9 0 a n d I- 9 4 e x pr e s s w a y s i nt er s e ct at
M a di s o n, c o n n e cti n g t h e cit y t o Mil w a u k e e, C hi c a g o, R o c kf or d, Illi n oi s, Mi n n e a p oli s- St. P a ul, a n d
W a u s a u. U. S. R o ut e s U S- 1 2, U S- 1 4, U S- 1 8, U S- 5 1 a n d U S- 1 5 1 c o n n e ct t h e cit y wit h D u b u q u e, I o w a,
t h e Wi s c o n si n citi e s of L a Cr o s s e a n d J a n e s vill e, F o n d d u L a c a n d M a nit o w o c. T h e B eltli n e i s a si x-t o-
ei g ht l a n e fr e e w a y o n t h e s o ut h a n d w e st si d e s of t h e M a di s o n m etr o ar e a a n d i s t h e m ai n li n k fr o m
d o w nt o w n t o t h e s o ut h e a st a n d w e st er n s u b ur b s.

E m pl o y m e nt
B a s e d o n t h e d at a b el o w, t h e t w o l ar g e st i n d u stri e s b y e m pl o y m e nt f or C ol u m bi a C o u nt y ar e S er vi c e s
a n d M a n uf a ct uri n g, w hi c h c o m bi n e d a c c o u nt f or 4 7 % of t h e w or kf or c e.

             E m pl o y m e nt b y I n d u s t r y - C ol u m bi a C o u nt y, WI
                                                                                                                                     2019              P er c e nt of
             I n d u s tr y                                                                                                  E s ti m at e          E m pl o y m e nt
             A gri c ult ur e / Mi ni n g                                                                                              787                     2. 5 0 %
             C o nstr u cti o n                                                                                                     2, 9 2 9                   9. 3 0 %
             M a n uf a ct uri n g                                                                                                  5, 3 8 5                 1 7. 1 0 %
             W h ol e s al e tr a d e                                                                                                  882                     2. 8 0 %
             R et ail tr a d e                                                                                                      3, 0 2 3                   9. 6 0 %
             Tr a ns p ort ati o n/ Utiliti e s                                                                                     1, 7 6 4                   5. 6 0 %
             I nf or m ati o n                                                                                                         472                     1. 5 0 %
             Fi n a n c e /I ns ur a n c e / R e al E st at e S er vi c e s                                                         1, 7 9 5                   5. 7 0 %
             S er vi c e s                                                                                                        1 2, 5 6 6                 3 9. 9 0 %
             P u bli c A d mi ni str ati o n                                                                                        1, 9 2 1                   6. 1 0 %
             T ot al                                                                                                              3 1, 4 9 3                 1 0 0. 0 %
             S o ur c e: Sit e-t o - D o - B usi n ess ( S T D B O nli n e)


U n e m pl o y m e nt
T h e f oll o wi n g t a bl e e x hi bit s c urr e nt a n d p a st u n e m pl o y m e nt r at e s a s o bt ai n e d fr o m t h e B ur e a u of
L a b or St ati sti c s. O v er all, t h e R e gi o n b o a st s o n e of t h e l o w e st u n e m pl o y m e n t r at e s f or m etr o p olit a n
st ati sti c al ar e a s i n t h e c o u ntr y at 2. 5 p er c e nt.

    U n e m p l oy m e nt R at e s
    Ar e a                                              YE 2012           YE 2013     YE 2014      YE 2015        YE 2016         YE 2017           YE 2018      YT D 2019
    U nit e d St at e s                                      7. 9 %          6. 7 %      5. 6 %        5. 0 %          4. 7 %          4. 1 %           3. 9 %            3. 7 %
    Wi s c o nsi n                                           6. 9 %          6. 2 %      4. 9 %        4. 3 %          3. 7 %          3. 0 %           3. 0 %            3. 2 %
    M a di s o n, WI M S A                                   4. 8 %          4. 2 %      3. 2 %        2. 9 %          2. 5 %          2. 0 %           2. 1 %            2. 3 %
    C ol u m bi a C o u nt y, WI                             6. 9 %          5. 9 %      4. 4 %        3. 8 %          2. 9 %          2. 4 %           2. 5 %            2. 5 %
    C ol u m b us Cit y, WI                                       --             --          --             --               --                --           --                --

    S o ur c e: B ur e a u of L a b or St atisti c s - Y e ar E n d - N ati o n al & St at e S e as o n all y A dj ust e d


M e di a n H o us e h ol d I n c o m e
T ot al m e di a n h o u s e h ol d i n c o m e f or t h e r e gi o n i s pr e s e nt e d i n t h e f oll o wi n g t a bl e. O v er all, t h e s u bj e ct’ s
M S A a n d c o u nt y c o m p ar e f a v or a bl y t o t h e st at e a n d t h e c o u ntr y.
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                                                                                                                                 V A C A NT GR O CERY ST ORE
                                                                                                             R E GI O N A L A N D M A R K E T A R E A A N A L Y SI S




                     M e di a n H o u s e h ol d I n c o m e
                                                                         E s ti m at e d   P r oj e ct e d          A n n u al % C h a n g e
                     Ar e a                                                   2019             2024                       2019 - 24
                     U nit e d St at e s                                    $ 6 0, 5 4 8     $ 6 9, 1 8 0                     2. 9 %
                     Wi s c o nsi n                                         $ 5 9, 0 8 7     $ 6 7, 2 4 3                     2. 8 %
                     M a di s o n, WI M S A                                 $ 7 2, 6 9 0     $ 8 1, 6 1 2                     2. 5 %
                     C ol u m bi a C o u nt y, WI                           $ 6 5, 5 9 4     $ 7 4, 8 0 3                     2. 8 %
                     C ol u m b us Cit y, WI                                $ 6 5, 1 0 0     $ 7 3, 4 0 7                     2. 6 %
                     S o ur c e: Sit e-t o - D o - B usi n ess ( S T D B O nli n e)


C o n cl usi o ns
T h e s u bj e ct pr o p ert y dr a w s t h e r e gi n al p ull of t h e M a di s o n M S A. M a di s o n will str e n gt h e n i n c o mi n g
q u art er s t h a n k s t o a st a bl e h e alt h c ar e cl u st er a n d st r o n g gr o wt h i n c o n s u m er a n d pr of e s si o n al s er vi c e s.
A s a r e s ult, h o u s e pri c e a p pr e ci ati o n will c o nti n u e a n d h o m e b uil di n g will a c c el er at e. A sl o w d o w n i n
st at e p a yr oll s cl o u d s t h e n e ar-t er m o utl o o k s o m e w h at b ut n ot e n o u g h t o off s et t h e s u b st a nti al g ai n s
el s e w h er e. I n t h e l o n g t er m, f a v or a bl e mi gr ati o n p a tt er n s, a w ell- e d u c at e d p o p ul a c e, a n d f a st- gr o wi n g
hi g h-t e c h i n d u stri e s will k e e p t h e M a di s o n M S A a b o v e t h e n ati o n al a v er a g e. O v er all, C ol u m bi a C o u nt y
i s e x p e ct e d t o gr o w at a m or e m ar gi n al r at e a s c o m p ar e d t o t h e gr e at er M S A r e gi o n.




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                                                                                                                      V A C A NT GR O CERY ST ORE
                                                                                                      CI T Y A N D N EI G H B O R H O O D A N A L Y SI S



   N ei g h b or h o o d D e m o g r ap hi c s
   R a di u s                                                                       0 - 1 mil e             1 - 3 mil e                3 - 5 mil e
   P o p ul ati o n S u m m a r y
      2 0 0 0 P o p ul ati o n                                                               805                    5, 4 8 4                  1, 4 2 7
      2 0 1 0 P o p ul ati o n                                                               870                    6, 2 8 7                  1, 6 6 3
      2 0 1 9 P o p ul ati o n                                                               934                    6, 6 2 3                  1, 7 3 0
      2 0 2 4 P o p ul ati o n E sti m at e                                                  966                    6, 8 0 3                  1, 7 7 0
      A n n u al % C h a n g e ( 2 0 1 9 - 2 0 2 4)                                        0. 7 %                   0. 5 %                     0. 5 %
   H o u si n g U ni t S u m m a r y
      2 0 0 0 H o usi n g U nits                                                             358                    2, 2 2 4                    580
          % O w n er O c c u pi e d                                                      6 9. 8 %                 6 5. 1 %                   7 3. 3 %
          % R e nt er O c c u pi e d                                                     2 6. 8 %                 3 0. 4 %                   1 9. 3 %
      2 0 1 0 H o usi n g U nits                                                             411                   2, 7 0 2                      713
          % O w n er O c c u pi e d                                                      6 8. 6 %                 6 2. 9 %                   7 0. 3 %
          % R e nt er O c c u pi e d                                                     2 5. 3 %                 3 0. 2 %                   2 0. 2 %
      2 0 1 9 H o usi n g U nits                                                             439                    2, 8 2 9                    741
          % O w n er O c c u pi e d                                                      6 8. 3 %                 6 2. 6 %                   6 9. 5 %
          % R e nt er O c c u pi e d                                                     2 6. 4 %                 3 1. 0 %                   2 1. 1 %
      2 0 2 4 H o usi n g U nits                                                             457                    2, 9 1 8                    763
          % O w n er O c c u pi e d                                                      6 7. 6 %                 6 3. 3 %                   6 9. 9 %
          % R e nt er O c c u pi e d                                                     2 6. 5 %                 2 9. 8 %                   1 9. 9 %
      A n n u al % C h a n g e ( 2 0 1 9 - 2 0 2 4)                                        0. 8 %                   0. 6 %                     0. 6 %

   I n c o m e S u m m ar y
      2 0 1 9 M e di a n H o us e h ol d I n c o m e                                   $ 5 7, 3 9 6             $ 6 8, 8 5 6              $ 7 1, 8 9 0
      2 0 2 4 M e di a n H o us e h ol d I n c o m e E sti m at e                      $ 6 3, 4 8 6             $ 7 6, 8 7 5              $ 7 8, 0 3 3
      A n n u al % C h a n g e                                                              2. 0 %                   2. 2 %                    1. 7 %
      2 0 1 9 P er C a pit a I n c o m e                                               $ 3 2, 7 6 2             $ 3 5, 9 4 7              $ 3 2, 2 4 0
      2 0 2 4 P er C a pit a I n c o m e E sti m at e                                  $ 3 8, 8 5 0             $ 4 1, 0 2 9              $ 3 5, 7 9 4
      A n n u al % C h a n g e                                                             3. 5 %                   2. 7 %                     2. 1 %

   S o ur c e: Sit e-t o - D o - B usi n ess ( S T D B O nli n e)


Tr a ns p ort ati o n A c c ess
Wit hi n t h e i m m e di at e ar e a of t h e s u bj e ct pr o p ert y, tr a n s p ort ati o n a c c e s s h el p s d efi n e t h e c h ar a ct er of
it s d e v el o p m e nt. T h e s u bj e ct pr o p ert y i s l o c at ed t o t h e n ort h w e st of t h e U S Hi g h w a y 1 5 1/ St at e
Hi g h w a y 6 0 (J a m e s Str e et) i nt er c h a n g e. U S Hi g h w a y 1 5 1 pr o vi d e s a c c e s s t o M a di s o n, a p pr o xi m at el y
2 5 mil e s t o t h e s o ut h w e st, a n d t o B e a v er D a m, 1 5 mil e s t o t h e n ort h e a st. J a m e s Str e et pr o vi d e s
a c c e s s t o d o w nt o w n C ol u m b u s, a p pr o xi m at el y 1. 5 mil e s t o t h e s o ut h e a st of t h e i nt er c h a n g e.
A c c e s s t o t h e ar e a i s c o n si d er e d g o o d.

N ei g h b or h o o d L a n d Us e
T h e s u bj e ct n ei g h b or h o o d i s l o c at e d i n a n ar e a wit h pri m aril y c o m m er ci al l a n d u s e s a n d v a c a nt l a n d.
A n a p pr o xi m at e br e a k d o w n of t h e d e v el o p m e nt i n t h e ar e a i s a s f oll o w s:


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                                                                                                                         V A C A NT GR O CERY ST ORE
                                                                                                         CI T Y A N D N EI G H B O R H O O D A N A L Y SI S


                                                                                  L A N D USES
                                                           D e v el o p e d                      75 %
                                                               R esi d e nti al                  45 %
                                                               R et ail                          10 %
                                                               Offi c e                          5 %
                                                               I n d ustri al                     15 %
                                                           V a c a nt                            25 %
                                                           T ot al                               100 %

I n g e n er al, t h e ar e a t o t h e n ort h we st of U S Hi g h w a y 1 5 1 c o n si st s of a c o m bi n ati o n of v a c a nt l a n d a n d
n e wl y d e v el o p e d r et ail pr o p erti e s, i n cl u di n g t h e s u bj e ct, a n d t h e ar e a t o t h e s o ut h e a st of U S Hi g h w a y
1 5 1 c o n si st s of r et ail u s e s, pri m aril y al o n g J a m e s Str e et, a n d ot h er mi s c ell a n e o u s offi c e a n d li g ht
i n d u stri al u s e s. C o m m er ci al u s e s wit hi n t h e i m m e diat e ar e a of t h e s u bj e ct i n cl u d e a v a c a nt S h o p k o
H o m et o w n, sit u at e d a dj a c e nt t o t h e s u bj e ct a n d t o t h e s o ut h e a st, a n d a r e c e nt l y c o m pl et e d r et ail
stri p c e nt er, w hi c h i s c urr e ntl y 1 5 % o c c u pi e d b y R E / M a x. T h e pri m ar y r et ail c orri d or wit hi n C ol u m b u s
i s sit u at e d t o t h e s o ut h e a st of t h e U S Hi g h w a y 1 5 1 a n d al o n g J a m e s Str e et. R et ail er s sit u at e d
al o n g J a m e s Str e et i n cl u d e a 2 3, 7 0 0 s q u ar e -f o ot Pi c k ‘ n S a v e gr o c er y st or e, a W al gr e e n s, a n d
s e v er al f a st f o o d r e st a ur a nt s a n d g a s st ati o n s/ c o n v e ni e n c e st or e s t h at c at er t o tr affi c tr a v er si n g
al o n g t h e U S Hi g h w a y 1 5 1. T h e C ol u m b u s d o w nt o w n c o m m er ci al di stri ct i s l o c at e d a p pr o xi m at el y 1. 5
mil e s t o t h e s o ut h e a st of t h e s u bj e ct, a n d i n t h e e a st er n p orti o n of t h e c o m m u nit y.

T h e m aj orit y of r e si d e nti al d e v e l o p m e nt i s t o t h e s o ut h e a st of t h e n ei g h b or h o o d, a n d pri m aril y
c o n si st s of si n gl e-f a mil y h o m e s. A c c or di n g t o i nf or m ati o n o bt ai n e d fr o m E S RI, a p pr o xi m at el y 3 1 % of
t h e h o m e s wit hi n a fi v e- mil e r a di u s of t h e s u bj e ct w er e b uilt b ef or e 1 9 4 0, a n d 2 9 % w er e b uilt aft er
1 9 9 0. T h e m e di a n h o m e v al u e wit hi n a fi v e - mil e r a di u s i s a p pr o xi m at el y $ 1 9 6, 0 0 0.

N e w D e v el o p m e nt
T h e m aj orit y of r e c e nt c o m m er ci al gr o wt h i n t h e ar e a h a s o c c urr e d wit hi n t h e i m m e di at e vi ci nit y of
t h e s u bj e ct. T h e d e v el o p er of t h e s u bj e ct pr o p ert y al s o d e v el o p e d t h e 3 6, 3 0 0 s q u ar e-f o ot
S h o p k o H o m et o w n st or e, l o c at e d a dj a c e nt t o t h e s u bj e ct. A d di ti o n all y, i n 2 0 1 5 t h e d e v el o p er
c o m pl et e d a 1 0, 0 0 0 s q u ar e -f o ot r et ail stri p c e nt er l o c at e d t o t h e s o ut h of t h e s u bj e ct, w hi c h i s
c urr e ntl y 1 5 % l e a s e d t o R E/ M a x. A d diti o n all y, a r e c e ntl y c o m pl et e d F or d D e al er s hi p i s l o c at e d
a p pr o xi m at el y ¼ of a mil e t o t h e s o ut h w e st of t h e s u bj e ct. A d diti o n al v a c a nt l a n d i s a v ail a bl e f or
c o m m er ci al d e v el o p m e nt, pr i m aril y t o t h e s o ut h w e st of t h e s u bj e ct pr o p ert y.

C o n cl usi o ns
I n s u m m ar y, t h e n ei g h b or h o o d i s c o n si d er e d a g o o d c o m m er ci al l o c ati o n i n C ol u m b u s, a s it i s cl o s e
t o ar e a hi g h w a y s a n d m aj or e m pl o y m e nt c e nt er s. C ol u m b u s i s h o m e t o a wi d e v ari et y of b u si n e s s e s,
fr o m fi n e l o c al di ni n g e st a bli s h me nt s a n d s p e ci alt y s h o p s t o s e v e r al s m all t o l ar g e m a n uf a ct uri n g
c o m p a ni e s. A d diti o n all y, a n e w T a x I n cr e m e nt al Fi n a n ci n g Di stri ct ( TI F) n e ar t h e H w y 1 6/ 6 0 & U S H w y
1 5 1 i nt er c h a n g e w a s cr e at e d b y t h e C ol u m b u s Cit y C o u n cil t o pr o vi d e i n c e nti v e s f or d e v el o p m e nt o n
t h e Cit y' s n ort h w e st si d e. F urt h er m or e, it s pr o xi mit y t o t h e M a di s o n ar e a pr o vi d e s a str o n g st a bl e b a s e
f or f ut ur e c o m m er ci al d e m a n d wit hi n t h e ar e a. T he s u bj e ct pr o p ert y a p p e ar s t o c o nf or m w ell t o

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                                                                                                     CI T Y A N D N EI G H B O R H O O D A N A L Y SI S


s urr o u n di n g n ei g h b or h o o d i nfr a str u ct ur e a n d s u p p ort s er vi c e s. R e c e nt gr o wt h i n t h e n ei g h b or h o o d
h a s pri m aril y b e e n r el at e d t o a mi x of c o m m er ci al a n d i n d u stri al d e v el o p m e nt, w hi c h a p p e ar s t o b e
s u p p ort e d b y b ot h n ei g h b or h o o d d e m o gr a p hi c s a n d t h e pri m ar y tr affi c c arri er s wit hi n t h e
n ei g h b or h o o d. O v er all, t h e s u bj e ct n ei g h b or h o o d i s i n t h e st a bl e st a g e of it s lif e c y cl e.




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                                                                 Z o n e X ( u n s h a d e d) i s t h e d e si g n ati o n f or ar e a s of mi ni m al fl o o d
                                                                 h a z ar d fr o m t h e pri n ci p al s o ur c e of fl o o d i n t h e ar e a a n d
                                                                 d et er mi n e d t o b e o ut si d e t h e 0. 2 p er c e nt a n n u al c h a n c e fl o o d pl ai n.


Ot h er Sit e C o n diti o ns
  S oil T y p e:                                                 I n t h e a b s e n c e of s u c h a r e p ort, t h e s oil b e ari n g c a p a cit y i s
                                                                 a s s u m e d t o b e a d e q u at e.
  E n vir o n m e nt al I s s u e s:                             A n e n vir o n m e nt al sit e a s s e s s m e nt r e p ort w a s n ot f ur ni s h e d f or o ur
                                                                 r e vi e w. A n i n s p e cti o n of t h e pr o p ert y di d n ot r e v e al a n y vi si bl e or
                                                                 f a ct u al e vi d e n c e of a p p ar e nt e n vir o n m e nt al i m p air m e nt t o t h e sit e.
                                                                 T h e a p pr ai s er s ar e n ot c o n si d er e d e x p ert s i n h a z ar d o u s m at eri al s.
                                                                 T h e cli e nt i s a d vi s e d t o o bt ai n a n e n vir o n m e nt al r e p ort if f urt h er
                                                                 i n v e sti g ati o n i s d e sir e d. I n a d diti o n, a dri v e- b y i n s p e cti o n of t h e
                                                                 i m m e di at e vi ci nit y s urr o u n di n g t h e s u bj e ct di d n ot r e v e al a n y u s e s
                                                                 or h a z ar d s t h at w o ul d b e e x p e ct e d t o p o s e a n a p p ar e nt ri s k t o t h e
                                                                 sit e or w o ul d r e stri ct it s u s e.
  E a s e m e nt s/ E n cr o a c h m e nt s:                       W e w er e n ot pr o vi d e d wit h a pl at of s ur v e y or titl e p oli c y f or r e vi e w
                                                                 i n t h e pr e p ar ati o n of t hi s a p pr ai s al a s si g n m e nt. H o w e v er,
                                                                 V al bri d g e Pr o p ert y A d vi s or s | C hi c a g o M etr o a s s u m e s t h er e ar e n o
                                                                 r e p ort e d a d v er s e e a s e m e nt s or e n cr o a c h m e nt s o n t h e sit e a n d
                                                                 t h er ef or e, f or p ur p o s e s of t hi s a n aly si s, w e s p e cifi c all y a s s u m e t h at
                                                                 t h e s u bj e ct pr o p ert y i s n ot a d v er s el y aff e ct e d b y a n y e a s e m e nt s or
                                                                 e n cr o a c h m e nt s. H o w e v er, b a s e d o n t h e f a ct t h at t h e s u bj e ct sit e
                                                                 s h ar e s a l ot wit h t h e a dj a c e nt S h o p k o, w e h a v e s p e cifi c all y
                                                                 a s s u m e d t h at t h e s u bj e ct i s e n c u m b er e d wit h                        m ulti pl e
                                                                 i n gr e s s/ e gr e s s, r e ci pr o c al p ar ki n g a n d p u bli c utilit y e a s e m e nt s.
                                                                 H o w e v er, w e d o n ot c o n si d er t h e s e e a s e m e nt s t o h a v e a n a d v er s e
                                                                 eff e ct o n t h e s u bj e ct pr o p ert y. T y pi c all y, t h e s e t y p e s of a c c e s s a n d
                                                                 p ar ki n g e a s e m e nt s ar e p ut i nt o pl a c e i n or d er t o f a cilit at e t h e
                                                                 d e v el o p m e nt of t h e s h o p pi n g c e nt er s wit h m ulti pl e o w n er s hi p
                                                                 e ntiti e s. B a s e d o n t h e c urr e nt l a y o ut of t h e s h o p pi n g c e nt er, t h e s e
                                                                 e a s e m e nt s w er e p ut i nt o pl a c e i n or d er t o all o w cr o s s a c c e s s t o
                                                                 a n d fr o m t h e s u bj e ct pr o p ert y a n d t h e n ei g h b ori n g sit e s a n d
                                                                 p ar ki n g l ot s. It i s r e c o m m e n d e d t h at t h e cli e nt/r e a d er o bt ai n a
                                                                 c urr e nt titl e p oli c y o utli ni n g all e a s e m e nt s a n d e n cr o a c h m e nt s o n
                                                                 t h e pr o p ert y, if a n y, pri or t o m a ki n g a b u si n e s s d e ci si o n.
  E art h q u a k e Z o n e:                                     No
  W etl a n d s Cl a s sifi c ati o n:                          None


A dj a c e nt L a n d Us es
  N ort h:                                                      R et ail g a s st ati o n a n d c o m m er ci al /i n d u stri al u s e s f oll o w e d b y
                                                                a gri c ult ur al l a n d
  S o ut h:                                                     C o m m er ci al a n d li g ht i n d u stri al u s e a n d r et e nti o n p o n
  E a st:                                                       Li g ht i n d u stri al u s e a n d a gri c ult ur al l a n d
  W e st:                                                       A gri c ult ur al l a n d a n d li g ht i n d u stri al/ s elf- st or a g e u s e
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Sit e R ati n gs
  A c c e s s:                                                    A v er a g e
  Vi si bilit y:                                                  Good


Z o ni n g D esi g n ati o n
  Z o ni n g J uri s di cti o n:                                 Cit y of C ol u m b u s
  Z o ni n g Cl a s sifi c ati o n:                            I- 1, Li g ht I n d u stri al
  G e n er al Pl a n D e si g n ati o n:                        T h e I- 1 li g ht i n d u stri al di stri ct a c c o m m o d at e s li g ht i n d u stri al a n d
                                                                 s u p p ort s er vi c e s d e v el o p m e nt wi t hi n t h e cit y a n d r e s er v e s
                                                                 a d diti o n al l a n d s i n a p pr o pri at e l o c ati o n s f or n e w or r el o c at e d
                                                                 i n d u stri al a n d s u p p ort s er vi c e u s e s.
  P er mitt e d U s e s:                                         V ari et y of r et ail, c o m m er ci al a n d li g ht i n d u stri al u s e s. R et ail
                                                                 e st a bli s h m e nt s b et w e e n 2 0, 0 0 0- t o 5 0, 0 0 0- s q u ar e f e et ar e
                                                                 c o n diti o n al u s e s s u bj e ct t o a p pr o v al.
  Z o ni n g C o m m e nt s:                                     T h e c urr e nt z o ni n g cl a s si fi c ati o n c o nt ai n s c ert ai n r e stri cti o n s
                                                                 r e g ar di n g p er mitt e d u s e s; mi ni m u m l ot si z e; y ar d s et b a c k s;
                                                                 m a xi m u m b uil di n g ar e a; m a xi m u m b uil di n g h ei g ht; p ar ki n g; et c.
                                                                 I m pr o v e m e nt s o n t h e sit e w o ul d n e e d t o eit h er 1 -) m e et t h e s e
                                                                 z o ni n g r e q uir e m e nt s, 2-) b e gr a nt e d a v ari a n c e b y t h e l o c al z o ni n g
                                                                 a ut h orit y f or ar e a s t h at d o n ot c o nf or m, or 3 -) b e c o n si d er e d a l e g al
                                                                 n o n- c o nf or mi n g u s e d u e t o t h e i m pr o v e m e nt s h a vi n g b e e n b uilt
                                                                 pri or t o t h e e st a bli s h m e nt of t h e l o c al z o ni n g g ui d eli n e s.


A n al ysis/ C o m m e nts o n Sit e
T h e sit e i s w ell l o c at e d a n d aff or d e d a v er a g e a c c e s s a n d g o o d vi si bilit y fr o m r o a d w a y fr o nt a g e. T h e
si z e of t h e sit e i s t y pi c al f or t h e ar e a a n d u s e, a n d t h er e ar e n o k n o w n d etri m e nt al u s e s i n t h e i m m e di at e
vi ci nit y. F urt h er m or e, t h e p h y si c al c h ar a ct eri sti c s of t h e s u bj e ct sit e ar e s uit a bl e f or t h e c urr e nt
d e v el o p m e nt. M o st f a ct or s, i n cl u di n g it s t o p o gr a p h y, l o c ati o n, a n d a c c e s si bilit y, ar e p o siti v e attri b ut e s.
T h e s u bj e ct sit e i s m or e t h a n a d e q u at e f or u s e s s u c h a s t h o s e p er mitt e d b y z o ni n g, i n cl u di n g t h e
c urr e nt u s e, a n d t h e a v ail a bl e utiliti e s a d e q u at el y s e r v e t h e sit e. O v er all, t h er e ar e n o k n o w n f a ct or s
w hi c h ar e c o n si d er e d t o pr e v e nt t h e sit e fr o m d e v el o p m e nt t o it s hi g h e st a n d b e st u s e, a s if v a c a nt, or
a d v er s e t o t h e e xi sti n g u s e of t h e sit e.




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I m pr o v e m e nt s D e s cri pti o n
T h e s u bj e ct i s a 3 6, 5 0 0- s q u ar e f o ot v a c a nt gr o c er y st or e t h at ori gi n all y o p er at e d u n d er t h e S e ntr y
F o o d s a n d A c e H ar d w ar e b a n n er s. It m o st r e c e ntl y w a s l e a s e d t o M a ur er' s F o o d s i n D e c e m b er 2 0 1 8.
I n M ar c h 2 0 1 9, M a ur er' s a n n o u n c e d t h at t h e pr o pert y will b e cl o si n g it s d o or s a n d b e g a n t h e
li q ui d ati n g pr o c e s s. T h e pr o p ert y offi ci all y b e c a m e v a c a nt i n M a y of 2 0 1 9 a n d r e m ai n s v a c a nt a s of t h e
eff e cti v e d at e of t hi s r e p ort. T h e i m pr o v e m e nt s w e r e c o n str u ct e d i n 2 0 1 5 a n d ar e c o n si d er e d i n g o o d
o v er all c o n diti o n. T h e s u bj e ct i s p art of a r et ail c e nt er t h at i s att a c h e d t o a v a c a nt st or e t h at w a s
pr e vi o u sl y o c c u pi e d b y S h o p k o, pri or t o t h e r e t ail er fili n g f or b a n kr u pt c y i n J a n u ar y of 2 0 1 9.

I m pr o v e m e nt C h ar a ct eristi cs
  Pr o p ert y T y p e:                                           R et ail
  Pr o p ert y S u bt y p e:                                      Fr e e St a n di n g B uil di n g
  O c c u p a n c y T y p e:                                      V a c a nt
  T e n a n c y:                                                  Si n gl e T e n a nt
  I n v e st m e nt Cl a s s:                                     Cl a s s C
  N u m b er of B uil di n g s:                                   1
  N u m b er of St ori e s                                        1
  C o n str u cti o n Cl a s s:                                   C - M a s o nr y p er M ar s h all V al u ati o n S er vi c e
  C o n str u cti o n Q u alit y:                                 Good
  Gr o s s B uil di n g Ar e a ( G B A):                         3 6, 5 0 0 S F ( b a s e d o n O w n er s hi p – L e a s e D o c u m e nt)
  N et R e nt a bl e Ar e a ( N R A):                            3 6, 5 0 0 S F ( b a s e d o n O w n er s hi p – L e a s e D o c u m e nt)
  M e z z a ni n e Ar e a                                         8 4 0 S F ( b a s e d o n A s s e s s or’ s Pr o p ert y R e c or d C ar d) – t hi s ar e a i s
                                                                  n ot i n cl u d e d i n t h e gr o s s b uil di n g ar e a/ n et r e nt a bl e ar e a.
                                                                  T h er ef or e, t h e n et r e nt a bl e ar e a e n c o m p a s s e s t h e b uil di n g
                                                                  f o ot pri nt of 3 6, 5 0 0 S F.


R ati os & P ar ki n g
  L a n d-t o- B uil di n g R ati o:                              4. 2 5 t o 1 ( U s a bl e L a n d/ G B A)
  Fl o or Ar e a R ati o ( F A R):                                0. 2 4 ( b a s e d o n G B A)
  P ar ki n g S p a c e s:                                        126
  P ar ki n g R ati o o n G B A:                                  3. 4 5 ( p er 1, 0 0 0 sf of G B A)


A g e / Lif e
  Y e ar B uilt:                                                  2015
  R e n o v at e d/ Yr. R e n o v at e d:                          No
  C o n diti o n:                                                  Good
  A ct u al A g e:                                                4 y e ar s
  Eff e cti v e A g e:                                            4 y e ar s
  T y pi c al B uil di n g Lif e:                                 4 0 y e ar s
  R e m ai ni n g E c o n o mi c Lif e:                           3 6 y e ar s
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Str u ct ur al C h ar a ct eristi cs
  F o u n d ati o n:                                               C o n cr et e sl a b
  B uil di n g Fr a m e:                                          M et al
  E xt eri or W all s:                                            M a s o nr y, bl o c k, m et al a n d dri v-it
  R o of T y p e / M at eri al:                                   Fl at / M et al

T h e e xt eri or w all s ar e pri m aril y d e c or ati v e c o n cr e t e bl o c k, wit h bri c k a n d st o n e a c c e nt s o n t h e
fr o nt of t h e b uil di n g. T h e si d e a n d r e ar w all s h a v e m et al c o v eri n g. T h e wi n d o w s ar e pl at e gl a s s
s et i n a n o di z e d al u mi n u m fr a m e s.

I nt eri or C h ar a ct eristi cs
  Fl o or s:                                                      S e al e d c o n cr et e, c ar p eti n g, vi n yl til e a n d c er a mi c til e
  W all s:                                                       P ai nt e d dr y w all
  C eili n g:                                                     A c o u sti c al c eili n g til e a n d e x p o s e d s u p p ort j oi st s
  Li g hti n g:                                                   St a n d ar d c o m m er ci al fl u or e s c e nt fi xt ur e s
  R e str o o m s:                                                T h e s u bj e ct pr o p ert y c o nt ai n s t w o r e str o o m s c o nt ai ni n g a si n k,
                                                                  l a v at or y, a n d st all s w hi c h i s c o n si d er e d a d e q u at e a n d t y pi c al f or
                                                                  t h e i nt e n d e d u s e.


M e c h a ni c al S yst e ms
  El e ctri c al:                                                  A p p e ar s a d e q u at e a n d t y pi c al f or i nt e n d e d u s e
  Pl u m bi n g:                                                   B at hr o o m s, w at er h e at er( s), pl u m bi n g a n d dr ai n a g e f or gr o c er y
                                                                   st or e ( w al k -i n c o ol er s, c o ol er s, w al k -i n fr e e z er s, fr e e z er s, st or e
                                                                   di s pl a y s); et c.
  H e ati n g:                                                     F or c e d w ar m air
  Air C o n diti o ni n g:                                         R o of- m o u nt e d p a c k a g e u nit s
  Fir e Pr ot e cti o n/ S pri n kl er s:                          W et s y st e m / 1 0 0 % s pri n kl er e d
  N u m b er of El e v at or s:                                    0


Sit e I m pr o v e m e nts
  Sit e I m pr o v e m e nt s:                                    T y pi c al, i n cl u di n g a s p h alt p a v e d p ar ki n g, si d e w al k s, l a n d s c a pi n g
                                                                  a n d a d e q u at e p ar ki n g
  L a n d s c a pi n g:                                            A v er a g e


L e g al, C o nf or mi n g St at us
  L e g all y P er mitt e d U s e:                                Y es
  C o nf or m s t o P ar ki n g:                                  Y es
  C o nf or mit y C o n cl u si o n:                              T h e e xi sti n g i m pr o v e m e nt s         a p p e ar t o         m e et t h e       z o ni n g
                                                                  r e q uir e m e nt s.




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D ef err e d M ai nt e n a n c e
A pr o p ert y c o n diti o n s r e p ort w a s n ot pr o vi d e d. T h e pr o p ert y s h o w s n or m al w e ar a n d t e ar a n d t h er e
w er e n o it e m s of d ef err e d m a i nt e n a n c e n ot e d or r e p ort e d. T h u s, n o d e d u cti o n s f or d ef err e d
m ai nt e n a n c e w a s w arr a nt e d.

A n al ysis/ C o m m e nts o n I m pr o v e m e nts
T h e i m pr o v e m e nt s ar e i n g o o d o v er all c o n diti o n a n d ar e c o n si d er e d t o b e t y pi c al f or t h e a g e a n d
l o c ati o n a s w ell a s i nt eri or a n d e xt eri or a m e niti e s. T h e d e si g n, c o n str u cti o n t y p e, q u alit y, a n d c o n diti o n
of t h e i m pr o v e m e nt s ar e t y pi c al f or t h e m ar k et. T h e i nt eri or c o nfi g ur ati o n i s t y pi c al a n d n ot u n u s u al
f or t h e u s e. All of t h e i m pr o v e m e nt s ar e o n e st or y a n d t h er e a p p e ar s t o b e a n a p pr o pri at e a m o u nt of
p ar ki n g. All of t h e l a n d i s c o n si d er e d a pri m ar y sit e a n d t h er e i s n o e x c e s s or s ur pl u s l a n d ar e a. O v er all,
t h er e ar e n o k n o w n f a ct or s t h at a d v er s el y i m p a ct t he m ar k et a bilit y of t h e i m pr o v e m e nt s. T h e f u n cti o n al
utilit y of t h e pr o p ert y i s g o o d, si n c e it w a s a b uil d -t o- s uit f or it s c urr e nt u s e b a s e d u p o n a c o m p ari s o n
of si mil ar pr o p erti e s i n t h e m ar k et ar e a.




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                                                                                                                          V A C A NT GR O CERY ST ORE
                                                                                                                       ASSESS ME NT A N D T A X D AT A




A s s e s s m e nt a n d T a x D at a
Ass ess m e nt M et h o d ol o g y
Wi s c o n si n h a s a n a n n u al a s s e s s m e nt. T h e a s s e s s or m a y c h a n g e t h e a s s e s s m e nt b e c a u s e of b uil di n g
p er mit s or s al e s a cti vit y e v e n if h e or s h e di d n ot i n s p e ct y o ur pr o p ert y. T h e l a w r e q uir e s t h at pr o p ert y
b e v al u e d fr o m a ct u al vi e w or fr o m t h e b e st i nf o r m ati o n t h at c a n b e pr a cti c a bl y o bt ai n e d. A s s e s s m e nt
c o m pli a n c e u n d er st at e l a w ( s e c. 7 0. 0 5( 5)( b), Wi s. St at s. ), e a c h m u ni ci p alit y m u st a s s e s s all m aj or cl a s s e s
of pr o p ert y wit hi n 1 0 % of f ull v al u e i n t h e s a m e y e ar , at l e a st o n c e wit hi n a fi v e- y e ar p eri o d. A ‘ m aj or
cl a s s’ of pr o p ert y i s d efi n e d a s a pr o p ert y cl a s s t h at i n cl u d e s m or e t h a n 1 0 % of t h e f ull v al u e of t h e
t a x ati o n di stri ct.

I n Wi s c o n si n e a c h i n c or p or at e d m u ni ci p alit y h a s t h eir o w n a s s e s s or, w hil e u ni n c or p or at e d t o w n s hi p s
ar e a s s e s s e d b y t h e c o u nt y a s s e s s or. T h e a s s e s s e d v al u e of a pr o p ert y i n Wi s c o n si n i s t h e d oll ar v al u e
pl a c e d o n a pr o p ert y b y t h e l o c al a s s e s s or' s offi c e. T h e e q u ali z ati o n f a ct or, al s o k n o w n a s t h e
a s s e s s m e nt r ati o, i n Wi s c o n si n i s e sti m at e d b y t h e Wi s c o n si n D e p art m e nt of R e v e n u e ( D O R) f or e a c h
m u ni ci p alit y or t o w n s hi p. T hi s r ati o i s a p pli e d t o all pr o p ert y, i n cl u di n g p er s o n al pr o p ert y wit hi n t h e
m u ni ci p alit y or t o w n s hi p, r e g ar dl e s s of t y p e or l o c ati o n of t h e pr o p ert y, i n or d er t o e sti m at e w h at t h e
a s s e s s or r ef er s t o a s t h e f air m ar k et v al u e or e q u ali z e d v al u e.

A s s e s s m e nt s i n Wi s c o n si n ar e g e n er all y b a s e d u p o n 1 0 0 p er c e nt of f air m ar k et v al u e. H o w e v er, i n t h e
y e ar s b et w e e n r e a s s e s s m e nt s, t h e a s s e s s m e nt t o m ar k et v al u e r ati o m a y v ar y a n d dr o p a b o v e or b el o w
1 0 0 p er c e nt. R e a s s e s s m e nt s i n Wi s c o n si n ar e o n a n irr e g ul ar s c h e d ul e i n m o st c o m m u niti e s, b ut ar e
m a n d at e d b y st at e st at ut e wit hi n fi v e y e ar s w h e n t h e a s s e s s m e nt t o m ar k et v al u e r ati o f all s b el o w 9 0
p er c e nt of m ar k et v al u e.

A n n u al t a x bill s ar e i s s u e d n e ar t h e e n d of t h e c al e n d ar y e ar; t y pi c all y, i n mi d- D e c e m b er. T a x e s ar e
p ai d i n arr e ar s, a n d ar e g e n er all y p a y a bl e i n t w o i n st all m e nt s d u e J a n u ar y 3 1 st a n d J ul y 3 1 st, alt h o u g h
t hi s p a y m e nt s c h e d ul e v ari e s s o m e w h at b y c o m m u nit y or c o u nt y.

R e al pr o p ert y s al e s i n Wi s c o n si n ar e a m att er of p u bli c r e c or d a n d t h e l o c al a s s e s s or’ s offi c e i s n otifi e d
of e a c h s al e a s it o c c ur s. A s s e s s or s i n t h e St at e of Wi s c o n si n e m pl o y e a c h of t h e t hr e e tr a diti o n al
a p pr o a c h e s t o v al u e. A s s e s s or s i n t h e St at e of Wi s c o n si n c a n r e a s s e s s t h e pr o p ert y at t h e ti m e of s al e,
u si n g a n ar m’ s l e n gt h s al e pri c e a s a pri m ar y i n di c ati o n of v al u e.

Ass ess e d Val u es a n d Pr o p ert y Ta x es
T h e s u bj e ct’ s a s s e s s e d v al u e s, a p pli c a bl e t a x r at e s a n d t ot al t a x e s, i n cl u di n g dir e ct a s s e s s m e nt s, ar e
s h o w n i n t h e f oll o wi n g t a bl e:




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                   A d V al or e m T a x S c h e d ul e
                   T a x P ar c el N u m b er: 1 1 2 1 1 - 1 5 1 2. 0 2
                                                                                                                                  M ar k et
                   C ol u m bi a C o u nt y                                      A ct u al             A ct u al               E s ti m at e
                   Y e ar                                                           2017                  2018                     Y e ar 1
                   A p pr ai s e d V al u e
                      L a n d:                                                $ 1 8 5, 3 5 1        $ 1 9 1, 9 0 6             $ 1 9 1, 9 0 6
                      I m pr o v e m e nts:                                $ 2, 7 1 3, 9 3 9     $ 2, 8 0 9, 9 0 9          $ 1, 8 8 8, 5 9 4
                      T ot al:                                             $ 2, 8 9 9, 2 9 0     $ 3, 0 0 1, 8 1 5          $ 2, 0 8 0, 5 0 0
                      P er S q u ar e F o ot:                                     $ 7 9. 4 3            $ 8 2. 2 4                 $ 5 7. 0 0
                      % C h a n g e:                                                  N/ A                 3. 5 %                 - 3 0. 7 %
                   A s s e s s m e nt R ati o                                   9 9. 6 5 %            9 6. 2 5 %                  9 6. 2 5 %
                   A s s e s s e d V al u e
                       L a n d:                                               $ 1 8 4, 7 0 2        $ 1 8 4, 7 1 0             $ 1 8 4, 7 1 0
                       I m pr o v e m e nts:                               $ 2, 7 0 4, 4 4 0     $ 2, 7 0 4, 5 3 7          $ 1, 8 1 7, 7 7 2
                       T ot al:                                            $ 2, 8 8 9, 1 4 2     $ 2, 8 8 9, 2 4 7          $ 2, 0 0 2, 4 8 1
                       % C h a n g e:                                                 N/ A                 0. 0 %                 - 3 0. 7 %

                   T a x R at e                                           $ 2 1. 7 7 0 5 5 0    $ 2 1. 8 9 3 5 0 0         $ 2 1. 8 9 3 5 0 0
                      % C h a n g e:                                                  N/ A                 0. 6 %
                   Mill a g e R at e                                       p er $ 1, 0 0 0       p er $ 1, 0 0 0            p er $ 1, 0 0 0
                                                                                   A ct u al             A ct u al   M ar k et E sti m at e
                   T a x E x p e ns e                                                2017                  2018                    Y e ar 1
                      T a x A m o u nt:                                         $ 6 2, 8 9 8          $ 6 3, 2 5 6               $ 4 3, 8 4 1
                       S p e ci al As s e s s m e nts:                               -$64                  -$63                       -$63
                       T ot al T a x e s:                                       $ 6 2, 8 3 4          $ 6 3, 1 9 2               $ 4 3, 7 7 8
                       P er S q u ar e F o ot:                                      $ 1. 7 2              $ 1. 7 3                   $ 1. 2 0


Ass ess m e nt C o m p ar a bl es
T o e v al u at e t h e r e a s o n a bl e n e s s of t h e A s s e s s or’ s a s s e s s e d v al u e f or t h e s u bj e ct pr o p ert y wit hi n t h e
m ar k et, w e c o n si d er e d t h e A s s e s s or’ s a s s e s s e d v al u e s f or s e v er al c o m p ar a bl e pr o p erti e s, w hi c h ar e
pr e s e nt e d i n t h e t a bl e o n t h e f oll o wi n g p a g e.

A c c or di n g t o o ur r e s e ar c h, t h er e ar e o nl y 5 r et ail pr o p erti e s wit hi n t h e i m m e di at e vi ci nit y t h at w er e
c o n str u ct e d aft er 2 0 0 0. T h er ef or e, w e h a v e c o n si d er e d all of t h e s e pr o p erti e s i n o ur a s s e s s m e nt f or
t a x c o m p ar a bl e s. T h e c o m p ar a bl e pr o p erti e s r a n g e d i n a s s e s s m e nt s fr o m $ 3 8. 6 0 t o $ 1 2 8. 9 7 p er s q u ar e
f o ot. C o m p ar a bl e 1 i s t h e m o st si mil ar t o t h e s u bj e ct pr o p ert y, a s it i s t h e S h o p k o pr o p ert y dir e ctl y
a dj a c e nt t o t h e s u bj e ct pr o p ert y. It f e at ur e s a si m il ar c o n str u cti o n a s c o m p ar e d t o t h e s u bj e ct pr o p ert y.
H o w e v er, it s h o ul d b e n ot e d t h at i s n e w 2 0 1 9 a s s e s s m e nt h a s r e c e ntl y d e cr e a s e d t o a p pr o xi m at el y
$ 6 2. 0 0 p er s q u ar e f o ot. C o m p ar a bl e 2 i s al s o wit hi n t h e s a m e s u b- di vi si o n, h o w e v er, it i s t h e stri p
c e nt er t h at i s o nl y 1 5 % l e a s e t o R e- M a x. T h er ef or e, it i s n ot f ull y a s s e s s e d a n d f all s b el o w t h e r a n g e
a v er a g e. C o m pr a bl e s 3 a n d 4 ar e l o c at e d n ort h of J a m e s Str e et, t o t h e e a st of U. S. Hi g h w a y 1 5 1 i n a
s u p eri or l o c ati o n. T h e y r e pr e s e nt a n e w stri p c e nt er a n c h or e d b y M c D o n al d s a n d a fr e e st a n di n g
W al gr e e n s b uil di n g, b ot h c o n si d er e d s u p eri or t o t h e s u bj e ct pr o p ert y. C o m p ar a bl e 5 i s a b o wli n g all e y
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l o c at e d o n a n o d dl y s h a p e d p ar c el a n d c o n si d er e d t o b e i nf eri or t o t h e s u bj e ct i n t er m s of c o n diti o n
a n d q u alit y. T h er ef or e, t h e r a n g e a v er a g e, w hi c h f a ll s i n-li n e wit h C o m p ar a bl e 1 i s c o n si d er e d t o b e
m o st si mil ar t o t h e s u bj e ct pr o p ert y.

C o n cl usi o ns
C o n si d eri n g t h e t a x c o m p ar a bl e s pr e s e nt e d a n d t h e c urr e nt st at e of t h e s u bj e ct pr o p ert y, w e h a v e
e sti m at e d t h e A s s e s s or’ s a p pr ai s e d v al u e f or t h e s u bj e ct will d e cr e a s e t o $ 2, 0 8 0, 5 0 0 or $ 5 7. 0 0 p er
s q u ar e f o ot. T hi s i n di c at e s a n a s s e s s e d v al u e of $ 2, 0 0 2, 4 8 1 a n d a t a x b ur d e n of $ 4 3, 7 7 8 or $ 1. 2 0 p er
s q u ar e f o ot f or t h e s u bj e ct pr o p ert y.

Pl e a s e n ot e t h at t h e 2 0 1 9 a s s e s s e d v al u e f or t h e s u bj e ct pr o p ert y i s $ 2, 0 7 6, 5 0 0 or $ 5 6. 8 9 p er s q u ar e
f o ot. A c c or di n g t o t h e l o c al a s s es s or, 2 0 1 9 w a s a r e- v al u e y e ar a n d t h e pr o p ert y i s still b ei n g a s s e s s e d
a s a f o o d st or e/ h ar d w ar e st or e. T h er ef or e, a l o w er st a bili z e d a s s e s s m e nt n e ar t h e n e w 2 0 1 9
a s s e s s m e nt i s c o n si d er e d t o b e m or e a p pr o pri at e i n t hi s a n al y si s a n d al s o r e m ai n s i n li n e wit h t h e t a x
c o m p ar a bl e s d et ail e d a b o v e.

A c c or di n g t o t h e C ol u m bi a C o u nt y T a x A s s e s s or t h e s u bj e ct’ s pr o p ert y t a x e s ar e c urr e nt a s of t h e d at e
of v al u e. T h e a s s e s s e d v al u e of t h e s u bj e ct i s l e s s t h a n t h e m ar k et v al u e of t h e s u bj e ct. A n a p p e al of
t h e a s s e s s e d v al u e i s n ot r e c o m m e n d e d.




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                                                                                                                                                                                          V A C A NT GR O CERY ST ORE
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       T a x C o m p ar a bl e s

       2018 Tax                                                                                                                 L a n d Si z e    L -t o - B     B uil di n g      Y e ar     A p pr ai s e d V al u e
         C o m p.        P ar c el N u m b er            Pr o p ert y N a m e             A d dr e s s                           ( A cr e s)       R ati o          Si z e        B uil t            T ot al         P SF
             1           1 1 2 1 1 - 1 5 1 2. 0 3        Sho pko                          2 0 0 C o m m er c e Dri v e              3. 8 8 0    4. 8 0 -t o - 1   3 5, 2 0 4      2012      $ 2, 5 4 0, 3 0 0 $ 7 2. 1 6
             2           1 1 2 1 1 - 1 5 1 2. 0 4        R et ail S h o p s               2 5 0- 2 7 0 C o m m er c e Dri v e       2. 9 9 0   1 2. 3 9 -t o - 1 1 0, 5 1 2       2014         $ 5 1 9, 7 0 0 $ 4 9. 4 4
             3           1 1 2 1 1 - 1 1 1 0. 3 0         W al gr e e ns                  1 5 0 0 W. J a m e s Str e et             1. 4 0 0    4. 1 7 -t o - 1   1 4, 6 1 8      2006      $ 1, 8 1 5, 0 0 0 $ 1 2 4. 1 6
             4           1 1 2 1 1 - 1 1 1 0. 2 1        Stri p C e nt er                 1 5 4 0 W. J a m e s Str e et             1. 1 1 0    4. 8 5 -t o - 1    9, 9 7 0       2007      $ 1, 2 8 5, 8 0 0 $ 1 2 8. 9 7
             5           1 1 2 1 1 - 1 1 1 0. 1 0        B o wli n g All e y              2 7 7 I n d ustri al Dri v e              6. 8 5 0   1 1. 3 2 -t o - 1 2 6, 3 5 2       2006      $ 1, 0 1 7, 2 0 0 $ 3 8. 6 0
        M e di a n                                                                                                                                                1 4, 6 1 8      2007      $ 1, 2 8 5, 8 0 0 $ 7 2. 1 6
         S u bj e ct     1 1 2 1 1 - 1 5 1 2. 0 2        V a c a nt Gr o c er y St or e   1 5 0 C o m m er c e Dr                  3. 5 6 0      4. 2 5 -t o - 1   3 6, 5 0 0     2 0 1 5 $ 3, 0 0 1, 8 1 5     $ 8 2. 2 4




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                                                                                                                                                                           V A C A NT GR O CERY ST ORE
                                                                                                                                                                                     M A R K E T A N A L Y SI S




T h e f oll o wi n g t a bl e ill u str at e s t h e hi st ori c al m ar k et p erf or m a n c e of t h e C ol um bi a C o u nt y M etr o p olit a n
m ar k et:

    R et ail M ar k et St ati s ti c s
    C ol u m bi a C o u nt y M ar k et
                                             C ol u m bi a C o u nt y - All R et ail S p a c e                        C ol u m bi a C o u n t y - R et ail - P o s t 2 0 0 0 C o n s tr u cti o n S p a c e O nl y
                                                S q u ar e F e et            T ot al    Di r e ct           Di r e ct                         S q u ar e F e et           T ot al      Di r e ct            Di r e ct
                                 T ot al                  U n d er              N et P er c e n t R e nt al R at e                  T ot al            U n d er               N et P er c e n t R e nt al R at e
   Q u art er        S q u ar e F e et       C o n s tr u cti o n A b s o r pti o n V a c a n t ( T ri pl e N et)       S q u ar e F e et C o n s tr u cti o n A b s or pti o n V a c a n t ( T ri pl e N et)
   2019 Q3                2, 8 4 1, 8 2 8                         0        7 7, 5 9 4     3. 2 %       $ 7. 2 2 p sf            2 6 6, 3 5 3                   0        7 2, 9 7 9       6. 2 %       $ 8. 0 3 p sf
   2019 Q2                2, 8 4 1, 8 2 8                         0        3 1, 7 0 3     5. 9 %       $ 7. 1 4 p sf            2 6 6, 3 5 3                   0                 0     3 3. 6 %       $ 8. 0 3 p sf
   2019 Q1                2, 8 4 1, 8 2 8                         0        1 8, 5 2 9     7. 0 %       $ 7. 0 1 p sf            2 6 6, 3 5 3                   0       - 6 6, 6 7 9    3 3. 6 %        $ 8. 0 7 p sf
   2018 Q4                2, 8 3 5, 8 2 8                  6, 0 0 0      - 1 5, 2 2 5     7. 5 %       $ 6. 2 6 p sf            2 6 0, 3 5 3            6, 0 0 0        - 1, 0 0 3       6. 4 %     $ 1 0. 6 0 p sf

   2018     Q3             2, 8 3 5, 8 2 8               6, 0 0 0          1 4, 0 4 0     7. 0   %     $ 6. 4 5    p sf          2 6 0, 3 5 3             6, 0 0 0           1, 0 0 0     6. 0    %     $ 1 0. 1 9    p sf
   2018     Q2             2, 8 3 5, 8 2 8                      0          3 6, 5 3 2     7. 5   %     $ 7. 7 3    p sf          2 6 0, 3 5 3                    0         2 7, 5 5 2     6. 4    %     $ 1 2. 9 0    p sf
   2018     Q1             2, 8 3 9, 3 8 7                      0            9, 4 4 1     8. 9   %     $ 7. 8 2    p sf          2 6 0, 3 5 3                    0              100     1 7. 0    %     $ 1 3. 1 4    p sf
   2017     Q4             2, 8 3 9, 3 8 7                      0        - 4 1, 5 7 0     9. 2   %     $ 7. 9 6    p sf          2 6 0, 3 5 3                    0             -200     1 7. 0     %     $ 1 2. 3 4    p sf

   2017     Q3             2, 8 3 9, 3 8 7                      0        - 2 3, 6 4 7     7. 7   %      $ 7. 9 6   p sf          2 6 0, 3 5 3                   0        - 2 4, 5 5 2    1 7. 0   %     $ 1 2. 3 4    p sf
   2017     Q2             2, 8 3 9, 3 8 7                      0        - 2 0, 5 9 3     6. 9   %      $ 8. 1 6   p sf          2 6 0, 3 5 3                   0          - 8, 0 0 0      7. 5   %     $ 1 2. 3 4    p sf
   2017     Q1             2, 8 3 9, 3 8 7                      0            6, 0 0 0     6. 2   %      $ 7. 7 9   p sf          2 6 0, 3 5 3                   0                  0      4. 5    %     $ 1 3. 1 4    p sf
   2016     Q4             2, 8 3 9, 3 8 7                      0          2 8, 1 1 3     6. 4   %      $ 8. 0 7   p sf          2 6 0, 3 5 3                   0         1 9, 7 3 6      4. 5    %     $ 1 3. 1 4    p sf

   2016     Q3             2, 8 1 9, 7 5 1              1 9, 6 3 6        3 8, 1 7 1      6. 7   %     $ 7. 7 7    p sf          2 4 0, 7 1 7           1 9, 6 3 6           3, 9 2 3     4. 9    %     $ 1 3. 2 3    p sf
   2016     Q2             2, 8 1 9, 7 5 1              1 9, 6 3 6        - 7, 2 5 4      8. 1   %     $ 6. 2 5    p sf          2 4 0, 7 1 7           1 9, 6 3 6         - 6, 2 0 0     6. 5    %     $ 1 3. 4 3    p sf
   2016     Q1             2, 8 3 2, 7 5 1                       0          2, 1 0 5      8. 2   %     $ 6. 8 0    p sf          2 4 0, 7 1 7                    0           9, 1 0 0     3. 9    %     $ 1 5. 0 6    p sf
   2015     Q4             2, 8 3 2, 7 5 1                       0          1, 8 7 5      8. 3   %     $ 7. 0 0    p sf          2 4 0, 7 1 7                    0             -300        7. 7    %     $ 1 5. 0 6    p sf

   2015     Q3             2, 8 3 2, 7 5 1                       0                98      8. 4   %     $ 7. 0 0    p sf          2 4 0, 7 1 7                    0           1, 8 0 0     7. 6    %     $ 1 5. 0 6    p sf
   2015     Q2             2, 8 2 2, 7 5 1              1 0, 0 0 0       - 7 5, 7 5 1     8. 1   %     $ 7. 0 0    p sf          2 3 0, 7 1 7           1 0, 0 0 0              300       4. 3    %     $ 1 5. 0 6    p sf
   2015     Q1             2, 8 2 2, 7 5 1              1 0, 0 0 0         3 3, 4 5 0     5. 4   %     $ 7. 3 6    p sf          2 3 0, 7 1 7           1 0, 0 0 0         3 8, 9 0 5     4. 5    %     $ 1 4. 9 6    p sf
   2014     Q4             2, 7 8 3, 8 4 6              4 8, 9 0 5         - 1, 8 0 0     5. 3   %     $ 7. 8 2    p sf          1 9 1, 8 1 2           4 8, 9 0 5         - 3, 2 0 0     5. 4    %     $ 1 4. 6 2    p sf
   S o ur c e: C o St ar Gr o u p, I n c.


R e nt al R at e s
T h e C ol u m bi a C o u nt y M etr o h a d a 2 0 1 9 3r d Q u art er a v er a g e q u ot e d r e nt al r at e of $ 7. 2 2 p er s q u ar e
f o ot f or all r et ail s p a c e, c o m p ar e d t o $ 6. 4 5 i n t h e 2 0 1 8 3r d Q u art er, or a 1 1. 9 % i n cr e a s e o v er t h e l a st
y e ar. Q u ot e d r e nt al r at e s f or r et a il - p o st 2 0 0 0 c o n str u cti o n s p a c e o nl y w er e a p pr o xi m at el y 1 1 % hi g h er
at $ 8. 0 3 p er s q u ar e f o ot.

Vaca ncy
T h e C ol u m bi a C o u nt y M etr o h a s a 2 0 1 9 3r d Q u art er v a c a n c y of 3. 2 % f or all r et ail s p a c e a n d 6. 2 % f or
r et ail - p o st 2 0 0 0 c o n str u cti o n s p a c e o nl y. V a c a n c y r at e s ar e r el ati v el y u n c h a n g e d o v er t h e pri or y e ar.

C o n str u cti o n a n d A b s or pti o n
T h er e i s c urr e ntl y 0 s q u ar e f e et of r et ail s p a c e u n d er c o n str u cti o n i n t h e m ar k et, of w hi c h 0. 0 % i s r et ail
- p o st 2 0 0 0 c o n str u cti o n. N et a b s or pti o n f or t h e pri or y e ar w a s p o siti v e.




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    R et ail M ar k et St ati s ti c s
    C ol u m b u s WI S u b m ar k et
                                          C ol u m b u s WI - All R et ail S p a c e                                 C ol u m b u s       WI - R et ail - P o s t 2 0 0 0 C o n s tr u cti o n S p a c e O nl y
                                         S q u ar e F e et             T ot al    Di r e ct           Di r e ct                               S q u ar e F e et            T ot al     Di r e ct            Di r e ct
                                T ot al             U n d er              N et P er c e n t R e nt al R at e                     T ot al               U n d er               N et P er c e n t R e nt al R at e
   Q u art er        S q u ar e F e et C o n s tr u cti o n A b s o r pti o n V a c a n t ( T ri pl e N et)          S q u ar e F e et C o n s tr u cti o n A b s or pti o n V a c a n t ( T ri pl e N et)
   2019 Q3                  6 1 3, 5 6 2                   0         7 7, 9 7 9     3. 4 %       $ 7. 3 8 p sf               1 6 2, 2 5 5                     0          7 2, 9 7 9      6. 2 %       $ 7. 4 8 p sf
   2019 Q2                  6 1 3, 5 6 2                   0                  0   1 6. 1 %       $ 7. 3 8 p sf               1 6 2, 2 5 5                     0                   0    5 1. 1 %       $ 7. 4 8 p sf
   2019 Q1                  6 1 3, 5 6 2                   0       - 7 7, 5 0 2   1 6. 1 %       $ 7. 4 2 p sf               1 6 2, 2 5 5                     0        - 7 3, 8 7 9    5 1. 1 %        $ 7. 5 3 p sf
   2018 Q4                  6 1 3, 5 6 2                   0            -891        3. 5 %     $ 1 0. 1 9 p sf               1 6 2, 2 5 5                     0               197        5. 6 %     $ 1 0. 1 9 p sf

   2018     Q3                6 1 3, 5 6 2                 0           2, 8 0 0      3. 3   %    $ 1 0. 1 9   p sf          1 6 2, 2 5 5                     0            1, 0 0 0       5. 7    %    $ 1 0. 1 9   p sf
   2018     Q2                6 1 3, 5 6 2                 0         2 8, 0 5 2      3. 8   %    $ 1 2. 9 0   p sf          1 6 2, 2 5 5                     0          2 7, 5 5 2       6. 3    %    $ 1 2. 9 0   p sf
   2018     Q1                6 1 3, 5 6 2                 0            -100         8. 4   %    $ 1 2. 9 0   p sf          1 6 2, 2 5 5                     0               100       2 3. 3    %    $ 1 2. 9 0   p sf
   2017     Q4                6 1 3, 5 6 2                 0           1, 0 0 0      8. 4   %    $ 1 2. 4 7   p sf          1 6 2, 2 5 5                     0              -200       2 3. 4    %    $ 1 2. 0 0   p sf

   2017     Q3                6 1 3, 5 6 2                 0        - 3 0, 0 8 4     8. 5   %    $ 1 2. 4 7   p sf          1 6 2, 2 5 5                     0         - 2 6, 9 5 2    2 3. 3    %    $ 1 2. 0 0   p sf
   2017     Q2                6 1 3, 5 6 2                 0            1, 0 1 8     3. 6   %    $ 1 2. 4 7   p sf          1 6 2, 2 5 5                     0              -400         6. 7    %    $ 1 2. 0 0   p sf
   2017     Q1                6 1 3, 5 6 2                 0                   0     3. 8   %    $ 1 1. 1 5   p sf          1 6 2, 2 5 5                     0                   0      6. 4     %    $ 1 2. 9 0   p sf
   2016     Q4                6 1 3, 5 6 2                 0             -600        3. 8   %    $ 1 1. 1 5   p sf          1 6 2, 2 5 5                     0               100        6. 4     %    $ 1 2. 9 0   p sf

   2016     Q3                6 1 3, 5 6 2                 0             -135        3. 7   %    $ 1 0. 7 6   p sf          1 6 2, 2 5 5                     0            3, 9 2 3       6. 5    %    $ 1 2. 8 3   p sf
   2016     Q2                6 1 3, 5 6 2                 0          - 9, 0 5 0     3. 7   %      $ 8. 6 2   p sf          1 6 2, 2 5 5                     0           - 8, 6 0 0       8. 9   %    $ 1 3. 0 0   p sf
   2016     Q1                6 1 3, 5 6 2                 0            8, 6 0 0     2. 2   %    $ 1 0. 9 0   p sf          1 6 2, 2 5 5                     0            8, 6 0 0       3. 6    %    $ 1 3. 6 6   p sf
   2015     Q4                6 1 3, 5 6 2                 0               700       3. 6   %    $ 1 0. 9 0   p sf          1 6 2, 2 5 5                     0              -300          8. 9   %    $ 1 3. 6 6   p sf

   2015     Q3                6 1 3, 5 6 2                  0          2, 7 1 2      3. 7   %   $ 1 0. 9 0    p sf          1 6 2, 2 5 5                      0           1, 8 0 0       8. 7    %    $ 1 3. 6 6   p sf
   2015     Q2                6 0 3, 5 6 2         1 0, 0 0 0             800        2. 6   %   $ 1 0. 9 0    p sf          1 5 2, 2 5 5             1 0, 0 0 0              300         3. 9    %    $ 1 3. 6 6   p sf
   2015     Q1                6 0 3, 5 6 2         1 0, 0 0 0        3 7, 0 5 3      2. 7   %   $ 1 1. 1 4    p sf          1 5 2, 2 5 5             1 0, 0 0 0         3 8, 9 0 5       4. 1    %    $ 1 3. 7 0   p sf
   2014     Q4                5 6 4, 6 5 7         4 8, 9 0 5           -600         2. 5   %   $ 1 2. 0 5    p sf          1 1 3, 3 5 0             4 8, 9 0 5            -100          5. 5    %    $ 1 3. 8 2   p sf
   S o ur c e: C o St ar Gr o u p, I n c.


R e nt al R at e s
T h e C ol u m b u s WI s u b m ar k et h a d a 2 0 1 9 3r d Q u art er a v er a g e q u ot e d r e nt al r at e of $ 7. 3 8 p er s q u ar e
f o ot f or all r et ail s p a c e, c o m p ar e d t o $ 1 0. 1 9 i n 2 01 8 3r d Q u art er, or a 2 7. 6 % d e cr e a s e o v er t h e l a st
y e ar. Q u ot e d r e nt al r at e s f or r et a il - p o st 2 0 0 0 c o n str u cti o n s p a c e o nl y w er e a p pr o xi m at el y 1 % hi g h er
at $ 7. 4 8 p er s q u ar e f o ot.

Vaca ncy
T h e C ol u m b u s WI s u b m ar k et h a s a 2 0 1 9 3r d Q u art er v a c a n c y of 3. 4 % f or all r et ail s p a c e a n d 6. 2 % f or
r et ail - p o st 2 0 0 0 c o n str u cti o n s p a c e o nl y. V a c a n c y r at e s ar e r el ati v el y u n c h a n g e d o v er t h e pri or y e ar.

C o n str u cti o n a n d A b s or pti o n
T h er e i s c urr e ntl y n o s q u ar e f e et of r et ail s p a c e u n d er c o n str u cti o n i n t h e m ar k et, of w hi c h n o n e i s
r et ail - p o st 2 0 0 0 c o n str u cti o n. N et a b s or pti o n f or t h e pri or y e ar w a s n e g ati v e.

M ar k et A n al ysis C o n cl usi o ns
T h e r e nt al r at e s tr e n d s, i n v e nt or y a n d n e w c o n str u c ti o n l e v el s, v a c a n c y r at e s a n d a b s or pti o n tr e n d s
i n di c at e t h e m ar k et i s i n e q uili bri u m.




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Gr o c er y St or e M a r k et O v er vi e w
T h e S u p er m ar k et s a n d Gr o c er y St or e s i n d u str y h a s gr o w n o v er t h e p a st fi v e y e ar s ( 0. 9 %), b e n efiti n g
fr o m a str e n gt h e ni n g e c o n o m y. A s p er c a pit a di s po s a bl e i n c o m e i n cr e a s e d d uri n g t h e p eri o d, m a n y
c o n s u m er s s hift e d t o pr e mi u m, or g a ni c a n d all- n at ur al br a n d s, h el pi n g lift i n d u str y r e v e n u e.
C o n v er s el y, i nfl ati o n ar y f o o d c o st s h a v e c a u s e d m a n y c o n s u m er s t o c o nti n u e p ur c h a si n g pri v at e-l a b el
br a n d s e v e n aft er t h e r e c e s si o n. W hil e a s hift t o w a r d m or e g e n eri c g o o d s c ur b s r e v e n u e gr o wt h, it
h el p s o p er at or s m ai nt ai n pr ofit m ar gi n s, a s st or e br a n d s ar e l e s s c o stl y t o pr o d u c e t h a n n ati o n al
br a n d s. O v er t h e n e xt fi v e y e ar s, t h e i n d u str y i s a nti ci p at e d t o gr o w st e a dil y, r e s ulti n g fr o m ri si n g
di s cr eti o n ar y i n c o m e a n d c o n s u m er pr ef er e n c e s.

T h e S u p er m ar k et s a n d Gr o c er y St or e s i n d u str y i s i n t h e m at ur e st a g e of it s lif e c y cl e. C urr e nt n ati o n al
r e v e n u e s t ot al m or e t h a n $ 6 5 0 billi o n. T h er e ar e a t ot al of 6 6, 2 9 3 st or e s a n d a p pr o xi m at el y 2. 7 7 milli o n
e m pl o y e e s w or ki n g i n t h e i n d u str y.

Gr o c er y St or e Ty p es
              W ar e h o u s e F o o d St or e s / M e g a W ar e h o u s e St or e s
              A l ar g er c o m m u nit y f o o d st or e w h er e b ot h fr e s h pr o d u c e a n d m e at s a n d p a c k a g e d f o o d it e m s
              ar e a v ail a bl e f or p ur c h a s e al o n g wit h g e n er al m er c h a n di s e; t y pi c all y r a n g e s i n si z e fr o m 9 0, 0 0 0
              s q u ar e f e et a n d u p wit h t h e m e g a w ar e h o u s e st or e b ei n g a mi ni m u m of 2 0 0, 0 0 0- s q u ar e f e et.
              T y pi c all y, t h e s e gr o c er y st or e t y p e s f e at ur e a p pr o xi m at el y 1 0 % t o 2 0 % of r e ar w ar e h o u s e s p a c e
              f or i n v e nt or y st or a g e.
              Gr o c er y St or e / S u p er m ar k et
              A n ei g h b or h o o d f o o d st or e w h er e b ot h fr e s h pr o d u c e a n d m e at s a n d p a c k a g e d f o o d it e m s
              ar e a v ail a bl e f or p ur c h a s e; t y pi c all y r a n g e s i n si z e b et w e e n 3 0, 0 0 0 a n d 9 0, 0 0 0 s q u ar e f e et.
              S p e ci alt y / Di s c o u nt Gr o c er y St or e
              A s m all r et ail o utl et t h at f o c u s e s o n s elli n g a p a rti c ul ar pr o d u ct r a n g e a n d a s s o ci at e d it e m s;
              t y pi c all y r a n g e s i n si z e b et w e e n 1 5, 0 0 0 a n d 3 0, 0 0 0 s q u ar e f e et, wit h s o m e e x c e pti o n s.

I n v est m e nt Cl ass es
T h e f oll o wi n g d efi niti o n s w er e pr o v i d e d b y a c o u nt y a p pr ai s er’ s offic e. It s h o ul d b e n ot e d t h at
a d diti o n al cl a s sifi c ati o n f a ct or s ar e a s f oll o w s: t e n a nt pr ofil e, r e nt al r at e, q u alit y of c o n str u cti o n, fi ni s h -
o ut, s p e cifi c l o c ati o n, a c c e s s, vi si bilit y a n d c o n diti o n of t h e pr o p ert y i n a n al y zi n g t h e c o m p ar a bl e s al e s.
              Cl a s s A
              W e alt h di stri b uti o n, s p e cifi c l o c ati o n, vi si bilit y a n d/ or a c c e s s gr e atl y c o ntri b ut e t o t h e p ot e nti al
              s u c c e s s of t h e pr oj e ct w h e n c o m p ar e d t o ot h er s i n t h e m ar k et ar e a.
              P h ot o e x a m pl e s of Cl a s s A pr o p erti e s ar e pr o vi d e d b el o w:




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                                                                              S u p er m ar k et




                                                                              S u p er m ar k et




                                                                          S p e ci alt y/ Di s c o u nt
              Cl a s s B
              W e alt h di stri b uti o n, s p e cifi c l o c ati o n, vi si bili t y a n d/ or a c c e s s t o t h e pr oj e ct i s a b o v e a v er a g e
              a n d h a s a p o siti v e i m p a ct t o t h e p ot e nti al s u c c e s s of t h e pr oj e ct wit h c o m p ari s o n t o ot h er s i n
              t h e m ar k et ar e a.

              P h ot o e x a m pl e s of Cl a s s B pr o p erti e s ar e pr o vi d e d b el o w:




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                                                                              S u p er m ar k et




                                                                          S p e ci alt y/ Di s c o u nt




                                                                          S p e ci alt y/ Di s c o u nt

C o m p etiti o n A n al ysis
T h e s u bj e ct’ s n ei g h b or h o o d i s a s m all c o m m u nit y wi t h a n e sti m at e d p o p ul ati o n of 5, 2 6 3 r e si d e nt s.
Wit hi n t h e l o c al C ol u m b u s tr a d e ar e a, t h er e i s o nl y o n e ot h er gr o c er y st or e t h at w o ul d pr e s e nt
c o m p etiti o n t o t h e s u bj e ct pr o p ert y. Pi c k ‘ n, S a v e i s l o c at e d a p pr o xi m at el y 1 mil e dir e ctl y t o t h e e a st
of t h e s u bj e ct, t o t h e e a st of U S Hi g h w a y 1 5 1. T h er e ar e n o ot h er pri m ar y gr o c er y st or e s i n t h e
i m m e di at e ar e a, wit h t h e n e ar e st pri m ar y c o m p etiti o n fr o m Pi g gl y Wi g gl y 1 6 mil e s t o t h e n ort h of t h e
s u bj e ct i n R a n d ol p h, WI, a Pi g gl y Wi g gl y a n d Al di a p pr o xi m at el y 1 5- 1 6 mil e s t o t h e n ort h e a st of t h e

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C o n cl u si o n
T h e s u bj e ct i s o n e of t h e o nl y t w o f ull- s er vi c e gr o c er y st or e i n t h e i m m e di at e ar e a. D e m a n d d o e s
e x c e e d s u p pl y f or t hi s i n d u str y gr o u p i n di c ati n g a p o siti v e r et ail l e a k a g e. T h e bi g g e st c o m p etit or f or
t h e s u bj e ct i s a Pi c k ‘ n S a v e l o c at e d t o t h e i m m e di ate e a st of t h e s u bj e ct i n a n ol d er i n d u stri al ar e a.
T h e p o p ul ati o n of C ol u m b u s, Wi s c o n si n a n d t h e s u bj e ct’ s n ei g h b or h o o d h a s h a d si mil ar hi st ori c al
p o p ul ati o n gr o wt h a n d m e di a n h o u s e h ol d i n c o m e s a n d pr oj e ct e d i n c o m e gr o wt h a s c o m p ar e d t o t h e
M a di s o n M S A. Gi v e n t h e pr e c e di n g, o ur o utl o o k f or t h e gr o c er y st or e m ar k et i s g o o d.




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I BI S W orl d R e p ort – W ar e h o us e Clu bs & S u p er c e nt ers i n t h e U S
T h e f oll o wi n g i s i nf or m ati o n t a k e n fr o m t h e A pril 2 0 1 9 I BI S W orl d r e p ort o n t h e Gr o c er y St or e i n t h e
U S m ar k et.




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                                                                                                                           V A C A NT GR O CERY ST ORE
                                                                                                                              HI G H E S T A N D B E S T U S E




Hi g h e st a n d B e st U s e
T h e Hi g h e st a n d B e st U s e of a pr o p ert y i s t h e u s e t h at i s l e g all y p er mi s si bl e, p h y si c all y p o s si bl e, a n d
fi n a n ci all y f e a si bl e w hi c h r e s ult s i n t h e hi g h e st v al ue. A n o pi ni o n of t h e hi g h e st a n d b e st u s e r e s ult s
fr o m c o n si d er ati o n of t h e crit eri a n ot e d a b o v e u n d er t h e m ar k et c o n diti o n s or li k el y c o n diti o n s a s of
t h e eff e cti v e d at e of v al u e. D et er mi n ati o n of hi g h e st a n d b e st u s e r e s ult s fr o m t h e j u d g m e nt a n d
a n al yti c al s kill s of t h e a p pr ai s er. It r e pr e s e nt s a n o p i ni o n, n ot a f a ct. I n a p pr ai s al pr a cti c e, t h e c o n c e pt
of hi g h e st a n d b e st u s e r e pr e s e nt s t h e pr e mi s e u p o n w hi c h v al u e i s b a s e d.

A n al ysis of Hi g h est a n d B est Us e As If Va c a nt
T h e pri m ar y d et er mi n a nt s of t h e hi g h e st a n d b e st u s e of t h e pr o p ert y a s if v a c a nt ar e t h e i s s u e s of ( 1)
L e g al p er mi s si bilit y, ( 2) P h y si c al p o s si bilit y, ( 3) Fi n a n ci al f e a si bilit y, a n d ( 4) M a xi m u m pr o d u cti vit y.

L e g all y P er mi s si bl e
T h e s u bj e ct sit e i s z o n e d I- 1, Li g ht I n d u stri al w hi c h c o ntr ol s t h e g e n er al n at ur e of p er mi s si bl e u s e s b ut
i s a p pr o pri at e f or t h e l o c ati o n a n d p h y si c al ele m e nt s of t h e s u bj e ct pr o p ert y, pr o vi di n g f or a
c o n si st e n c y of u s e wit h t h e g e n er al n ei g h b or h o o d. T h e l o c ati o n of t h e s u bj e ct pr o p ert y i s a p pr o pri at e
f or t h e u s e s all o w e d, a s n ot e d pr e vi o u sl y, a n d a c h a n g e i n z o ni n g i s u nli k el y. T h er e ar e n o k n o w n
e a s e m e nt s, e n cr o a c h m e nt s, c o v e n a nt s or ot h er u s e r e stri cti o n s t h at w o ul d u n d ul y li mit or i m p e d e
d e v el o p m e nt.

P h y si c all y P o s si bl e
T h e p h y si c al attri b ut e s all o w f or a n u m b er of p ot e nti a l u s e s. El e m e nt s s u c h a s si z e, s h a p e, a v ail a bilit y
of utiliti e s, k n o w n h a z ar d s (fl o o d, e n vir o n m e nt al, et c. ), a n d ot h er p ot e nti al i nfl u e n c e s ar e d e s cri b e d i n
t h e Sit e D e s cri pti o n a n d h a v e b e e n c o n si d er e d. T h ere ar e n o it e m s of a p h y si c al n at ur e t h at w o ul d
m at eri all y li mit a p pr o pri at e a n d li k el y d e v el o p m e nt.

Fi n a n ci all y F e a si bl e
T h e pr o b a bl e u s e of t h e sit e f or c o m m er ci al d e v el o p m e nt c o nf or m s t o t h e p att er n of l a n d u s e i n t h e
m ar k et ar e a. A r e vi e w of p u bli s h e d yi el d, r e nt al a n d o c c u p a n c y r at e s s u g g e st t h at t h er e i s a b al a n c e d
s u p pl y a n d d e m a n d i s s uffi ci e nt t o s u p p ort c o n str u cti o n c o st s a n d e n s ur e ti m el y a b s or pti o n of
a d diti o n al i n v e nt or y i n t hi s m ar k et. T h er ef or e, n e ar-t er m s p e c ul ati v e d e v el o p m e nt of t h e s u bj e ct sit e
i s fi n a n ci all y f e a si bl e. T hi s i s al s o e vi d e n c e d b y t he d e v el o p m e nt of n e w r et ail pr o p erti e s i n t h e p a st
f e w y e ar s wit hi n t h e i m m e di at e vi ci nit y of t h e s u bj e ct pr o p ert y, w hil e g e n er all y o n a b uil d-t o- s uit b a si s.

M a xi m all y Pr o d u cti v e
A m o n g t h e fi n a n ci all y f e a si bl e u s e s, t h e u s e t h at r e s u lt s i n t h e hi g h e st v al u e (t h e m a xi m all y pr o d u cti v e
u s e) i s t h e hi g h e st a n d b e st u s e. C o n si d eri n g t h e s e f a ct or s, t h e m a xi m all y pr o d u cti v e u s e a s t h o u g h
v a c a nt i s f or c o m m er ci al/r et ail u s e.

C o n cl u si o n of Hi g h e st a n d B e st U s e A s If V a c a nt
T h e c o n cl u si o n of t h e hi g h e st a n d b e st u s e a s if v a c a nt i s f or c o m m er ci al/r et ail u s e.

A n al ysis of Hi g h est a n d B est Us e as I m pr o v e d
I n d et er mi ni n g t h e hi g h e st a n d b e st u s e of t h e pr o p ert y a s i m pr o v e d, t h e f o c u s i s o n t hr e e p o s si biliti e s
f or t h e pr o p ert y: ( 1) c o nti n u ati o n of t h e e xi sti n g u se, ( 2) m o difi c ati o n of t h e e xi sti n g u s e, or ( 3)
d e m oliti o n a n d r e d e v el o p m e nt of t h e l a n d.

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R et ai ni n g t h e i m pr o v e m e nt s a s t h e y e xi st m e et s t h e t e st s f or p h y si c al p o s si bilit y, l e g al p er mi s si bilit y
a n d fi n a n ci al f e a si bilit y.

T h e s u bj e ct i m pr o v e m e nt s w er e b uilt i n 2 0 1 5 a n d, a s of t h e d at e of v al u e, w er e i n g o o d c o n diti o n.
B a s e d o n o ur a s s e s s m e nt, w e h a v e e sti m at e d t h e eff e cti v e a g e t o b e 4 y e ar s. A s n ot e d, t h e a n al y z e d
u s e i s a gr o c er y st or e b uil di n g. W e b eli e v e t h e pr o p ert y t o b e a l e g al u s e p er t h e z o ni n g r e g ul ati o n s.
T h e i m pr o v e m e nt s ar e c o n si st e nt wit h s urr o u n di n g u s e s a n d w e h a v e r at e d it s f u n cti o n al utilit y a s
g o o d, si n c e it w a s a b uil d -t o- s uit f or it s c urr e nt u s e.

A n y alt er n ati v e u s e of t h e e xi sti n g i m pr o v e m e nt s i s u nli k el y t o b e e c o n o mi c all y f e a si bl e. T h e m ar k et
v al u e of t h e pr o p ert y a s i m pr o v e d e x c e e d s t h e c o m bi n ati o n of v a c a nt sit e v al u e l e s s c o st of d e m oliti o n
of t h e i m pr o v e m e nt s. T h er ef or e d e m oliti o n a n d r e d e v e l o p m e nt of t h e sit e i s n ot m a xi m all y pr o d u cti v e.

A s w a s n ot e d i n t hi s a n al y si s, t h e s u bj e ct pr o p ert y i s c urr e ntl y v a c a nt. A s n ot e d i n t h e Hi st or y s e cti o n
of t hi s r e p ort, t h e s u bj e ct w a s c o m pl et e d i n A pril 2 0 1 5. A c c or di n g t o t h e d e v el o p er, t h e b uil di n g a n d
F F & E r e p ort e dl y c o st a p pr o xi m at el y $ 8. 3 milli o n. T h e pr o p ert y w a s ori gi n all y o p er at e d u n d er t h e
S e ntr y F o o d s a n d A c e H ar d w ar e b a n n er s. I n M ar c h of 2 0 1 8, t h e gr o c er c e a s e d o p er ati o n s a s S e ntr y
F o o d s a n d r e br a n d e d a s C ol u m b u s H o m et o w n M ar k et. I n N o v e m b er 2 0 1 8 t h e pr o p ert y w a s l e a s e d t o
M a ur er’ s F o o d s. M a ur er’ s F o o d s o p er at e d t h e s u bj e c t a s M a ur er’ s M ar k et b e gi n ni n g i n D e c e m b er 2 0 1 8.
I n M ar c h 2 0 1 9, M a ur er’ s a n n o u n c e d t h at t h e pr o p ert y w o ul d b e cl o si n g it s d o or s a n d b e g a n t h e
li q ui d ati o n pr o c e s s, e x er ci si n g a si x- m o nt h c a n c el ati o n cl a u s e wit hi n t h eir l e a s e.

B a s e d u p o n d at a pr o vi d e d b y t h e cli e nt, t h e st or e cl o s e d i n M a y 2 0 1 9 a n d cit e d p o or s al e s at t h e
s u bj e ct’ s l o c ati o n f or t h e cl o s ur e of t h e pr o p ert y. F u rt h er i n v e sti g ati o n r e v e al e d t h at t h e p o or s al e s w a s
d u e t o f o ur y e ar s of o n g oi n g r o a d c o n str u cti o n wit h i n t h e vi ci nit y of t h e s ubj e ct pr o p ert y. T h e r o a d
c o n str u cti o n n e g ati v el y i m p a ct e d t h e b u si n e s s at t h e s u bj e ct pr o p ert y a n d t h e s urr o u n di n g c o m m er ci al
pr o p erti e s, i n cl u di n g t h e S h o p k o a n d n ei g h b ori n g st ri p c e nt er. T o f urt h er c o m p o u n d t h e p o or s al e s
of t h e f or m er gr o c er y st or e, it w a s r e p ort e d t h at t h e f or m er t e n a nt, S e ntr y F o o d s, w a s n ot a g o o d fit
f or t hi s l o c ati o n gi v e n t h e hi g h er pri c e d it e m s s ol d b y t h e gr o c er.

A d diti o n all y, n ot k n o w n b y t h e o w n er pri or t o t h e o c c u p a n c y of S h o p k o, t h e r et ail er c arri e d
a p pr o xi m at el y 2 5 % f o o d i n v e nt or y at t h e st or e, w hi c h n e g ati v el y i m p a ct e d t h e s al e s of t h e a dj a c e nt
s u bj e ct gr o c er y st or e. All of t h e s e f a ct or s r e s ult e d i n t h e p o or s al e s of t h e f or m er t e n a nt a n d t h e
e v e nt u al cl o si n g of st or e at t hi s l o c ati o n. It w a s r e p ort e d b y t h e i nt er vi e w e d gr o c er y st or e s p e ci ali st,
t h at a c c or di n g t o m ar k et r e s e ar c h, r o a d cl o s ur e s c a n a c c o u nt f or a s m u c h a s 5 0 % r e d u cti o n i n st or e
r e v e n u e s. C o m bi ni n g t h e r e m ai ni n g n e g ati v e f a ct or s t h at eff e ct e d t h e s u bj e ct pr o p ert y, st or e s al e s
c o ul d b e r e d u c e d b y a s m u c h a s 6 0 % t o 7 5 %, w hi c h d e fi nit el y l e a d t o t h e d e mi s e of t h e pri or t e n a nt.

L a stl y, t h e i niti al b a s e c o ntr a ct r e nt of a p pr o xi m at el y $ 1 9. 0 0 p er s q u ar e f o ot o n N N N b a si s, wit h a n n u al
r e nt i n cr e a s e s w a s a b o v e m ar k et f or t hi s l o c ati o n. B a s e d o n hi st ori c al d at a, m or e r e a s o n a bl e m ar k et
r e nt al r at e s w er e b et w e e n $ 1 2. 0 0 t o $ 1 8. 0 0 p er s q u ar e f o ot, N N N. T h e r at e s at t h e hi g h er e n d of t h at
r a n g e w a s b ei n g p ai d b y t e n a nt s s u c h a s Pi c k n’ S av e a n d C o p p s, w h o w er e c o n si d er e d str o n g er t e n a nt s
i n s u p eri or m ar k et s. T h e b a s e r e nt f ar e x c e e d e d t h e t y pi c al m ar k et o c c u p a n c y c o st s f or si mil ar gr o c er y
st or e s. B a s e d o n m ar k et d at a, gr o c er y st or e t e n a nt s d o n ot w a nt t o p a y m or e t h a n 4 % t o 6 % of t h eir
gr o s s r e v e n u e s i n r e nt. A ct u al hi st ori c al st or e s al e s w a s n ot pr o vi d e d, h o w e v er, t h e y w er e r e p ort e d t o
b e ar o u n d $ 7 5, 0 0 0 t o $ 8 0, 0 0 0 p er w e e k, w hi c h w o ul d o nl y s u p p ort a m a x n et b a s e r e nt of
a p pr o xi m at el y $ 6. 0 0 p er s q u ar e f o ot, pl u s a m orti z e d F F & E c o st s t h at w o ul d b e a d d e d t o t h e b a s e r e nt,
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w hi c h b a s e d u p o n t h e c o st n e w of t h e F F & E at t h at ti m e w o ul d h a v e b e e n a p pr o xi m at el y $ 4. 0 0 p er
s q u ar e f o ot m or e, i n di c ati n g a m ar k et r e nt of a p pr o xi m at el y $ 1 0. 0 0 p er s q u ar e f o ot, N N N. It i s o ur
u n d er st a n di n g, t h e pr o-f or m a s al e s f or t hi s l o c ati o n w er e pr oj e ct e d t o b e a l ot hi g h er, w hi c h b a s e d
u p o n s e v er al m ar k et a n al y si s r e p ort s, t h e w e e kl y s al e s w er e pr oj e ct e d t o b e a n y w h er e fr o m $ 1 5 0, 0 0 0
t o $ 2 5 0, 0 0 0 b a s e d u p o n s e v er al s c e n ari o s w hi c h r eli e d u p o n a l o c al Pi c k ‘ n S a v e cl o si n g or r e m ai ni n g
o p e n.

Utili zi n g a r e vi s e d pr oj e ct e d s al e s of $ 1 2 5, 0 0 0 t o $ 1 5 0, 0 0 0 p er w e e k, u p o n st a bili z ati o n, a n d a t ot al
c o st of o c c u p a n c y at 6 %, t h e n et r e nt w o ul d b e a p pr o xi m at el y $ 1 0. 0 0 t o $ 1 2. 0 0 p er s q u ar e f o ot wit h
$ 2. 5 0 i n a m orti z e d F F & E v al u e gi v e n t h e d e pr e ci at e d v al u e of t h e e xi sti n g p er s o n al pr o p ert y, i n di c ati n g
a n et r e nt of a p pr o xi m at el y $ 1 2. 5 0 t o $ 1 4. 5 0 p er s q u ar e f o ot, N N N i n cl u di n g F F & E.

A c c or di n g t o a gr o c er y st or e e x p ert, K eit h Wi c k s of K eit h Wi c k s a n d A s s o ci at e s, t h er e ar e s e v er al
alt er n ati v e o pti o n s f or t hi s gr o c er y st or e, all c o n cl u di n g wit h a c o nti n u e d u s e a s a gr o c er y st or e. T h e
fir st o pti o n i s t o l e a v e t h e b uil di n g l a y o ut a n d si z e a s i s a n d l e a s e it t o a n ot h er gr o c er, s u c h a s Pi g gl y
Wi g gl y or si mil ar t y p e gr o c er. T h e i d e al st or e si z e w o ul d b e a p pr o xi m at el y 3 0, 0 0 0- s q u ar e f e et wit h
t h e r e m ai ni n g 6, 3 0 0- s q u ar e f e et l e a s e d t o a s m all er h ar d w ar e st or e, f a st f o o d r e st a ur a nt, c off e e s h o p
or p h ar m a c y t y p e t e n a nt s, t o j u st n a m e a f e w. T h e pri or l a y o ut w a s of t h e st or e w a s n ot i d e all y s et u p,
a s t h e gr o c er y st or e o c c u pi e d a p pr o xi m at el y 2 5, 0 0 0- s q u ar e f e et a n d t h e f or m er A c e H ar d w ar e
o c c u pi e d t o o l ar g e of a s p a c e, at 1 1, 3 0 0- s q u ar e f e et . T h e st or e c o m bi n ati o n w a s v er y r ar e i n t h e
m ar k et a n d r e p ort e dl y n ot t e st e d i n t h e l o c al m ar k et, ulti m at el y l e a di n g t o t h e f ail ur e of t h e l o c ati o n.

It i s b eli e v e d t h at t hi s m o difi e d l a y o ut will w or k b ett er i n t hi s l o c ati o n. F urt h er m or e, a p ot e nti al t e n a nt
c o ul d b e s u c c e s sf ul i n t hi s l o c ati o n wit h o n e t o t w o y e ar s of fr e e r e nt (t o all o w t h e t e n a nt t o gr o w a n d
e st a bli s h m ar k et s h ar e a n d a c hi e v e it s s al e s p ot e nti al), a n a p pr o pri at e m ar k et r e nt a n d a t ur n k e y
o c c u p a n c y t h at i n cl u d e s all e xi sti n g F F & E a m orti z e d i nt o t h e r e nt o v er a 1 0 t o 2 0- y e ar t er m. It w a s
r e p ort e d t h at t hi s l o c ati o n c o ul d a c hi e v e w e e kl y s al e s of a p pr o xi m at el y $ 1 2 5, 0 0 0 t o $ 1 5 0, 0 0 0, w hi c h
i s a v er a g e f or t hi s t y p e of l o c ati o n a n d pr o d u ct t y p e. A d diti o n all y, t h e l e a s e- u p of t h e a dj a c e nt v a c a nt
S h o p k o w o ul d b e v er y b e n efi ci al t o t h e s u c c e s s of t h e s u bj e ct pr o p ert y. A n i d e al t e n a nt f or t hi s l o c ati o n
c o ul d b e a Tr a ct or S u p pl y, a fit n e s s c e nt er or si mil ar t y p e u s er, t h at w o ul d r e q uir e mi ni m al r etr ofitti n g
of t h e e xi sti n g s p a c e. A c c or di n g t o t h e gr o c er y st or e s p e ci ali st, s e v er al gr o c er s h a v e alr e a d y b e e n
c o nt a ct e d f or t hi s l o c ati o n. T h er e i s s o m e i nt er e st b y ot h er e st a bli s h e d gr o c er s, h o w e v er, t h e t er m s
i n di c at e d a b o v e w o ul d h a v e t o b e pr o vi d e d a n d/ or m et f or a n y s eri o u s t al k s t o o c c ur. If t h e pr o p ert y
i s a g gr e s si v el y m ar k et e d wit h t h e a b o v e t er m s i n mi n d, t h e s p a c e c o ul d b e l e a s e d i n a p pr o xi m at el y 3
t o 6 m o nt h s, h o w e v er, si n c e t h e v a c a nt S h o p k o w o ul d m o st li k el y n e e d t o at l e a st h a v e a n L OI i n pl a c e
t o g e n er at e gr e at er i nt er e st i n t hi s l o c ati o n, a l e a s e u p p eri o d t o w ar d s t h e u p p er e n d of t h at r a n g e i s
a p pr o pri at e.

T h e s e c o n d o pti o n w o ul d b e t o r etr ofit b ot h st or e s , t h e gr o c er y st or e a n d t h e v a c a nt S h o p k o i nt o o n e
l ar g er f or m at i n a n eff ort t o attr a ct a l ar g er gr o c er y st or e t e n a nt, s u c h a s a Pi c k ‘ n S a v e or Kr o e g er. T h e
c urr e nt f o ot pri nt of b ot h st or e s i s a p pr o xi m at el y 7 0, 0 0 0- s q u ar e f e et. C urr e ntl y, t h e s m all e st f o ot pri nt
f or t hi s t y p e of gr o c er i s ar o u n d 7 8, 0 0 0- t o 8 0, 0 0 0- s q u ar e f e et. T h er ef or e, a 1 0, 0 0 0- s q u ar e f o ot
a d diti o n c o ul d b e b uilt o nt o t h e c urr e nt str u ct ur e t o a c c o m m o d at e t hi s n e e d f or a d diti o n al s p a c e. T hi s
o pti o n w o ul d pr o vi d e t h e o p p ort u nit y t o s e c ur e a hi g h er l e a s e r at e, h o w e v er, t hi s w o ul d t a k e a l ot
m or e c o or di n ati o n a n d c o st s t h a n O pti o n 1.         M or e s p e cifi c all y, t hi s w o ul d r e q uir e a p pr o v al a n d
c o or di n ati o n wit h t h e n ei g h b ori n g pr o p ert y o w n er.


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                                                                                                                        HI G H E S T A N D B E S T U S E


H o w e v er, a s t h e s c o p e of t hi s a n al y si s i s t o e sti m a t e t h e f e e si m pl e m ar k et v al u e of L ot 2 o nl y, t h e
v a c a nt gr o c er y st or e. B a s e d o n t h e l o c al c h ar a ct eri sti c s a n d d e m o gr a p hi c s, w e ar e of t h e o pi ni o n t h at
a s m all gr o c er wit h a n a dj a c e nt c o m pli m e nt ar y d e m a n d dri v er f or t h e v a c a nt S h o p k o w o ul d b e m o st
a p pr o pri at e f or t hi s m ar k et.

C o n cl u si o n of Hi g h e st a n d B e st U s e A s I m pr o v e d
T h er ef or e, t h e hi g h e st a n d b e st u s e of t h e s u bj e ct pr o p ert y, a s i m pr o v e d, i s c o nti n u e d gr o c er y st or e
u s e.

M ost Pr o b a bl e B u y er
A s of t h e d at e of v al u e, t h e m o st pr o b a bl e b u y er of t h e s u bj e ct pr o p ert y i s a l o c al i n v e st or/ o w n er- u s er.




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                                                                                                                                     L A N D V A L U A TI O N




L a n d V al u ati o n
M et h o d ol o g y
Sit e V al u e i s m o st oft e n e sti m at e d u si n g t h e s al e s c o m p ari s o n a p pr o a c h. T hi s a p pr o a c h d e v el o p s a n
i n di c ati o n of m ar k et v al u e b y a n al y zi n g cl o s e d s al e s, li sti n g s, or p e n di n g s al e s of pr o p erti e s si mil ar t o
t h e s u bj e ct, f o c u si n g o n t h e diff er e n c e b et w e e n t he s u bj e ct a n d t h e c o m p ar a bl e s u si n g all a p pr o pri at e
el e m e nt s of c o m p ari s o n. T hi s a p pr o a c h i s b a s e d o n t h e pri n ci pl e s of s u p pl y a n d d e m a n d, b al a n c e,
e xt er n aliti e s, a n d s u b stit uti o n, or t h e pr e mi s e t h at a b u y er w o ul d p a y n o m or e f or a s p e cifi c pr o p ert y
t h a n t h e c o st of o bt ai ni n g a pr o p ert y wit h t h e s a m e qu alit y, utilit y, a n d p er c ei v e d b e n efit s of o w n er s hi p.

T h e pr o c e s s of d e v el o pi n g t h e s al e s c o m p ari s o n a p pr o a c h c o n si st s of t h e f oll o wi n g a n al y s e s: ( 1)
r e s e ar c hi n g a n d v erif yi n g tr a n s a cti o n al d at a, ( 2) s el e cti n g r el e v a nt u nit s of c o m p ari s o n, ( 3) a n al y zi n g
a n d a dj u sti n g t h e c o m p ar a bl e s al e s f or diff er e n c e s i n v ari o u s el e m e nt s of c o m p ari s o n, a n d ( 4)
r e c o n cili n g t h e a dj u st e d s al e s i nt o a v al u e i n di c ati o n f or t h e s u bj e ct sit e.

U nit of C o m p ari s o n
T h e u nit of c o m p ari s o n d e p e n d s o n l a n d u s e e c o n o m i c s a n d h o w b u y er s a n d s ell er s u s e t h e pr o p ert y.
T h e u nit of c o m p ari s o n i n t hi s a n al y si s i s p er u s a bl e s q u ar e f o ot.

El e m e nt s of C o m p ari s o n
El e m e nt s of c o m p ari s o n ar e t h e c h ar a ct eri sti c s or a ttri b ut e s of pr o p erti e s a n d tr a n s a cti o n s t h at c a u s e
t h e pri c e s of r e al e st at e t o v ar y. T h e pri m ar y el e me nt s of c o m p ari s o n c o n si d er e d i n s al e s c o m p ari s o n
a n al y si s ar e a s f oll o w s: ( 1) pr o p ert y ri g ht s c o n v e y e d, ( 2) fi n a n ci n g t er m s, ( 3) c o n diti o n s of s al e, ( 4)
e x p e n dit ur e s m a d e i m m e di at el y aft er p ur c h a s e, ( 5) m ar k et c o n diti o n s, ( 6) l o c ati o n a n d ( 7) p h y si c al
c h ar a ct eri sti c s.

C o m p ar a bl e S al e s D at a
T o o bt ai n a n d v erif y c o m p ar a bl e s al e s of v a c a nt l a n d pr o p erti e s, w e c o n d u ct e d a s e ar c h of p u bli c
r e c or d s, fi el d s ur v e y s, i nt er vi e w s wit h k n o wl e d g e a bl e r e al e st at e pr of e s si o n al s i n t h e ar e a, a n d a r e vi e w
of o ur i nt er n al d at a b a s e.

W e i n cl u d e d fi v e s al e s i n o ur a n al y si s, a s t h e s e s al e s w er e j u d g e d t o b e t h e m o st c o m p ar a bl e t o d e v el o p
a n i n di c ati o n of m ar k et v al u e f or t h e s u bj e ct pr o p ert y.

T h e f oll o wi n g i s a t a bl e s u m m ari zi n g e a c h s al e c o m p ar a bl e a n d a m a p ill u str ati n g t h e l o c ati o n of e a c h
i n r el ati o n t o t h e s u bj e ct. D et ail s of e a c h c o m p ar a bl e f oll o w t h e l o c ati o n m a p.




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                    L a n d S al e s S u m m ar y
                   C o m p. D at e                                                                                                                        Pr o p o s e d S al e s Pri c e        P er
                   N o.     of S al e                        L o c ati o n                                                          Z o ni n g                      Us e         A ct u al S q. F t.
                   1        Li sti n g                        2 1 9 I n d ustri al Dr        C ol u m b us, Wi s c o nsi n                 I- 1        C o m m er ci al     $ 6 2 5, 0 0 0    $ 5. 7 4
                   2          M a y- 1 9                      1 2 2 5 N ort h 4t h Str e et   W at ert o w n, Wi s c o nsi n                GB           R e si d e nti al  $ 1 5 5, 0 0 0    $ 0. 8 8
                   3        J ul y- 1 6                       6 3 8 5 N ort h T o w n e R d. D e F or e st, Wi s c o nsi n                 B- 2 S p orts C o m pl e x       $ 3 2 5, 0 0 0    $ 1. 8 3
                   4          M a y- 1 6                      1 5 9 9 L a n d m ar k Dri v e C ott a g e Gr o v e, Wi s c o nsi n            PI           F a st F o o d    $ 3 8 0, 0 0 0    $ 4. 0 0
                   5         S e pt e m b er - 1 5            2 4 0 C or p or at e Dri v e   B e a v er D a m, Wi s c o nsi n              M O      M e di c al offi c e    $ 1 1 3, 4 9 0    $ 0. 6 9




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                                                                                                                                             L A N D V A L U A TI O N



                                                                          LA   N D   C   O M P A R A BLE   1




Pr o p ert y I d e ntifi c ati o n
  Pr o p ert y / S al e I D                    1 0 9 9 9 1 2 6/ 1 4 3 5 3 5 8
  Pr o p ert y T y p e                         C o m m er ci al
  Pr o p ert y N a m e                         C o m m er ci al/ R et ail L a n d f or S al e
  A d dr e s s                                 2 1 9 I n d u stri al Dr
  Cit y, St at e Zi p                          C ol u m b u s, Wi s c o n si n 5 3 9 2 5
  C o u nt y                                   C ol u m bi a
  MS A                                         M a di s o n
  L atit u d e / L o n git u d e               4 3. 3 4 7 4 0 3/- 8 9. 0 2 9 2 2 3
  TaxI D                                       1 1 2 1 1- 1 1 1 0. 2 3

Tr a n s a cti o n D at a
  S al e D at e                                1 1- 0 5- 2 0 1 9                                   D a y s o n M ar k et           936
  S al e St at u s                             Li sti n g                                          S al e Pri c e                  $ 6 2 5, 0 0 0
  Gr a nt or                                   JJ B R e al E st at e                               S al e C o n diti o n s A dj.   $0
                                               D e v el o p m e nt L L C                           E x p. I m m. Aft er S al e     $0
  Gr a nt e e                                  N/ A                                                N o n - R e alt y A dj.         $0
  Pr o p ert y Ri g ht s                       F e e Si m pl e                                     A dj u st e d Pri c e           $ 6 2 5, 0 0 0
  C o n diti o n s of S al e                   Li sti n g

Pr o p ert y D e s cri pti o n
  Gr o s s A cr e s                           6. 2 7 4 0 0                                         R ail A c c e s s               No
  Gr o s s S F                                2 7 3, 2 9 5                                         W at er / P ort A c c e s s     No
  U s a bl e A cr e s                         2. 5 0 0 0 0                                         Vi si bilit y                   Good
  U s a bl e S F                              1 0 8, 9 0 0                                         C or n er /I nt eri or          I nt eri or
  Fr o nt F e et                              2 3 2. 0 0                                           Sha pe                          G e n er all y R e ct a n g ul ar
  D e pt h                                    6 6 0. 0 0                                           T o p o gr a p h y              L e v el
  N o. of L ot s                              1                                                    Utiliti e s                     All A v ail a bl e
  Pr o p o s e d U s e                        C o m m er ci al                                     Dr ai n a g e                   A s s u m e d t o b e a d e q u at e
  Str e et A c c e s s                        A v er a g e                                         Fl o o d H a z ar d Z o n e     Zone X
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                                                                                                                                         L A N D V A L U A TI O N


  Z o ni n g J uri s di cti o n               Cit y of C ol u m b u s                           Z o ni n g D e s cri pti o n   Li mit e d I n d u stri al
  Z o ni n g C o d e                          I- 1

I n di c at or s
  $ / Gr o s s A cr e                         $ 9 9, 6 1 7                                      $ / U s a bl e S F             $ 5. 7 4
  $ / Gr o s s S F                            $ 2. 2 9                                          $/ F F                         $ 2, 6 9 3. 9 7
  $ / U s a bl e A cr e                       $ 2 5 0, 0 0 0                                    $ / L ot                       $ 6 2 5, 0 0 0

V erifi c ati o n
C o nfir m e d Wit h                         C o St ar, P u bli c R e c or d s, Fl y er, A s s e s s or
C o nfir m e d B y                           V al bri d g e Pr o p ert y A d vi s or s | C hi c a g o
C o nfir m ati o n D at e                    1 1- 0 5- 2 0 1 9

R e m ar k s
T hi s i s t h e a cti v e li sti n g of a 2. 5- a cr e b uil d a bl e l ot l o c at e d at 2 1 9 I n d u stri al Dri v e i n C ol u m b u s WI. T h e
pr o p ert y i s l o c at e d at t h e i nt er s e cti o n of W. J a m e s Str e et a n d U S Hi g h w a y 1 5 1. Tr affi c c o u nt s al o n g t h e s e
t w o t h or o u g hf ar e s ar e 1 3, 8 4 5 A A D T ( U S 1 5 1) a n d 1 1, 9 1 6 A A D T (J a m e s St.). T h e pr o p ert y f e at ur e s a n
i n d u stri al z o ni n g di stri ct; h o w e v er, a v ari et y of c o m m er ci al u s e s ar e p er m itt e d. T h e gr o s s l ot ar e a i s 6. 2 7
a cr e s, h o w e v er, o nl y 2. 5- a cr e s i s b uil d a bl e. S urr o u n di n g u s e s i n cl u d e W al gr e e n s, Ji m m y J o h n s, S u p er 8,
M c D o n al d s a n d Pi c k ' n S a v e. T h e pr o p ert y h a s b e e n o n t h e m ar k et f or o v er 3 0 m o nt h s wit h a n a s ki n g pri c e
of $ 6 2 5, 0 0 0 or $ 2. 2 9 p er s q u ar e f o ot of b uil d a bl e sit e ar e a.




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                                                                          LA   N D   C   O M P A R A BLE   2




Pr o p ert y I d e ntifi c ati o n
  Pr o p ert y / S al e I D                    1 0 9 9 9 0 7 6/ 1 4 3 5 3 3 3
  Pr o p ert y T y p e                         C o m m er ci al
  Pr o p ert y N a m e                         W at ert o w n Pr o p o s e d M F L a n d
  A d dr e s s                                 1 2 2 5 N ort h 4t h Str e et
  Cit y, St at e Zi p                          W at ert o w n, Wi s c o n si n 5 3 0 9 4
  C o u nt y                                   J eff er s o n
  MS A                                         Mil w a u k e e- R a ci n e- W a u k e s h a M S A
  L atit u d e / L o n git u d e               4 3. 2 0 8 3 6 8/- 8 8. 7 0 4 3 8 8
  TaxI D                                       2 9 1- 0 9 1 5- 3 4 2 4- 0 2 9

Tr a n s a cti o n D at a
  S al e D at e                                0 5- 2 4- 2 0 1 9                                   R e c or di n g N u m b er      1275804
  S al e St at u s                             Cl o s e d                                          S al e Pri c e                  $ 1 5 5, 0 0 0
  Gr a nt or                                   Ji n e Li vi n g Tr u st, L a v er n e J            Fi n a n ci n g A dj.           $0
                                               a n d R o b ert a A                                 S al e C o n diti o n s A dj.   $0
  Gr a nt e e                                  R o b ert C St a n gl er                            E x p. I m m. Aft er S al e     $0
  Pr o p ert y Ri g ht s                       F e e Si m pl e                                     N o n - R e alt y A dj.         $0
  Fi n a n ci n g                              C a s h t o S ell er                                A dj u st e d Pri c e           $ 1 5 5, 0 0 0
  C o n diti o n s of S al e                   T y pi c al

Pr o p ert y D e s cri pti o n
  Gr o s s A cr e s                           4. 0 2 2 0 0                                         Str e et A c c e s s            A v er a g e
  Gr o s s S F                                1 7 5, 1 9 8                                         R ail A c c e s s               No
  U s a bl e A cr e s                         4. 0 2 2 0 0                                         W at er / P ort A c c e s s     No
  U s a bl e S F                              1 7 5, 1 9 8                                         Vi si bilit y                   A v er a g e
  Fr o nt F e et                              8 6 0. 0 0                                           C or n er /I nt eri or          C or n er
  D e pt h                                    3 6 5. 0 0                                           Sha pe                          Irr e g ul ar
  N o. of L ot s                              1                                                    T o p o gr a p h y              L e v el
  Pr o p o s e d U s e                        R e si d e nti al                                    Utiliti e s                     All A v ail a bl e
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                                                                                                                                         L A N D V A L U A TI O N


  Dr ai n a g e                               A s s u m e d t o b e a d e q u at e              Z o ni n g C o d e             GB
  Fl o o d H a z ar d Z o n e                 Zone X                                            Z o ni n g D e s cri pti o n   G e n er al B u si n e s s Di stri ct
  Z o ni n g J uri s di cti o n               Vill a g e of W at ert o w n

I n di c at or s
  $ / Gr o s s A cr e                         $ 3 8, 5 3 8                                      $ / U s a bl e S F             $. 8 8
  $ / Gr o s s S F                            $. 8 8                                            $/ F F                         $ 1 8 0. 2 3
  $ / U s a bl e A cr e                       $ 3 8, 5 3 8                                      $ / L ot                       $ 1 5 5, 0 0 0

V erifi c ati o n
C o nfir m e d Wit h                         C o St ar, D e e d, P u bli c R e c or d s, A s s e s s or
C o nfir m e d B y                           V al bri d g e Pr o p ert y A d vi s or s | C hi c a g o
C o nfir m ati o n D at e                    1 1- 0 5- 2 0 1 9

R e m ar k s
T hi s i s t h e s al e of a 4. 0 2 2- a cr e tr a ct of c o m m er ci al l a n d l o c at e d at 1 2 2 5 N. 4t h St r e et, W at ert o w n, WI. T h e
l ot i s l o c at e d o n a c or n er l ot i n a B- 2 z o ni n g di stri ct o n t h e o ut s kirt s of t h e t ow n. I n M a y of 2 0 1 9, t h e l ot
s ol d f or $ 1 5 5, 0 0 0 or $ 0. 8 9 p er s q u ar e f o ot. A c c or di n g t o Cit y C o u n cil d o c u m e nt s, t h e pr o p ert y a p pli e d f or
a r e- z o ni n g aft er p ur c h a s e fr o m a B- 2 t o a T R- 6 a n d t h e pr o p o s e d u s e of t h e sit e w a s f or t h e d e v el o p m e nt
of a t o w n h o u s e c o m m u nit y.




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                                                                          LA   N D   C   O M P A R A BLE   3




Pr o p ert y I d e ntifi c ati o n
  Pr o p ert y / S al e I D                    1 1 5 2 0 7 7/ 3 7 8 2 6 2
  Pr o p ert y T y p e                         C o m m er ci al
  Pr o p ert y N a m e                         G R B A c a d e m y Sit e
  A d dr e s s                                 6 3 8 5 N ort h T o w n e R d.
  Cit y, St at e Zi p                          D e F or e st, Wi s c o n si n 5 3 5 9 8
  C o u nt y                                   Dane
  MS A                                         M a di s o n
  L atit u d e / L o n git u d e               4 3. 1 9 9 4 2 0/- 8 9. 3 2 9 8 6 6
  TaxI D                                       0 9 1 0- 3 2 4- 2 2 7 1- 1

Tr a n s a cti o n D at a
  S al e D at e                                0 7- 0 6- 2 0 1 6                                   R e c or di n g N u m b er      5249024
  S al e St at u s                             Cl o s e d                                          S al e Pri c e                  $ 3 2 5, 0 0 0
  Gr a nt or                                   N ort ht o w n e, L L C                             Fi n a n ci n g A dj.           $0
  Gr a nt e e                                  L o n g b all E nt er pri s e s, L L C              S al e C o n diti o n s A dj.   $0
  Pr o p ert y Ri g ht s                       F e e Si m pl e                                     E x p. I m m. Aft er S al e     $0
  Fi n a n ci n g                              C a s h t o S ell er                                N o n - R e alt y A dj.         $0
  C o n diti o n s of S al e                   T y pi c al                                         A dj u st e d Pri c e           $ 3 2 5, 0 0 0

Pr o p ert y D e s cri pti o n
  Gr o s s A cr e s                           4. 0 7 0 0 0                                         Str e et A c c e s s            A v er a g e
  Gr o s s S F                                1 7 7, 2 8 9                                         R ail A c c e s s               No
  U s a bl e A cr e s                         4. 0 7 0 0 0                                         W at er / P ort A c c e s s     No
  U s a bl e S F                              1 7 7, 2 8 9                                         Vi si bilit y                   A v er a g e
  Fr o nt F e et                              5 4 5. 0 0                                           C or n er /I nt eri or          I nt eri or
  D e pt h                                    3 2 5. 0 0                                           Sha pe                          R e ct a n g ul ar
  N o. of L ot s                              1                                                    T o p o gr a p h y              L e v el
  Pr o p o s e d U s e                        S p ort s C o m pl e x                               Utiliti e s                     All A v ail a bl e
  Pr o p o s e d Bl d g S F                   5 2, 0 0 0                                           Dr ai n a g e                   A s s u m e d t o b e a d e q u at e
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  Fl o o d H a z ar d Z o n e                 Zone X                                            Z o ni n g C o d e               B- 2
  Z o ni n g J uri s di cti o n               Vill a g e of D e F or e st                       Z o ni n g D e s cri pti o n     G e n er al B u si n e s s

I n di c at or s
  $/   Gr o s s A cr e                        $ 7 9, 8 5 3                                      $/ F F                           $ 5 9 6. 3 3
  $/   Gr o s s S F                           $ 1. 8 3                                          $ / L ot                         $ 3 2 5, 0 0 0
  $/   U s a bl e A cr e                      $ 7 9, 8 5 3                                      $ / S F of Bl d g Ar e a         $ 6. 2 5
  $/   U s a bl e S F                         $ 1. 8 3

V erifi c ati o n
C o nfir m e d Wit h                         C o St ar, D e e d, P u bli c R e c or d s, A s s e s s or
C o nfir m e d B y                           V al bri d g e Pr o p ert y A d vi s or s | C hi c a g o
C o nfir m ati o n D at e                    0 3- 2 3- 2 0 1 7

R e m ar k s
T hi s i s t h e s al e of a 4. 0 7- a cr e p ar c el of l a n d l o c at e d at 6 3 8 5 N. T o w n e R o a d i n D e F or e st, WI. T hi s p ar c el i s
l o c at e d i n a n i n d u stri al ar e a a n d t h e l a n d w a s p ur c h as e d f or a n i n d o or b a s e b all f a cilit y. T h e pr o p o s e d f a cilit y
i s 5 2, 0 0 0 s q u ar e f e et a n d c o st $ 3. 2 milli o n. I n J ul y of 2 0 1 6, t h e l a n d s ol d f or $ 3 2 5, 0 0 0 or $ 1. 8 3 p er s q u ar e
f o ot.




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                                                                                                                                   V A C A NT GR O CERY ST ORE
                                                                                                                                             L A N D V A L U A TI O N



                                                                          LA   N D   C   O M P A R A BLE   4




Pr o p ert y I d e ntifi c ati o n
  Pr o p ert y / S al e I D                    1 1 5 2 8 3 0/ 3 7 8 8 1 3
  Pr o p ert y T y p e                         R et ail
  Pr o p ert y N a m e                         C ul v er' s Sit e
  A d dr e s s                                 1 5 9 9 L a n d m ar k Dri v e
  Cit y, St at e Zi p                          C ott a g e Gr o v e, Wi s c o n si n 5 3 5 2 7
  C o u nt y                                   Dane
  MS A                                         M a di s o n
  L atit u d e / L o n git u d e               4 3. 1 0 4 5 7 5/- 8 9. 1 9 8 5 5 5
  TaxI D                                       071104120251

Tr a n s a cti o n D at a
  S al e D at e                                0 5- 0 3- 2 0 1 6                                   R e c or di n g N u m b er      5232964
  S al e St at u s                             Cl o s e d                                          S al e Pri c e                  $ 3 8 0, 0 0 0
  Gr a nt or                                   Vill a g e of C ott a g e Gr o v e                  Fi n a n ci n g A dj.           $0
  Gr a nt e e                                  B oj o Pr o p erti e s                              S al e C o n diti o n s A dj.   $0
  Pr o p ert y Ri g ht s                       F e e Si m pl e                                     E x p. I m m. Aft er S al e     $0
  Fi n a n ci n g                              C a s h t o S ell er                                N o n - R e alt y A dj.         $0
  C o n diti o n s of S al e                   T y pi c al                                         A dj u st e d Pri c e           $ 3 8 0, 0 0 0

Pr o p ert y D e s cri pti o n
  Gr o s s A cr e s                           2. 1 8 0 0 0                                         R ail A c c e s s               No
  Gr o s s S F                                9 4, 9 6 1                                           W at er / P ort A c c e s s     No
  U s a bl e A cr e s                         2. 1 8 0 0 0                                         Vi si bilit y                   A v er a g e
  U s a bl e S F                              9 4, 9 6 1                                           C or n er /I nt eri or          D o u bl e C or n er
  Fr o nt F e et                              4 3 0. 0 0                                           Sha pe                          G e n er all y R e ct a n g ul ar
  D e pt h                                    4 5 0. 0 0                                           T o p o gr a p h y              L e v el
  N o. of L ot s                              1                                                    Utiliti e s                     All A v ail a bl e
  Pr o p o s e d U s e                        F a st F o o d                                       Dr ai n a g e                   A s s u m e d t o b e a d e q u at e
  Str e et A c c e s s                        Good                                                 Fl o o d H a z ar d Z o n e     Zone X
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                                                                                                                                  V A C A NT GR O CERY ST ORE
                                                                                                                                            L A N D V A L U A TI O N


  Z o ni n g J uri s di cti o n               C ott a g e Gr o v e                           Z o ni n g D e s cri pti o n        Pl a n n e d I n d u stri al
  Z o ni n g C o d e                          PI

I n di c at or s
  $ / Gr o s s A cr e                         $ 1 7 4, 3 1 2                                 $ / U s a bl e S F                  $ 4. 0 0
  $ / Gr o s s S F                            $ 4. 0 0                                       $/ F F                              $ 8 8 3. 7 2
  $ / U s a bl e A cr e                       $ 1 7 4, 3 1 2                                 $ / L ot                            $ 3 8 0, 0 0 0

V erifi c ati o n
C o nfir m e d Wit h                         Li sti n g Br o k er T h o m a s P hilli p s of R u e d e b u s c h C o m m er ci al, C o St ar, P u bli c
                                             R e c or d s, A s s e s s or
C o nfir m e d B y                           V al bri d g e Pr o p ert y A d vi s or s | C hi c a g o
C o nfir m ati o n D at e                    1 1- 8- 2 0 1 9

R e m ar k s
T hi s sit e i s o n t h e s o ut h e a st c or n er of C T H N a n d C o m m er c e P ar k w a y i n C ott a g e Gr o v e. T h e I- 9 4 a n d C T H
N i nt er c h a n g e i s j u st n ort h of t hi s sit e. T h e sit e w a s p ur c h a s e d f or t h e c o n str u cti o n of a C ul v er' s r e st a ur a nt
w hi c h i s a p pr o xi m at el y 5, 0 0 0 S F. T h e Vill a g e of C ott a g e Gr o v e w a s t h e s ell er a n d t h e m oti v ati o n w a s t y pi c al
a n d t h e s al e i s c o n si d er e d t o b e ar m' s l e n gt h. T h er e i s si g n a g e o n t h e sit e t h at i n di c at e s t h e e ntr a n c e t o t h e
a dj a c e nt b u si n e s s p ar k t o t h e e a st. Tr affi c c o u nt s o n C T H N w er e e sti m at e d t o b e 9, 6 0 0 V P D i n 2 0 1 5.




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                                                                                                                                             L A N D V A L U A TI O N



                                                                          LA   N D   C   O M P A R A BLE   5




Pr o p ert y I d e ntifi c ati o n
  Pr o p ert y / S al e I D                    1 1 5 2 6 0 5/ 3 7 8 6 3 5
  Pr o p ert y T y p e                         C o m m er ci al
  Pr o p ert y N a m e                         B e a v er D a m R e gi o n al E y e
  A d dr e s s                                 2 4 0 C or p or at e Dri v e
  Cit y, St at e Zi p                          B e a v er D a m, Wi s c o n si n 5 3 9 1 6
  C o u nt y                                   Dodge
  MS A                                         N/ A
  L atit u d e / L o n git u d e               4 3. 4 8 4 3 8 1/- 8 8. 8 1 3 4 0 9
  TaxI D                                       2 0 6- 1 2 1 4- 2 7 1 3- 0 0 6

Tr a n s a cti o n D at a
  S al e D at e                                0 9- 3 0- 2 0 1 5                                   R e c or di n g N u m b er      1229053
  S al e St at u s                             Cl o s e d                                          S al e Pri c e                  $ 1 1 3, 4 9 0
  Gr a nt or                                   A C S B D D e v el o p m e nt, L L C                Fi n a n ci n g A dj.           $0
  Gr a nt e e                                  Cit y of B e a v er D a m                           S al e C o n diti o n s A dj.   $0
  Pr o p ert y Ri g ht s                       F e e Si m pl e                                     E x p. I m m. Aft er S al e     $0
  Fi n a n ci n g                              C a s h t o S ell er                                N o n - R e alt y A dj.         $0
  C o n diti o n s of S al e                   T y pi c al                                         A dj u st e d Pri c e           $ 1 1 3, 4 9 0

Pr o p ert y D e s cri pti o n
  Gr o s s A cr e s                           3. 7 8 3 0 0                                         R ail A c c e s s               No
  Gr o s s S F                                1 6 4, 7 8 7                                         W at er / P ort A c c e s s     No
  U s a bl e A cr e s                         3. 7 8 2 9 9                                         Vi si bilit y                   A v er a g e
  U s a bl e S F                              1 6 4, 7 8 7                                         C or n er /I nt eri or          I nt eri or
  Fr o nt F e et                              5 3. 0 0                                             Sha pe                          Irr e g ul ar
  D e pt h                                    3 7 8. 0 0                                           T o p o gr a p h y              L e v el
  N o. of L ot s                              1                                                    Utiliti e s                     All A v ail a bl e
  Pr o p o s e d U s e                        M e di c al offi c e                                 Dr ai n a g e                   A s s u m e d t o b e a d e q u at e
  Str e et A c c e s s                        A v er a s g e                                       Fl o o d H a z ar d Z o n e     Zone X
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                                                                                                                                           L A N D V A L U A TI O N


  Z o ni n g J uri s di cti o n               Cit y of B e a v er D a m                      Z o ni n g D e s cri pti o n        M e di c al, Pr of e s si o n al &
  Z o ni n g C o d e                          M O                                                                                A d mi ni str atit v e

I n di c at or s
  $ / Gr o s s A cr e                         $ 3 0, 0 0 0                                   $ / U s a bl e S F                  $. 6 9
  $ / Gr o s s S F                            $. 6 9                                         $/ F F                              $ 2, 1 4 1. 3 2
  $ / U s a bl e A cr e                       $ 3 0, 0 0 0                                   $ / L ot                            $ 1 1 3, 4 9 0

V erifi c ati o n
C o nfir m e d Wit h                         Cit y of B e a v er D a m, C o St ar, A s s e s s or a n d P u bli c R e c or d s
C o nfir m e d B y                           V al bri d g e Pr o p ert y A d vi s or s | C hi c a g o
C o nfir m ati o n D at e                    1 1- 8- 2 0 1 9

R e m ar k s
T h e i s t h e s al e of a n irr e g ul arl y- s h a p e c o m m er ci al p ar c el of l a n d l o c at e d al o n g t h e w e st si d e of C or p or at e
Dri v e j u st e a st of Hi g h w a y 1 5 1. T h e Cit y of B e a v er D a m r e c ei v e d t h e p a r c el b a c k fr o m A C S B D D e v el o p m e nt,
L L C a n d s ol d it t o B e a v er D a m R e gi o n al E y e V e nt ur e, L L C, w h o c o n str u ct e d a n e y e c ar e f a cilit y. T h e sit e i s
a p pr o xi m at el y 3. 7 8 3 a cr e s, b ut wit h o nl y a b o ut 5 0 f e et of fr o nt a g e al o n g a n a c c e s s e a s e m e nt. T hi s s al e i s
c o n si d er e d a v ali d, ar m’ s l e n gt h tr a n s a cti o n.




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                                                                                                                                   L A N D V A L U A TI O N




L a n d S al es C o m p aris o n A n al ysis
W h e n n e c e s s ar y, a dj u st m e nt s w er e m a d e f or diff er e n c e s i n v ari o u s el e m e nt s of c o m p ari s o n, i n cl u di n g
pr o p ert y ri g ht s c o n v e y e d, fi n a n ci n g t er m s, c o n diti o n s of s al e, e x p e n dit ur e s m a d e i m m e di at el y aft er
p ur c h a s e, m ar k et c o n diti o n s, l o c ati o n, a n d ot h er p h y si c al c h ar a ct eri sti c s. If t h e el e m e nt i n c o m p ari s o n
i s c o n si d er e d s u p eri or t o t h at of t h e s u bj e ct, w e a p pli e d a n e g ati v e a dj u st m e nt. C o n v er s el y, a p o siti v e
a dj u st m e nt w a s a p pli e d if i nf eri or. A s u m m ar y of t h e el e m e nt s of c o m p ari s o n f oll o w s.

Tr a ns a cti o n A dj ust m e nts
Tr a n s a cti o n a dj u st m e nt s i n cl u d e ( 1) r e al pr o p ert y ri g ht s c o n v e y e d, ( 2) fi n a n ci n g t er m s, ( 3) c o n diti o n s
of s al e a n d ( 4) e x p e n dit ur e s m a d e i m m e di at el y aft e r p ur c h a s e. T h e s e it e m s, w hi c h ar e a p pli e d pri or t o
t h e m ar k et c o n diti o n s a n d pr o p ert y a dj ust m e nt s, ar e di s c u s s e d a s f oll o w s:

R e al Pr o p ert y Ri g ht s C o n v e y e d
R e al pr o p ert y ri g ht s c o n v e y e d i nfl u e n c e s al e pri c e s a n d m u st b e c o n si d er e d w h e n a n al y zi n g a s al e
c o m p ar a bl e. T h e a p pr ai s e d v al u e a n d s al e c o m p ar a bl e s all r efl e ct t h e f e e si m pl e i nt er e st wit h n o
a dj u st m e nt s r e q uir e d.

S al e   1:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   2:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   3:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   4:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   5:   no   a dj u st    m e nt     w as    w arr a nt e d.

Fi n a n ci n g T er m s
T h e tr a n s a cti o n pri c e of o n e pr o p ert y m a y diff er fr o m t h at of a n i d e nti c al pr o p ert y d u e t o diff er e nt
fi n a n ci al arr a n g e m e nt s. S al e s i n v ol vi n g fi n a n ci n g t er m s t h at ar e n ot at or n e ar m ar k et t er m s r e q uir e
a dj u st m e nt s f or c a s h e q ui v al e n c y t o r efl e ct t y pi c al m ar k et t er m s. A c a s h e q ui v al e n c y pr o c e d ur e
di s c o u nt s t h e at y pi c al m ort g a g e t er m s t o pr o vi d e a n i n di c ati o n of v al u e at c a s h e q ui v al e nt t er m s. All
of t h e s al e c o m p ar a bl e s i n v ol v e d t y pi c al m ar k et t er m s b y w hi c h t h e s ell er s r e c ei v e d c a s h or it s
e q ui v al e nt a n d t h e b u y er s p ai d c a s h or t e n d er e d t y pi c al d o w n p a y m e nt s a n d o bt ai n e d c o n v e nti o n al
fi n a n ci n g at m ar k et t er m s f or t h e b al a n c e. T h er ef or e, n o a dj u st m e nt s f or t hi s c at e g or y w er e r e q uir e d.

S al e   1:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   2:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   3:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   4:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   5:   no   a dj u st    m e nt     w as    w arr a nt e d.

C o n diti o n s of S al e
W h e n t h e c o n diti o n s of s al e ar e at y pi c al, t h e r e s ult m a y b e a pri c e t h at i s hi g h er or l o w er t h a n t h at of
a n or m al tr a n s a cti o n. A dj u st m e nt s f or c o n diti o n s of s al e u s u all y r efl e ct t h e m oti v ati o n s of eit h er a
b u y er or a s ell er w h o i s u n d er d ur e s s t o c o m pl et e t h e tr a n s a cti o n. A n ot h er m or e t y pi c al c o n diti o n of
s al e i n v ol v e s t h e d o w n w ar d a dj u st m e nt r e q uir e d t o a c o m p ar a bl e pr o p ert y’ s f or- s al e li sti n g pri c e,
w hi c h u s u all y r efl e ct s t h e u p p er li mit of v al u e.

S al e 1: a d o w n w ar d a dj u st m e nt of 2 5. 0 % w a s w arr a nt e d.
S al e 2: n o a dj u st m e nt w a s w arr a nt e d.
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                                                                                                                                      L A N D V A L U A TI O N


S al e 3: n o a dj u st m e nt w a s w arr a nt e d.
S al e 4: n o a dj u st m e nt w a s w arr a nt e d.
S al e 5: n o a dj u st m e nt w a s w arr a nt e d.

E x p e n dit ur e s M a d e I m m e di at el y Aft er P ur c h a s e
A k n o wl e d g e a bl e b u y er c o n si d er s e x p e n dit ur e s r e q uir e d u p o n p ur c h a s e of a pr o p ert y, a s t h e s e c o st s
aff e ct t h e pri c e t h e b u y er a gr e e s t o p a y. S u c h e x p e n dit ur e s m a y i n cl u d e: c o st s t o d e m oli s h a n d r e m o v e
a n y p orti o n of t h e i m pr o v e m e nt s, c o st s t o p etiti o n f or a z o ni n g c h a n g e, a n d/ or c o st s t o r e m e di at e
e n vir o n m e nt al c o nt a mi n ati o n.

T h e r el e v a nt fi g ur e i s n ot t h e a ct u al c o st i n c urr e d, b ut t h e c o st a nti ci p at e d b y b ot h t h e b u y er a n d s ell er.
U nl e s s t h e s al e s i n v ol v e d e x p e n dit ur e s a nti ci p at e d u p o n t h e p ur c h a s e d at e, n o a dj u st m e nt s t o t h e
c o m p ar a bl e s al e s ar e r e q uir e d f or t hi s el e m e nt of c o m p ari s o n. T h e p arti e s t o t h e s e tr a n s a cti o n s di d
n ot a nti ci p at e e x p e n dit ur e s w er e r e q uir e d i m m e di at el y aft er p ur c h a s e; t h er ef or e, n o a dj u st m e nt s w er e
w arr a nt e d.

S al e   1:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   2:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   3:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   4:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   5:   no   a dj u st    m e nt     w as    w arr a nt e d.

M ar k et C o n diti o ns A dj ust m e nt
M ar k et c o n diti o n s c h a n g e o v er ti m e b e c a u s e of i nfl at i o n, d efl ati o n, fl u ct u ati o n s i n s u p pl y a n d d e m a n d,
or ot h er f a ct or s. C h a n gi n g m ar k et c o n diti o n s m a y cr e at e a n e e d f or a dj u st m e nt t o c o m p ar a bl e s al e
tr a n s a cti o n s c o m pl et e d d uri n g p eri o ds of di s si mil ar m ar k et c o n diti o n s.

Di s c u s si o n s wit h m ar k et p arti ci p a nt s a n d a r e vi e w of m ar k et d at a i n di c at e d o v er all m ar k et c o n diti o n s
f or v a c a nt l a n d pr o p erti e s h a v e b e e n i m pr o vi n g wit h r e c e nt tr a n s a cti o n s c o nfir mi n g t hi s tr e n d. A s
s u c h, w e a p pli e d a n a dj u st m e nt t o e a c h c o m p ar a bl e b a s e d o n a f a ct or of 2. 0 0 % p er y e ar.

Pr o p ert y A dj ust m e nts
Pr o p ert y a dj u st m e nt s ar e u s u all y e x pr e s s e d q u a ntit ati v el y a s p er c e nt a g e s or d oll ar a m o u nt s t h at r efl e ct
t h e diff er e n c e s i n v al u e attri b ut a bl e t o t h e v ari o u s c h ar a ct eri sti c s of t h e pr o p ert y. I n s o m e i n st a n c e s,
h o w e v er, q u alit ati v e a dj u st m e nt s ar e u s e d. T h e s e a d j u st m e nt s ar e b a s e d o n l o c ati o n al a n d p h y si c al
c h ar a ct eri sti c s a n d ar e a p pli e d aft er tr a n s a cti o n a n d m ar k et c o n diti o n s a dj u st m e nt s.

O ur r e a s o ni n g f or t h e pr o p ert y a dj u st m e nt s m a d e t o e a c h s al e c o m p ar a bl e f oll o w s. T h e di s c u s si o n
a n al y z e s e a c h a dj u st m e nt c at e g or y d e e m e d a p pli c a bl e t o t h e s u bj e ct pr o p ert y.

L o c ati o n
L o c ati o n a dj u st m e nt s m a y b e r e q uir e d w h e n t h e l o c a ti o n al c h ar a ct eri sti c s of a c o m p ar a bl e pr o p ert y
ar e diff er e nt fr o m t h o s e of t h e s u bj e ct pr o p ert y. T h e s e i n cl u d e, b ut ar e n ot li mit e d t o, g e n er al
n ei g h b or h o o d c h ar a ct eri sti c s, fr e e w a y a c c e s si bilit y, str e et e x p o s ur e, c or n er v er s u s i nt eri or l ot l o c ati o n,
n ei g h b ori n g pr o p erti e s, vi e w a m e niti e s, a n d ot h er f a ct or s.

T h e s u bj e ct pr o p ert y i s l o c at e d al o n g C o m m er ci al Dri v e wit h a v er a g e a c c e s s a n d g o o d vi si bilit y.

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                                                                                                                         V A C A NT GR O CERY ST ORE
                                                                                                                                   L A N D V A L U A TI O N




S al e   1:   a d o w n w ar d a dj u st           m e nt of 1 0. 0 % w a s w arr a nt e d.
S al e   2:   n o a dj u st m e nt w a s           w arr a nt e d.
S al e   3:   n o a dj u st m e nt w a s           w arr a nt e d.
S al e   4:   n o a dj u st m e nt w a s           w arr a nt e d.
S al e   5:   n o a dj u st m e nt w a s           w arr a nt e d.

Si z e
T h e si z e a dj u st m e nt a d dr e s s e s v ari a n c e i n t h e p h y si c al si z e of t h e c o m p ar a bl e s a n d t h at of t h e s u bj e ct,
a s a l ar g er p ar c el t y pi c all y c o m m a n d s a l o w er pri c e p er u nit t h a n a s m all er p ar c el. T hi s i n v er s e
r el ati o n s hi p i s d u e, i n p art, t o t h e pri n ci pl e of “ e c o n o mi e s of s c al e.”

T h e s u bj e ct pr o p ert y c o n si st s of 3. 5 5 9 6 0 gr o s s a cr e s ( 1 5 5, 0 5 6 gr o s s s q u ar e f e et), a n d 3. 5 5 9 6 0 a cr e s
( 1 5 5, 0 5 6 s q u ar e f e et) of u s e a bl e l a n d ar e a. T h e s al e s r a n g e i n si z e fr o m 9 4, 9 6 1 t o 1 7 7, 2 8 9 s q u ar e f e et
a n d r e q uir e d si z e a dj u st m e nt s. W e a p pli e d a n a dj u st m e nt f a ct or of a p pr o xi m at el y 1 0 % p er d o u bli n g
t o e a c h s al e, r e s ulti n g i n t ot al a dj u st m e nt s r a n gi n g fr o m - 8. 0 % t o 1. 0 %.

S al e   1:   a d o w n w ar d a dj u st m e nt of 6. 0                   % w a s w arr a nt e d.
S al e   2:   a n u p w ar d a dj u st m e nt of 1. 0 %                    w a s w arr a nt e d.
S al e   3:   a n u p w ar d a dj u st m e nt of 1. 0 %                    w a s w arr a nt e d.
S al e   4:   a d o w n w ar d a dj u st m e nt of 8. 0                   % w a s w arr a nt e d.
S al e   5:   a n u p w ar d a dj u st m e nt of 1. 0 %                    w a s w arr a nt e d.

S h a p e/ D e pt h
T h e s u bj e ct sit e c o n si st s of a sli g htl y irr e g ul ar- s h a p e d tr a ct w hi c h diff er e d e n o u g h fr o m t h e l a n d s al e s
t o w arr a nt t h e f oll o wi n g a dj u st m e nt s:

S al e   1:   no   a dj u st m e nt w a s w arr a nt e d.
S al e   2:   an   u p w ar d a dj u st m e nt of 5. 0 % w a s w arr a nt e d.
S al e   3:   no   a dj u st m e nt w a s w arr a nt e d.
S al e   4:   no   a dj u st m e nt w a s w arr a nt e d.
S al e   5:   an   u p w ar d a dj u st m e nt of 5. 0 % w a s w arr a nt e d.

C or n er E x p o s ur e
Tr a ct s wit h m aj or str e et i nfl u e n c e t e n d t o bri n g hi g h er pri c e s t h a n ot h er wi s e c o m p ar a bl e s e c o n d ar y
str e et l o c ati o n s. A d diti o n all y, tr a ct s f e at uri n g c or n er i nfl u e n c e t y pi c all y c o m m a n d hi g h er pri c e s i n t h e
m ar k et pl a c e, a s o p p o s e d t o i nt eri or l o c ati o n s. F or r et ail u s er s, t h e h ar d c or n er of a n i nt er s e cti o n m a y
b e m ar k et e d t o a f airl y l ar g e p o ol of s m all u s er s ( e . g. s er vi c e st ati o n s, f a st f o o d r e st a ur a nt s, et c.) f or
s al e.

T h e s u bj e ct sit e h a s a n i nt eri or l o c ati o n.

S al e   1:   n o a dj u st m e nt w a s w arr a nt e d.
S al e   2:   a d o w n w ar d a dj u st m e nt of 5. 0 % w a s w arr a nt e d.
S al e   3:   n o a dj u st m e nt w a s w arr a nt e d.
S al e   4:   a d o w n w ar d a dj u st m e nt of 1 0. 0 % w a s w arr a nt e d.
S al e   5:   a n u p w ar d a dj u st m e nt of 5. 0 % w a s w arr a nt e d.


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Fr o nt a g e
T h e s u bj e ct pr o p ert y f e at ur e s a v er a g e fr o nt a g e c h ar a ct eri sti c s al o n g a si n gl e t h or o u g hf ar e.

S al e   1:   a d o w n w ar d a dj u st m e nt of 5. 0                   % w a s w arr a nt e d.
S al e   2:   a d o w n w ar d a dj u st m e nt of 5. 0                   % w a s w arr a nt e d.
S al e   3:   n o a dj u st m e nt w a s w arr a nt e d.
S al e   4:   a d o w n w ar d a dj u st m e nt of 5. 0                   % w a s w arr a nt e d.
S al e   5:   a n u p w ar d a dj u st m e nt of 5. 0 %                    w a s w arr a nt e d.

Utiliti e s
T h e s u bj e ct pr o p ert y d o e s h a v e utiliti e s i n pl a c e o n t h e d at e of v al u e.

S al e   1:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   2:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   3:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   4:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   5:   no   a dj u st    m e nt     w as    w arr a nt e d.

T o p o gr a p h y
T h e s u bj e ct h a s a l e v el t o p o gr a p h y.

S al e   1:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   2:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   3:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   4:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   5:   no   a dj u st    m e nt     w as    w arr a nt e d.

Fl o o d pl ai n
A pr o p ert y’ s l o c ati o n wit hi n fl o o d z o n e ar e a s i s t y pi c all y a n e g ati v e f a ct or d u e t o t h e i n cr e a s e d c o st s
of r ai si n g i m pr o v e m e nt s u p o ut of t h e fl o o d pl ai n, a s w ell a s a d diti o n al i n s ur a n c e c o st s a s s o ci at e d wit h
i m pr o v e m e nt s.

S al e   1:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   2:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   3:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   4:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   5:   no   a dj u st    m e nt     w as    w arr a nt e d.

Z o ni n g
T h e hi g h e st a n d b e st u s e of s al e c o m p ar a bl e s s h o ul d b e v er y si mil ar t o t h at of t h e s u bj e ct pr o p ert y.
W h e n c o m p ar a bl e s wit h t h e s a m e z o ni n g a s t h e s u bj e ct ar e l a c ki n g or s c ar c e, p ar c el s wit h sli g htl y
diff er e nt z o ni n g, b ut a hi g h e st a n d u s e si mil ar t o t h at of t h e s u bj e ct m a y b e u s e d a s c o m p ar a bl e s.
T h e s e c o m p ar a bl e s m a y r e q uir e a n a dj u st m e nt f or diff e r e n c e s i n utilit y if t h e m ar k et s u p p ort s s u c h
a dj u st m e nt.

T h e s u bj e ct sit e i s z o n e d Li g ht I n d u stri al.

S al e 1: n o a dj u st m e nt w a s w arr a nt e d.

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S al e   2:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   3:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   4:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   5:   no   a dj u st    m e nt     w as    w arr a nt e d.

Tr affi c     C o u nt s
S al e 1:     n o a dj u st m e nt w a s w arr a nt e d.
S al e 2:     a n u p w ar d a dj u st m e nt of 5. 0 % w a s w arr a nt e d.
S al e 3:     a n u p w ar d a dj u st m e nt of 5. 0 % w a s w arr a nt e d.
S al e 4:     n o a dj u st m e nt w a s w arr a nt e d.
S al e 5:     n o a dj u st m e nt w a s w arr a nt e d.

S u m m ar y of A dj ust m e nts
Pr e s e nt e d o n t h e f oll o wi n g p a g e i s a s u m m ar y of t h e a dj u st m e nt s m a d e t o t h e s al e c o m p ar a bl e s. A s
n ot e d e arli er, t h e s e q u a ntit ati v e a dj u st m e nt s w er e b a s e d o n o ur m ar k et r e s e ar c h, b e st j u d g m e nt, a n d
e x p eri e n c e i n t h e a p pr ai s al of si mil ar pr o p erti e s.




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                                                                                                                                                                                                                 L A N D V A L U A TI O N




                                                                                L A N D S A L E S A D J U S T M E N T G RI D
                                                          S u bj e ct                             S al e # 1                          S al e # 2                        S al e # 3                         S al e # 4                      S al e # 5

   S al e I D                                                                                     1435358                            1435333                             378262                              378813                          378635
   D at e of V al u e & S al e                       N o v e m b er - 2 0                            Li sti n g                        M a y- 1 9                         J ul y- 1 6                       M a y- 1 6           S e pt e m b er - 1 5
   Pr o p ert y N a m e                                                           C o m m er ci al/ R et ail                     W at ert o w n          G R B A c a d e m y Sit e                  C ul v er' s Sit e               B e a v er D a m
                                                    V a c a nt Gr o c er y              L a n d f or S al e                  Pr o p o s e d M F                                                                                     R e gi o n al E y e
                                                            St or e                                                                       La nd
   U n a dj ust e d S al e s Pri c e                                                             $ 6 2 5, 0 0 0                      $ 1 5 5, 0 0 0                    $ 3 2 5, 0 0 0                     $ 3 8 0, 0 0 0                  $ 1 1 3, 4 9 0
   U s a bl e S q u ar e F e et                          1 5 5, 0 5 6                              1 0 8, 9 0 0                        1 7 5, 1 9 8                      1 7 7, 2 8 9                         9 4, 9 6 1                    1 6 4, 7 8 7
   U n a dj u s t e d S al e s P ri c e p er U s a bl e S q. F t.                                      $ 5. 7 4                            $ 0. 8 8                          $ 1. 8 3                           $ 4. 0 0                        $ 0. 6 9
   T r a n s a cti o n al A dj u s t m e nt s
       Pr o p ert y Ri g ht s C o n v e y e d           F e e Si m pl e                       F e e Si m pl e                     F e e Si m pl e                   F e e Si m pl e                    F e e Si m pl e                  F e e Si m pl e
          A dj ust e d S al e s Pri c e                                                               $ 5. 7 4                             $ 0. 8 8                         $ 1. 8 3                            $ 4. 0 0                        $ 0. 6 9
                                                                                                     F                                    F                                                                    F
      Fi n a n ci n g T er m s                       C as h t o S ell er                                                      C as h t o S ell er               C as h t o S ell er                C as h t o S ell er             C as h t o S ell er
         A dj ust e d S al e s Pri c e                                                                $ 5. 7 4                             $ 0. 8 8                         $ 1. 8 3                            $ 4. 0 0                       $ 0. 6 9
                                                                                                     F                                    F                                                                    F
      C o n di ti o n s of S al e                         T y pi c al                               Listi n g                           T y pi c al                       T y pi c al                        T y pi c al                     T y pi c al
         A d ju s tm e n t                                                                          -2 5 .0 %                                    -                                 -                                  -                                -
         A dj ust e d S al e s Pri c e                                                                $ 4. 3 0                             $ 0. 8 8                          $ 1. 8 3                           $ 4. 0 0                        $ 0. 6 9
                                                                                                     F                                    F                                                                    F
      E x p e n di t u r e s aft er S al e                                                               $0                                    $0                               $0                                  $0                             $0
         A dj u s t e d S al e s Pri c e                                                             $ 4. 3 0                             $ 0. 8 8                          $ 1. 8 3                           $ 4. 0 0                        $ 0. 6 9

   M ar k et C o n di ti o n s A dj u s t m e nt s
      El a p s e d Ti m e fr o m D at e of V al u e                                            0. 0 0 y e ar s                     1. 4 4 y e ar s                   4. 3 3 y e ar s                    4. 5 0 y e ar s                 5. 0 9 y e ar s
         M ar k et Tr e n d T hr o u g h            N o v e m b er - 2 0                                      -                           2. 9 %                            8. 7 %                             9. 0 %                         1 0. 2 %
   A n al y z e d S al e s P ri c e                                                                   $ 04. 03 0%                         $ 00. 9 1%                        $ 01. 9 9%                         $ 04. 03 6%                      $ 00. 7 6
   P h y si c al A dj u s t m e nt s
      L o c ati o n                               1 5 0 C o m m er c e Dr           2 1 9 I n d ustri al Dr               1 2 2 5 N ort h 4t h           6 3 8 5 N ort h T o w n e             1 5 9 9 L a n d m ar k             2 4 0 C or p or at e
                                                                                                                                          Str e et                             R d.                            Dri v e                           Dri v e
                                                C ol u m b us, Wis c o nsi n                  C ol u m b us,                     W at ert o w n,                     D e F or est,              C ott a g e Gr o v e,                B e a v er D a m,
                                                                                               Wis c o nsi n                       Wis c o nsi n                     Wis c o nsi n                      Wis c o nsi n                     Wis c o nsi n
         A d ju s tm e n t                                                                          -1 0 .0 %                                    -                                -                                  -                                 -

      Si z e                                            1 5 5, 0 5 6 sf                       1 0 8, 9 0 0 sf                     1 7 5, 1 9 8 sf                   1 7 7, 2 8 9 sf                      9 4, 9 6 1 sf                  1 6 4, 7 8 7 sf
          A dj ust m e nt                                                                             - 6. 0 %                             1. 0 %                            1. 0 %                            - 8. 0 %                          1. 0 %

      S h a p e / D e pt h                         Sli g htl y Irr e g ul ar                     G e n er all y                      Irr e g ul ar                 R e ct a n g ul ar                     G e n er all y                   Irr e g ul ar
                                                                                            R e ct a n g ul ar                                                                                       R e ct a n g ul ar
         A dj ust m e nt                                                                                          -                        5. 0 %                                      -                                   -                     5. 0 %

      C or n er E x p o s u r e                           Int eri or                                I nt eri or                         C or n er                        I nt eri or               D o u bl e C or n er                      I nt eri or
         A dj ust m e nt                                                                                      -                           - 5. 0 %                                 -                         - 1 0. 0 %                          5. 0 %

      F r o nt a g e                               P ri m ar y - 1 8 3 f e et      Pri m ar y - 2 3 2 f e et           Pri m ar y - 8 6 0 f e et         Pri m ar y - 5 4 5 f e et          Pri m ar y - 4 3 0 f e et          Pri m ar y - 5 3 f e et
                                                  & S e c o n d ar y - 2 8 0      & S e c o n d ar y - 7 2 0          & S e c o n d ar y - 5 3 0                                           & S e c o n d ar y - 1 9 5
                                                              f e et                                     f e et                              f e et                                                               f e et
         A dj ust m e nt                                                                              - 5. 0 %                            - 5. 0 %                                     -                       - 5. 0 %                          5. 0 %

      Utili ti e s                                    A ll A v ail a bl e                   All A v ail a bl e                  All A v ail a bl e                All A v ail a bl e                 All A v ail a bl e              All A v ail a bl e
         A d ju s tm e n t                                                                                        -                                  -                                 -                                   -                                -

      T o p o gr a p h y                                    L e v el                                    L e v el                           L e v el                          L e v el                            L e v el                        L e v el
         A d ju s tm e n t                                                                                      -                                  -                                 -                                   -                               -

      Fl o o d pl ai n                                    Z o ne X                                  Zo ne X                             Zo ne X                           Zo ne X                            Zo ne X                         Zo ne X
         A d ju s tm e n t                                                                                        -                                  -                                 -                                   -                                -

      Z o ni n g                                              I-1                                           I- 1                               GB                               B- 2                                  PI                           M O
         A d ju s tm e n t                                                                                     -                                     -                                 -                                   -                                -

      T r affi c C o u n t s                               12500                                     10700                                 6900                               N/ A                            12400                            12100
          A dj ust m e nt                                                                                    -                             5. 0 %                            5. 0 %                                   -                                -
          N et P h y si c al A dj ust m e nt                                                        - 2 1. 0 %                             1. 0 %                            6. 0 %                          - 2 3. 0 %                        1 6. 0 %
   A dj u s t e d S al e s Pri c e p er U s a bl e S q u ar e F o ot                                   $ 3. 4 0                           $ 0. 9 2                          $ 2. 1 1                            $ 3. 3 6                        $ 0. 8 8




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                                                                                                                                      L A N D V A L U A TI O N




C o n cl usi o n
Fr o m t h e m ar k et d at a a v ail a bl e, w e u s e d fi v e l a n d s al e s i n c o m p etiti v e m ar k et ar e a s w hi c h w er e
a dj u st e d b a s e d o n p erti n e nt el e m e nt s of c o m p ar i s o n. T h e f oll o wi n g t a bl e s u m m ari z e s t h e u n a dj u st e d
a n d a dj u st e d u nit pri c e s:

    L a n d S al e St ati s ti c s
    M etri c                                                                        U n a dj u s t e d          A n al y z e d              A dj u s t e d
    Mi ni m u m S al e s Pri c e p er U s a bl e S q u ar e F o ot                            $ 0. 6 9                 $ 0. 7 6                   $ 0. 8 8
    M a xi m u m S al e s Pri c e p er U s a bl e S q u ar e F o ot                           $ 5. 7 4                 $ 4. 3 6                   $ 3. 4 0
    M e di a n S al e s Pri c e p er U s a bl e S q u ar e F o ot                             $ 1. 8 3                 $ 1. 9 9                   $ 2. 1 1
    M e a n S al e s Pri c e p er U s a bl e S q u ar e F o ot                                $ 2. 6 3                 $ 2. 4 7                   $ 2. 1 3


T h e m o st c o m p ar a bl e of t h e s al e s u s e d w er e n u m b er s 2 a n d 3 a s t h e y f e at ur e d t h e l e a st a m o u nt of
a dj u st m e nt s. T h e a dj u st e d pri c e s f or t h e s e s al e s r a n g e d fr o m $ 0. 9 0 t o $ 2. 0 7 p er s q u ar e f o ot, wit h a n
a v er a g e of $ 1. 4 9 p er s q u ar e f o ot.

B a s e d o n t h e a dj u st e d pri c e s a n d t h e m o st c o m p ar a bl e s al e( s), a u nit v al u e f or t h e s u bj e ct pr o p ert y i s
n e ar t h e l o w er- e n d of t h e a dj u st e d r a n g e, or $ 2. 0 0 p er u s a bl e s q u ar e f o ot. T hi s i n di c at e s a m ar k et
v al u e of $ 3 1 0, 0 0 0.

B a s e d o n t hi s a n al y si s, t h e l a n d v al u e i n di c ati o n i s s u m m ari z e d a s f oll o w s:

    L a n d V al u e I n di c ati o n
    R e a s o n a bl e A dj ust e d C o m p ar a bl e R a n g e
           1 5 5, 0 5 6 s q u ar e f e et                                 x                                 $ 1. 7 5 p sf         =          $ 2 7 1, 3 4 8
           1 5 5, 0 5 6 s q u ar e f e et                                 x                                 $ 2. 2 5 p sf         =          $ 3 4 8, 8 7 6
    M ar k et V al u e O pi ni o n                                                                                                         ( R o u n d e d)
           1 5 5, 0 5 6 s q u ar e f e et                                 x                                $ 2. 0 0 p s f         =          $ 3 1 0, 0 0 0




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                                                                                                                         V A C A NT GR O CERY ST ORE
                                                                                                                                   C OST APPR O A C H




C o st A p pr o a c h
M et h o d ol o g y
T h e c o st a p pr o a c h d e v el o p s a n i n di c ati o n of m ar k et v al u e b y e sti m ati n g r e pl a c e m e nt or r e pr o d u cti o n
c o st of t h e i m pr o v e m e nt s, d e d u cti n g all a p pr o pri at e f o r m s of d e pr e ci ati o n a n d a d di n g l a n d v al u e. T hi s
a p pr o a c h i s b a s e d o n t h e pr e mi s e t h at a n i n v e st or or b u y er of r e al e st at e w o ul d p a y n o m or e f or a
s p e cifi c pr o p ert y t h a n t h e c o st t o r e pl a c e or r e pr o d u c e t h e i m pr o v e m e nt s l e s s a n y a c cr u e d
d e pr e ci ati o n pl u s p a y m e nt of e ntr e p r e n e uri al i n c e nti v e a n d l a n d v al u e.

Dir e ct C osts
T o e sti m at e dir e ct c o st s of t h e b uil di n g, w e u s e d r e pl a c e m e nt c o st. M ar s h all V al u ati o n S er vi c e i s a
n ati o n al c o st c o ntr a cti n g s er vi c e wit h y e ar s of e v al u a ti o n e x p eri e n c e a n d c o nti n u e d a n al y si s of t h e c o st
of n e w c o n str u cti o n. T h e c al c ul at or m et h o d w a s u s e d t o d et er mi n e t h e r e pl a c e m e nt c o st of t h e
i m pr o v e m e nt s.

Dir e ct B uil di n g C o st
M ar s h all V al u ati o n S er vi c e c o st fi g ur e s i n di c at e d t o t al dir e ct b uil di n g c o n str u cti o n c o st s of $ 4, 0 5 1, 8 6 5
or $ 1 1 1. 0 1 p er s q u ar e f o ot of gr o s s b uil di n g ar e a. A c a l c ul ati o n of t ot al dir e ct b uil di n g c o st s f or t h e
s u bj e ct pr o p ert y f oll o w s.




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                                 Dir e ct C o s t - B uil di n g
                                 B uil di n g I d e n ti fi c ati o n / N a m e                                       Gr o c er y St o r e
                                      Gr o s s B uil di n g Ar e a                                                            3 6, 5 0 0 sf
                                      N u m b er of Fl o or s                                                                             1
                                      Y e ar B uilt                                                                                  2015
                                      Eff e cti v e A g e                                                                        4 y e ar s
                                 M ar s h all V al u ati o n S er vi c e
                                      D at e                                                                                    M a y- 1 8
                                      S e cti o n                                                                                       13
                                      Pa g e                                                                                            20
                                      Ty pe                                                                            S u p er m ar k ets
                                      Cl a s s                                                                                            C
                                      Q u alit y                                                                                   Good
                                 B a s e C o s t / S F of G B A                                                                   $ 1 0 8. 0 0
                                 B a s e C o s t A dj u s t m e nt s
                                       S pri n kl er s                                                                                $ 3. 0 0
                                 B a s e C o s t S u bt ot al                                                                     $ 1 1 1. 0 0
                                 M ul ti pli er s
                                       C urr e nt                                                                                 1. 0 1 0( x)
                                       L o c al                                                                                   1. 0 8 0( x)
                                       P eri m et er                                                                              0. 8 4 5( x)
                                       St or y H ei g ht                                                                          1. 0 8 5( x)
                                       N u m b er of Fl o or s                                                                    1. 0 0 0( x)
                                 N et M ul ti pli er                                                                             1. 0 0 0( x)
                                 A dj. Di r e ct B uil di n g C o s t / S F of G B A                                             $ 1 1 1. 0 1
                                 A dj. T ot al Di r e ct B uil di n g C o s t                                               $ 4, 0 5 1, 8 6 5

Dir e ct Sit e I m pr o v e m e nt C o st
Dir e ct sit e i m pr o v e m e nt c o st s w e r e e sti m at e d at $ 2 7 1, 0 6 4, a s pre s e nt e d i n t h e f oll o wi n g t a bl e:

    Dir e ct C o s t - Sit e I m pr o v e m e nt s
                                                                                                       B as e             M ul ti pl er s                       T ot al
    It e m                                                           Si z e / Q u a nti t y     U ni t C o s t     C u rr e nt              L o c al      B as e C o st
    L a n d s c a pi n g                                       2 2, 0 0 0 s q u ar e f e et x         $ 2. 5 0 x      1. 0 1 0 x            1. 0 8 0 =       $ 5 9, 9 9 4
    P a vi n g / As p h alt                                    9 6, 7 5 0 s q u ar e f e et x         $ 2. 0 0 x      1. 0 1 0 x            1. 0 8 0 =     $ 2 1 1, 0 7 0
    T ot al Si t e I m pr o v e m e nt C o s t s                                                                                                           $ 2 7 1, 0 6 4


I n dir e ct C osts
C o m p ar a bl e pr o p erti e s i n di c at e d i n dir e ct c o st s of 5 p e r c e nt of dir e ct c o st s, m o st of w hi c h i s i n cl u d e d
i n t h e M ar s h all V al u ati o n S er vi c e fi g ur e s a b o v e. W e e sti m at e d a n a d diti o n al e x p e n s e of 5. 0 0 % of dir e ct
c o st s f or it e m s n ot i n cl u d e d, or $ 2 1 6, 1 4 6. T h e c al c ul ati o n i s pr e s e nt e d i n t h e f oll o wi n g t a bl e:




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             A d diti o n al I n dir e ct C o s t
                                                                            B uil di n g + Si t e
             It e m                                                           Di r e ct C o s t s                 R at e               T ot al C o s t
             Pr of e s si o n al F e e s E x cl u d e d fr o m M V S            $ 4, 3 2 2, 9 2 9   x            5. 0 0 %            =    $ 2 1 6, 1 4 6
             A d di ti o n al I n di r e ct C o s t s                                                                                     $ 2 1 6, 1 4 6


Tot al Dir e ct a n d I n dir e ct C ost
M ar s h all V al u ati o n S er vi c e
T h e M ar s h all V al u ati o n S er vi c e c o st fi g ur e s i n di c at e d a t ot al dir e ct a n d i n dir e ct c o st of $ 4, 5 3 9, 0 7 5, a s
pr e s e nt e d i n t h e f oll o wi n g t a bl e:

                          M ar s h all V al u ati o n S er vi c e Dir e ct a n d I n dir e ct C o s t
                          C o m p o n e nt                                                                              C o s t E s ti m at e
                          Dir e ct B uil di n g C o st                                                                        $ 4, 0 5 1, 8 6 5
                          Dir e ct Sit e I m pr o v e m e nt C o st                                                              $ 2 7 1, 0 6 4
                          A d diti o n al I n dir e ct C o st                                                                    $ 2 1 6, 1 4 6
                          T ot al Di r e ct a n d I n di r e ct C o s t                                                      $ 4, 5 3 9, 0 7 5

D e v el o p er’ s B u d g et
I n a d diti o n t o t h e M ar s h all V al u ati o n S er vi c e c o st fi g ur e s, w e r e vi e w e d t he d e v el o p er’ s dir e ct a n d
i n dir e ct c o n str u cti o n b u d g et, e x cl u di n g pr ofit a n d p er s o n al pr o p ert y, w hi c h t ot al s $ 5, 2 0 0, 0 0 0. It w a s
r e p ort e d t h at t h e ori gi n al t ot al d e v el o p m e nt c ost w a s a p pr o xi m at el y $ 8, 3 0 0, 0 0 0, w hi c h i n cl u d e d
$ 2, 1 0 0, 0 0 0 i n F F & E c o st s a n d a n a d diti o n al $ 1, 0 0 0, 0 0 0 i n l a n d v al u e all o c ati o n t h at w a s b a s e d u p o n a
f or m er a p pr ai s al. Pl e a s e n ot e t h at t h e d e v el op er s b u d g et w a s v er b all y pr o vi d e d b y o w n er s hi p,
h o w e v er, d o c u m e nt ati o n t o v erif y t hi s e sti m at e w a s n ot pr o vi d e d. T h er ef or e, pri m ar y r eli a n c e w a s
pl a c e d o n t h e M V S e sti m at e s.

R e c o n cil e d T ot al Dir e ct a n d I n dir e ct C o st
O ur a n al y si s i n di c at e d a v ari a n c e of 1 2. 7 % b et w e e n t h e M ar s h all V al u ati o n S er vi c e a n d d e v el o p er’ s
dir e ct a n d i n dir e ct c o st i n di c ati o n s, w hi c h i s r e a s o n a bl e. C o n si d eri n g t he d e v el o p er’ s b u d g et i s a
hi st ori c al fi g ur e a n d n o d o c u m e nt ati o n w a s pr o vi d e d t o s u p p ort t hi s e sti m at e, w e pl a c e d t h e m o st
w ei g ht o n t h e M ar s h all V al u ati o n S er vi c e fi g ur e s. T h e c o m p ari s o n a n d r e c o n cil e d t ot al dir e ct a n d
i n dir e ct c o st i s pr e s e nt e d i n t h e f oll o wi n g t a bl e:

                          D e v el o p er v s. M V S Dir e ct a n d I n dir e ct C o s t C o m p ari s o n
                          C o s t I n di c at or                                                        Di r e ct a n d I n di r e ct C o s t
                          M ar s h all V al u ati o n S er vi c e                                                             $ 4, 5 3 9, 0 7 5
                          D e v el o p er' s B u d g et - 2 0 1 5 C o sts                                                     $ 5, 2 0 0, 0 0 0
                          V ari a n c e                                                                                               1 2. 7 %
                          A p pr ai s er' s E s ti m at e                                                                    $ 4, 6 0 0, 0 0 0




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E ntr e pr e n e uri al I n c e nti v e
F or t hi s a n al y si s, e ntr e pr e n e uri al i n c e nti v e w a s e sti m at e d at 1 0. 0 % p er c e nt of c o n str u ct o n c o st a n d
l a n d v al u e, or $ 4 9 1, 0 0 0, w hi c h i s a p pr o pri at e f or r et ail ori e nt e d d e v el o p m e nt. T h e c al c ul ati o n i s
pr e s e nt e d i n t h e f oll o wi n g t a bl e:

                          E nt r e pr e n e uri al I n c e nti v e C al c ul ati o n
                          R e pl a c e m e n t C o s t N e w pl u s L a n d                        E ntr e pr e n e u ri al I n c e nti v e
                          $ 4, 9 1 0, 0 0 0                                        x    1 0. 0 %               =              $ 4 9 1, 0 0 0


R e pl a c e m e nt C ost N e w
A d di n g e ntr e pr e n e uri al i n c e nti v e t o t h e r e c o n cil e d t ot al dir e ct a n d i n dir e ct c o st r e s ult e d i n a
r e pl a c e m e nt c o st n e w of $ 5, 0 9 1, 0 0 0.

D e pr e ci ati o n
T h e n e xt st e p i s t o e sti m at e d e pr e ci ati o n a p pli c a bl e t o t h e s u bj e ct i m pr o v e m e nt s. T h e v ari o u s f or m s
of d e pr e ci ati o n ar e di s c u s s e d a s f oll o w s:

P h y si c al D et eri or ati o n
P h y si c al d et eri or ati o n i s a r e d u cti o n i n utilit y r e s u lti n g fr o m a n i m p air m e nt of p h y si c al c o n diti o n a n d
i s d eli n e at e d i nt o c ur a bl e a n d i n c ur a bl e c o m p o n e nt s.
C ur a bl e P h y si c al
B a s e d o n o ur pr o p ert y vi sit a n d di s c u s si o n s wit h t h e pr o p ert y o w n er s, t h e s u bj e ct pr o p ert y d o e s n ot
e x hi bit d ef err e d m ai nt e n a n c e.
I n c ur a bl e P h y si c al
T ot al i n c ur a bl e p h y si c al d e pr e ci ati o n w a s e sti m at e d at 1 0. 0 %, or $ 5 0 9, 1 0 0. T h e c al c ul ati o n i s pr e s e nt e d
i n t h e f oll o wi n g t a bl e:

                                 D e pr e ci ati o n - E c o n o mi c A g e- Lif e M et h o d
                                 R e pl a c e m e nt C o st N e w                                                    $ 5, 0 9 1, 0 0 0
                                 Eff e cti v e A g e                                                                       4 y e ar s
                                 E c o n o mi c Lif e                                                                    4 0 y e ar s
                                 C al c ul at e d D e pr e ci ati o n R ati o                                                1 0. 0 %
                                 I n di c at e d I n c u r a bl e D e pr e ci ati o n                                   $ 5 0 9, 1 0 0

F u n cti o n al O b s ol e s c e n c e
T h e s u bj e ct pr o p ert y i s r e pr e s e nt ati v e of m ar k et st a n d ar d s a n d t h e i d e al i m pr o v e m e nt. T h er ef or e, n o
f u n cti o n al o b s ol e s c e n c e w a s c o n si d er e d.

E xt er n al O b s ol e s c e n c e
T h e s u bj e ct pr o p ert y d o e s n ot s uff e r fr o m e xt er n al o b s ol e s c e n c e.




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                                 E xt er n al O b s ol e s c e n c e A n al y si s
                                 R e pl a c e m e nt C o st N e w + M ar k et V al u e of L a n d                 $ 5, 4 0 1, 0 0 0
                                 L e s s: P h ysi c al D et eri or ati o n                                         - $ 5 0 9, 1 0 0
                                 L e s s: F u n cti o n al O b s ol e s c e n c e                                              $0
                                 D e pr e ci at e d C o st E sti m at e                                           $ 4, 8 9 1, 9 0 0
                                 x O v er all C a pit ali z ati o n R at e                                               7. 5 0 %
                                 C o st F e a si bl e N et O p er ati n g I n c o m e                               $ 3 6 6, 8 9 3
                                 St a bili z e d N et O p er ati n g I n c o m e                                    $ 4 7 4, 5 0 0
                                 I n c o m e L o s s d u e t o E xt er n al I nfl u e n c e s                                  $0
                                 Di vi d e d b y O v er all C a pit ali z ati o n R at e                                 7. 5 0 %
                                 E xt er n al O b s ol e s c e n c e                                                           $0

T ot al D e pr e ci ati o n
A d di n g all f or m s of d e pr e ci ati o n i n di c at e d t ot al a c cr u e d d e pr e ci ati o n of $ 5 0 9, 1 0 0.

M ar k et Val u e of L a n d
T h e fi n al st e p i n t h e c o st a p pr o a c h i s t h e a d diti o n of t h e m ar k et l a n d v al u e, e sti m at e d at $ 3 1 0, 0 0 0.

  Pr os p e cti v e U p o n St a bili z ati o n L e as e d F e e M ar ket Val u e I n di c ati o n
T h e pr e c e di n g c o st a n al y si s i n di c at e d a pr o s p e cti v e u p o n st a bili z ati o n l e a s e d f e e m ar k et v al u e
i n di c ati o n f or t h e s u bj e ct pr o p ert y of $ 6, 0 9 0, 0 0 0 (r o u n de d). T h e c o st s c h e d ul e i s pr e s e nt e d a s f oll o w s:

                 C o s t A p pr o a c h S c h e d ul e
                R e pl a c e m e nt C o s t N e w
                Dir e ct a n d I n dir e ct C o st N e w                                                                        $ 4, 6 0 0, 0 0 0

                E ntr e pr e n e uri al I n c e nti v e                                                                               $ 4 9 1, 0 0 0

                R e pl a c e m e nt C o st N e w                                                                                $ 5, 0 9 1, 0 0 0

                A c cr u e d D e pr e ci ati o n
                P h ysi c al D et eri or ati o n
                     C ur a bl e ( d ef err e d m ai nt e n a n c e)                                                                           $0
                    I n c ur a bl e                                                                                               - $ 5 0 9, 1 0 0
                T ot al P h ysi c al D et eri or ati o n                                                                         - $ 5 0 9, 1 0 0
                O b s ol e s c e n c e
                    E xt er n al                                                                                                                $0
                    F u n cti o n al                                                                                                           $0
                T ot al O b s ol e s c e n c e                                                                                                 $0
                T ot al A c cr u e d D e pr e ci ati o n                                                                          - $ 5 0 9, 1 0 0
                D e pr e ci at e d C o st of I m pr o v e m e nts                                                                $ 4, 5 8 1, 9 0 0
                D e pr e ci at e d C o st of F F & E                                                                             $ 1, 2 0 0, 0 0 0
                E s ti m at e d M ar k et V al u e of L a n d                                                                       $ 3 1 0, 0 0 0
                Pr eli mi n ar y Pr o s p e cti v e U p o n St a bili z ati o n L e a s e d F e e V al u e I n di c ati o       $ 6, 0 9 0, 0 0 0
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Pr os p e cti v e U p o n St a bili z ati o n L e as e d F e e M ar k et Va l u e I n di c ati o n
L e a s e- U p Di s c o u nt
A s di s c u s s e d i n t h e I n c o m e C a pit ali z ati o n A p pr o a c h , t h e l e a s e- u p di s c o u nt of $ 2, 2 3 0, 0 0 0 w a s d e d u ct e d
fr o m t h e pr eli mi n ar y v al u e e sti m at e.

As Is F e e Si m pl e M ar k et Val u e I n di c ati o n
B a s e d o n t hi s a n al y si s, t h e c o st a p pr o a c h i n di c ati o n s ar e s u m m ari z e d a s f oll o w s:

                 C o s t A p pr o a c h V al u e I n di c ati o n s
                Pr eli mi n ar y Pr o s p e cti v e U p o n St a bili z ati o n L e a s e d F e e V al u e I n di c ati o      $ 6, 0 9 0, 0 0 0
                Pr o s p e cti v e U p o n St a bili z ati o n L e a s e d F e e M ar k et V al u e I n di c ati o n           $ 6, 0 9 0, 0 0 0
                        L e s s L e a s e - U p Di s c o u nt:                                                                  $ 2, 2 3 0, 0 0 0
                A s I s F e e Si m pl e M ar k et V al u e I n di c ati o n                                                    $ 3, 8 6 0, 0 0 0




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S al e s C o m p ari s o n A p pr o a c h
M et h o d ol o g y
T h e s al e s c o m p ari s o n a p pr o a c h d e v el o p s a n i n di c ati o n of m ar k et v al u e b y a n al y zi n g cl o s e d s al e s,
li sti n g s, or p e n di n g s al e s of pr o p erti e s si mil ar t o t h e s u bj e ct, f o c u si n g o n t h e diff er e n c e b et w e e n t h e
s u bj e ct a n d t h e c o m p ar a bl e s u si n g all a p pr o pri at e el e m e nt s of c o m p ari s o n. T hi s a p pr o a c h i s b a s e d o n
pri n ci pl e s of s u p pl y a n d d e m a n d, b al a n c e, e xt er n alit i e s, a n d s u b stit uti o n, or t h e pr e mi s e t h at a b u y er
w o ul d p a y n o m or e f or a s p e cifi c pr o p ert y t h at t h e c o st of o bt ai ni n g a pr o p ert y wit h t h e s a m e q u alit y,
utilit y, a n d p er c ei v e d b e n efit s of o w n er s hi p.

T h e pr o c e s s of d e v el o pi n g t h e s al e s c o m p ari s o n a p pr o a c h c o n si st s of t h e f oll o wi n g: ( 1) r e s e ar c hi n g
a n d v erif yi n g tr a n s a cti o n al d at a, ( 2) s el e cti n g r el e v a nt u nit s of c o m p ari s o n, ( 3) a n al y zi n g a n d a dj u sti n g
t h e c o m p ar a bl e s al e s f or diff er e n c e s i n v ari o u s el e m e nt s of c o m p ari s o n, a n d ( 4) r e c o n cili n g t h e
a dj u st e d s al e s i nt o a v al u e i n di c ati o n f or t h e s u bj e ct.

U nit of C o m p ari s o n
T h e pri m ar y u nit of c o m p ari s o n s el e ct e d d e p e n d s o n t h e a p pr ai s al pr o bl e m a n d n at ur e of t h e pr o p ert y.
T h e pri m ar y u nit of c o m p ari s o n i n t h e m ar k et f or r et a il pr o p erti e s s u c h a s t h e s u bj e ct pr o p ert y i s pri c e
p er s q u ar e f o ot of n et r e nt a bl e ar e a or pri c e p er s q u ar e f o ot.

El e m e nt s of C o m p ari s o n
El e m e nt s of c o m p ari s o n ar e t h e c h ar a ct eri sti c s or a ttri b ut e s of pr o p erti e s a n d tr a n s a cti o n s t h at c a u s e
t h e pri c e s of r e al e st at e t o v ar y. T h e pri m ar y el e me nt s of c o m p ari s o n c o n si d er e d i n s al e s c o m p ari s o n
a n al y si s ar e a s f oll o w s: ( 1) pr o p ert y ri g ht s c o n v e y e d, ( 2) fi n a n ci n g t er m s, ( 3) c o n diti o n s of s al e, ( 4)
e x p e n dit ur e s m a d e i m m e di at el y aft e r p ur c h a s e, ( 5) m ar k et c o n diti o n s, ( 6) l o c ati o n, a n d ( 7) p h y si c al
c h ar a ct eri sti c s.

C o m p ar a bl e S al e s D at a
T o o bt ai n a n d v erif y c o m p ar a bl e s al e s a n d li sti n g s of r et ail pr o p erti e s, w e c o n d u ct e d a s e ar c h of p u bli c
r e c or d s, fi el d s ur v e y s, i nt er vi e w s wit h k n o wl e d g e a bl e r e al e st at e pr of e s si o n al s i n t h e ar e a, a s w ell a s a
r e vi e w of o ur i nt er n al d at a b a s e.

W e i n cl u d e d fi v e s al e s i n o ur a n al y si s, a s t h e s e s al e s w er e j u d g e d t o b e t h e m o st c o m p ar a bl e t o d e v el o p
a n i n di c ati o n of m ar k et v al u e f or t h e s u bj e ct pr o p er t y. T h e f oll o wi n g i s a t a bl e s u m m ari zi n g e a c h s al e
c o m p ar a bl e a n d a m a p ill u str ati n g t h e l o c ati o n of e a c h i n r el ati o n t o t h e s u bj e ct. D et ail s of e a c h
c o m p ar a bl e f oll o w t h e l o c ati o n m a p.




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                                                                                                                                                                                                  S A L E S C O M P A RI S O N A P P R O A C H


     I m pr o v e d S al e s S u m m ar y
     C o m p.                              Pr o p ert y                                                                                                         Y e ar                   Occ u p a nc y   U n a dj u s t e d
     N o.        D at e of S al e          Na me                                         L o c ati o n                                                          B uil t        NRA           at S al e     S al e Pri c e             PSF
     1           J ul y- 1 9               Pi c k ' n S a v e                            3 6 9 0 3 E Wi s c o nsi n A v e O c o n o m o w o c, Wi s c o nsi n   2008      6 1, 7 0 0         1 0 0. 0 % $ 1 3, 2 8 9, 3 0 0    $ 2 1 5. 3 9
     2            N o v e m b er - 1 8     C er m a k Fr e s h M ar k et                 1 5 4 1 M ill er P ar k W a y      Mil w a u k e e, Wi s c o nsi n      2012       7 0, 3 7 5         1 0 0. 0 % $ 7, 5 0 0, 0 0 0      $ 1 0 6. 5 7
     3           J ul y- 1 8               Sho pko                                       4 0 6 G at e w a y A v e          M a ust o n, Wi s c o nsi n          2015      2 6, 3 9 5         1 0 0. 0 % $ 3, 6 0 0, 0 0 0      $ 1 3 6. 3 9
     4             M ar c h- 1 8           Pi c k ' n S a v e - Hi g hl a n d Ri d g e   3 0 1 F all s R d                Gr aft o n, Wi s c o nsi n            2008      5 4, 9 6 6         1 0 0. 0 % $ 1 2, 0 4 6, 0 3 3    $ 2 1 9. 1 5
     5           J ul y- 1 7               Tr a ct or S u p pl y                         1 9 1 1 M ar k et W a y           W at ert o w n, Wi s c o nsi n       2005      2 3, 6 2 7         1 0 0. 0 % $ 3, 6 0 0, 0 0 0      $ 1 5 2. 3 7




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                                                                                                                                 S A L E S C O M P A RI S O N A P P R O A C H



                                                                          R   E T AI L   C   O M P A R A BLE   1




Pr o p ert y I d e ntifi c ati o n
  Pr o p ert y / S al e I D                    1 0 9 9 9 7 7 2/ 1 4 3 5 7 7 1
  Pr o p ert y T y p e                         Fr e e St a n di n g B uil di n g
  Pr o p ert y N a m e                         Pi c k ' n S a v e
  A d dr e s s                                 3 6 9 0 3 E Wi s c o n si n A v e
  Cit y, St at e Zi p                          O c o n o m o w o c, Wi s c o n si n 5 3 0 6 6
  C o u nt y                                   W a u k es h a
  MS A                                         Mil w a u k e e- W a u k e s h a
  L atit u d e / L o n git u d e               4 3. 1 0 5 7 1 0/- 8 8. 4 7 7 4 4 7
  TaxI D                                       O C L V- 0 5 8 6- 9 9 4- 0 0 3

Tr a n s a cti o n D at a
  S al e D at e                                0 7- 1 1- 2 0 1 9                                       R e c or di n g N u m b er         4408301
  S al e St at u s                             Cl o s e d                                              D a y s o n M ar k et              183
  Gr a nt or                                   M c a d a m s R e alt y                                 S al e Pri c e                     $ 1 3, 2 8 9, 3 0 0
                                               O c o n o m o w o c Ll p                                Fi n a n ci n g A dj.              $0
  Gr a nt e e                                  E x c h a n g e Ri g ht N et L e a s e d                S al e C o n diti o n s A dj.      $0
                                               P ortf oli o 2 8 D S T                                  E x p. I m m. Aft er S al e        $0
  Pr o p ert y Ri g ht s                       L e as e d F e e                                        N o n - R e alt y A dj.            $0
  Fi n a n ci n g                              C a s h t o S ell er                                    E x c ess L a n d                  $ 5 0 0, 0 0 0
  C o n diti o n s of S al e                   E x c ess L a n d                                       A dj u st e d Pri c e              $ 1 2, 7 8 9, 3 0 0

Pr o p ert y D e s cri pti o n
  Gr o s s B uil di n g S F                   6 1, 7 0 0                                               Y e ar B uilt                     2008
  N et R e nt a bl e S F                      6 1, 7 0 0                                               Eff e cti v e A g e ( e st.)      5
  N o. of L ot s                              1                                                        I n v e st m e nt Cl a s s        C
  St ori e s                                  1                                                        Occ u p a nc y T y p e            T e n a nt o c c u pi e d
  B uil di n g C o n diti o n                 Good                                                     T e n a nc y                      Si n gl e- T e n a nt
  B uil di n g Q u alit y                     Good                                                     S p ri n kl er s                  W et s y st e m
  C o n str u cti o n Cl a s s                C - M a s o nr y                                         P ar ki n g C o nf or m s         Y es
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  P ar ki n g S p a c e s                     298                                              Gr o s s L a n d t o Bl d g            5. 7 6
  P k g / 1, 0 0 0 S F G B A                  4. 8 3                                           U s a bl e L a n d t o Bl d g          5. 7 6
  P k g / 1, 0 0 0 S F N R A                  4. 8 3                                           Acc ess                                Good
  Gr o s s A cr e s                           8. 1 6 1 4 0                                     Vi si bilit y                          Good
  U s a bl e A cr e s                         8. 1 6 1 4 0                                     C or n er /I nt eri or                 C or n er
  Flr. Ar e a R ati o ( F A R)                0. 1 7                                           Fl o o d H a z ar d Z o n e            Zone X

  Fi n a n ci al D at a & I n di c at or s ( A ct u al)
  P   GI                                      $ 8 6 3, 8 0 5                                   E GI M                                 1 4. 8 0 6
  E   GI                                      $ 8 6 3, 8 0 5                                   N OI / S F                             $ 1 4. 0 0
  N   OI                                      $ 8 6 3, 8 0 5                                   O AR                                   6. 7 5 %
  P   GI M                                    1 4. 8 1 0

P h y si c al I n di c at or s
  $/ S F G B A                                $ 2 0 7. 2 8                                     O c c u p a n c y at S al e            1 0 0. 0 %
  $/ S F N R A                                $ 2 0 7. 2 8

  V erifi c ati o n
  C o nfir m e d Wit h                         Br o k er, S D S, C o St ar, D e e d, P u bli c R e c or d s, A s s e s s or
  C o nfir m e d B y                           V al bri d g e Pr o p ert y A d vi s or s | C hi c a g o
  C o nfir m ati o n D at e                    1 1- 0 7- 2 0 1 9

  R e m ar k s
  T hi s i s t h e s al e of a gr o c er y st or e b uil di n g l o c at e d i n O c o n o m o w o c WI a n d o c c u pi e d b y Pi c k ' n S a v e. T h e
  6 1, 7 0 0- s q u ar e f o ot b uil di n g w a s c o n str u ct e d i n 2 0 0 8 a n d sit s o n a 8. 1 6 1 4- a cr e sit e, wit h a p pr o xi m at el y
  1. 7 9 a cr e s of e x c e s s l a n d. D ail y tr affi c c o u nt s at t h e ti m e w er e a b o ut 2 1, 7 0 0 v e hi cl e s p er d a y wit h a m e di a n
  h o u s e h ol d i n c o m e of $ 9 0, 7 3 1 (t hr e e- mil e r a di u s). I n J ul y of 2 0 1 9, t h e pr o p ert y s ol d f or $ 1 3, 2 8 9, 3 0 0 or
  $ 2 0 7. 2 8 p er s q u ar e f o ot ( e x cl u di n g e x c e s s l a n d v al u e e sti m at e d at $ 5 0 0, 0 0 0). T h e r e p ort e d c a p r at e of
  6. 5 0 %. T h e off eri n g w a s o n t h e m a r k et f or a p pr o xi m at el y si x m o nt h s wit h a s ki n g pri c e of $ 1 3, 8 2 0, 8 0 0.
  T h e ori gi n al 2 1- y e ar l e a s e st art e d i n J a n u ar y of 2 0 0 9 a n d e x pir e s i n D e c e m b er of 2 0 2 9. T h e ori gi n al
  eff e cti v e r e nt w a s $ 1 4. 0 0 p er s q u ar e f o ot, N N N.




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                                                                                                                                    S A L E S C O M P A RI S O N A P P R O A C H



                                                                          R   E T AI L   C   O M P A R A BLE   2




Pr o p ert y I d e ntifi c ati o n
  Pr o p ert y / S al e I D                    1 0 9 9 9 5 6 9/ 1 4 3 5 6 3 2
  Pr o p ert y T y p e                         Fr e e St a n di n g B uil di n g
  Pr o p ert y N a m e                         C er m a k Fr e s h M ar k et
  A d dr e s s                                 1 5 4 1 Mill er P ar k W a y
  Cit y, St at e Zi p                          Mil w a u k e e, Wi s c o n si n 5 3 2 1 4
  C o u nt y                                   Mil w a u k e e
  MS A                                         Mil w a u k e e- W a u k e s h a
  L atit u d e / L o n git u d e               4 3. 0 1 4 4 5 2/- 8 7. 9 7 0 0 7 9
  TaxI D                                       4 5 7- 0 4 7 0- 0 0 0 a n d 4 5 7- 0 4 7 1- 0 0 0

Tr a n s a cti o n D at a
  S al e D at e                                1 1- 2 6- 2 0 1 8                                       R e c or di n g N u m b er            10831007
  S al e St at u s                             Cl o s e d                                              S al e Pri c e                        $ 7, 5 0 0, 0 0 0
  Gr a nt or                                   W e st mil w L L C                                      Fi n a n ci n g A dj.                 $0
  Gr a nt e e                                  1 5 4 1 M p w Lc                                        S al e C o n diti o n s A dj.         $0
  Pr o p ert y Ri g ht s                       F e e Si m pl e                                         E x p. I m m. Aft er S al e           $0
  Fi n a n ci n g                              C a s h t o S ell er                                    N o n - R e alt y A dj.               $0
  C o n diti o n s of S al e                   E x c er ci s e d O pti o n t o                         A dj u st e d Pri c e                 $ 7, 5 0 0, 0 0 0
                                               P ur c h a s e

Pr o p ert y D e s cri pti o n
  Gr o s s B uil di n g S F                   7 0, 3 7 5                                               I n v e st m e nt Cl a s s           C
  N et R e nt a bl e S F                      7 0, 3 7 5                                               Occ u p a nc y T y p e               O w n er a n d t e n a nt
  St ori e s                                  1                                                                                             o c c u pi e d
  B uil di n g C o n diti o n                 Good                                                     T e n a nc y                         M ulti- T e n a nt
  B uil di n g Q u alit y                     Good                                                     S p ri n kl er s                     W et s y st e m
  C o n str u cti o n Cl a s s                C - M a s o nr y                                         P ar ki n g S p a c e s              330
  Y e ar B uilt                               2012                                                     P k g / 1, 0 0 0 S F G B A           4. 6 9
  Eff e cti v e A g e ( e st.)                5                                                        P k g / 1, 0 0 0 S F N R A           4. 6 9
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                                                                                                                                       V A C A NT GR O CERY ST ORE
                                                                                                                             S A L E S C O M P A RI S O N A P P R O A C H


  Gr o s s A cr e s                           6. 0 0 0 0 0                                     Acc ess                               Good
  U s a bl e A cr e s                         6. 0 0 0 0 0                                     Vi si bilit y                         Good
  Flr. Ar e a R ati o ( F A R)                0. 2 7                                           C or n er /I nt eri or                I nt eri or
  Gr o s s L a n d t o Bl d g                 3. 7 1                                           Fl o o d H a z ar d Z o n e           Zone X
  U s a bl e L a n d t o Bl d g               3. 7 1


P h y si c al I n di c at or s
  $/ S F G B A                                $ 1 0 6. 5 7                                     O c c u p a n c y at S al e           1 0 0. 0 %
  $/ S F N R A                                $ 1 0 6. 5 7

  V erifi c ati o n
  C o nfir m e d Wit h                         S D S, C o St ar, D e e d, P u bli c R e c or d s, A s s e s s or
  C o nfir m e d B y                           V al bri d g e Pr o p ert y A d vi s or s | C hi c a g o

  R e m ar k s
  T hi s i s t h e s al e of a 6 1, 0 0 0- s q u ar e f o ot gr o c er y st or e a n d stri p c e nt er pr o p ert y l o c at e d at 1 5 4 1 Mill er P ar k
  W a y i n Mil w a u k e e WI. T h e gr o c er y st or e i s p art of a l ar g er s h o p pi n g c e nt er t h at i s a n c h or e d b y T ar g et.
  I n cl u d e d i n t hi s s al e i s a 9, 3 7 5- s q u ar e f o ot m ulti-t e n a nt stri p c e nt er, w hi c h w a s f ull y o c c u pi e d at t h e ti m e
  of s al e. T h er ef or e, t h e t ot al b uil di n g ar e a of t h e s al e i n cl u d e d 7 0, 3 7 5- s q u ar e f e et. T h e b uil di n g s w er e
  c o n str u ct e d i n 2 0 1 2 a n d sit o n a n a p pr o xi m at e 6- a cr e sit e. T h e a v er a g e d ail y tr affi c c o u nt i s 3 9, 9 0 0 v e hi cl e s
  p er d a y a n d t h e m e di a n h o u s e h ol d i n c o m e wit hi n a 3- mil e r a di u s i s $ 3 8, 5 6 2 . T h e gr o c er y st or e w a s
  p ur c h a s e d b y t h e t e n a nt, C er m a k Fr e s h M ar k et. I n N o v e m b er of 2 0 1 8, t h e pr o p erti e s s ol d f or $ 7, 5 0 0, 0 0 0
  or $ 1 0 6. 5 7 p er s q u ar e f o ot. Pri or t o t h e s al e, C er m a k Fr e s h M ar k et w a s p a yi n g $ 1 0. 0 0 P S F N N N i n r e nt
  wit h a l e a s e e x pir ati o n d at e i n A u g u st 2 0 3 2. T h e l e a s e w a s di s s ol v e d u p o n t h e s al e.




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                                                                                                                                 S A L E S C O M P A RI S O N A P P R O A C H



                                                                          R   E T AI L   C   O M P A R A BLE   3




Pr o p ert y I d e ntifi c ati o n
  Pr o p ert y / S al e I D                    1 0 9 9 9 5 9 4/ 1 4 3 5 6 4 8
  Pr o p ert y T y p e                         Fr e e St a n di n g B uil di n g
  Pr o p ert y N a m e                         S h o pk o
  A d dr e s s                                 4 0 6 G at e w a y A v e
  Cit y, St at e Zi p                          M a u st o n, Wi s c o n si n 5 3 9 4 8
  C o u nt y                                   Juneau
  MS A                                         N/ A
  L atit u d e / L o n git u d e               4 3. 7 9 7 3 6 6/- 9 0. 0 6 8 4 4 4
  TaxI D                                       2 9- 2 5 1- 0 2 9 4. 0 2 4

Tr a n s a cti o n D at a
  S al e D at e                                0 7- 2 0- 2 0 1 8                                       D a y s o n M ar k et              191
  S al e St at u s                             Cl o s e d                                              S al e Pri c e                     $ 3, 6 0 0, 0 0 0
  Gr a nt or                                   A G R E E LI MI T E D                                   Fi n a n ci n g A dj.              $0
                                               P A R T N E R S HI P                                    S al e C o n diti o n s A dj.      $0
  Gr a nt e e                                  E A S T ME D LL C                                       E x p. I m m. Aft er S al e        $0
  Pr o p ert y Ri g ht s                       L e as e d F e e                                        N o n - R e alt y A dj.            $0
  Fi n a n ci n g                              C a s h t o S ell er                                    A dj u st e d Pri c e              $ 3, 6 0 0, 0 0 0
  C o n diti o n s of S al e                   T y pi c al

Pr o p ert y D e s cri pti o n
  Gr o s s B uil di n g S F                   2 6, 3 9 5                                               Eff e cti v e A g e ( e st.)      2
  N et R e nt a bl e S F                      2 6, 3 9 5                                               I n v e st m e nt Cl a s s        C
  N o. of L ot s                              1                                                        Occ u p a nc y T y p e            T e n a nt o c c u pi e d
  St ori e s                                  1                                                        T e n a nc y                      Si n gl e- T e n a nt
  B uil di n g C o n diti o n                 A v er a g e                                             S p ri n kl er s                  W et s y st e m
  B uil di n g Q u alit y                     A v er a g e                                             P ar ki n g C o nf or m s         Y es
  C o n str u cti o n Cl a s s                C - M a s o nr y                                         P ar ki n g S p a c e s           98
  Y e ar B uilt                               2015                                                     P k g / 1, 0 0 0 S F G B A        3. 7 1
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                                                                                                                              S A L E S C O M P A RI S O N A P P R O A C H


  P k g / 1, 0 0 0 S F N R A                  3. 7 1                                            U s a bl e L a n d t o Bl d g         4. 1 6
  Gr o s s A cr e s                           2. 5 2 0 0 0                                      Acc ess                               A v er a g e
  U s a bl e A cr e s                         2. 5 2 0 0 0                                      Vi si bilit y                         A v er a g e
  Flr. Ar e a R ati o ( F A R)                0. 2 4                                            C or n er /I nt eri or                C or n er
  Gr o s s L a n d t o Bl d g                 4. 1 6                                            Fl o o d H a z ar d Z o n e           Zone X

  Fi n a n ci al D at a & I n di c at or s ( A ct u al)
  P   GI                                      $ 3 6 3, 2 8 4                                    E GI M                                9. 9 1 0
  E   GI                                      $ 3 6 3, 2 8 4                                    N OI / S F                            $ 1 3. 7 6
  N   OI                                      $ 3 6 3, 2 8 4                                    O AR                                  1 0. 0 9 %
  P   GI M                                    9. 9 1 0

P h y si c al I n di c at or s
  $/ S F G B A                                $ 1 3 6. 3 9                                      O c c u p a n c y at S al e           1 0 0. 0 %
  $/ S F N R A                                $ 1 3 6. 3 9

  V erifi c ati o n
  C o nfir m e d Wit h                         Br o k er, C o St ar, D e e d, P u bli c R e c or d s, A s s e s s or
  C o nfir m e d B y                           V al bri d g e Pr o p ert y A d vi s or s | C hi c a g o
  C o nfir m ati o n D at e                    1 1- 0 7- 2 0 1 9

  R e m ar k s
  T hi s i s t h e s al e of a 2 6, 3 9 5- s q u ar e f o ot r et ail pr o p er t y o c c u pi e d b y S h o p k o a n d l o c at e d i n M a u st o n, WI.
  T h e S h o p k o H o m et o w n f e at ur e s a p h ar m a c y dri v e-t hr u a n d g o o d vi si bilit y. At t h e ti m e of s al e, t h er e w er e
  o v er 1 2 y e ar s r e m ai ni n g o n t h e S h o p k o H o m et o w n l e a s e w hi c h e x pir e s i n O ct o b er 2 0 3 0. T h e l e a s e f e at ur e s
  3 % r e nt al e s c al ati o n s e v er y fi v e y e ar s a n d f o ur 5- y e ar r e n e w al o pti o n p eri o d s. T h e b uil di n g w a s
  c o n str u ct e d i n 2 0 1 5 a n d i s str at e gi c all y l o c at e d off of t h e si g n ali z e d i nt er s e ctio n of G at e w a y A v e n u e a n d
  U ni o n Str e et. T h e i nt er s e cti o n e x p e ri e n c e s a c o m bi n e d tr affi c c o u nt of 2 7, 5 0 0 v e hi cl e s p er d a y, wit h 1 1, 1 0 0
  v e hi cl e s p er d a y i n fr o nt of t h e s u bj e ct l o c ati o n. T h e m e di a n h o u s e h ol d i n c o m e wit hi n 3- mil e s i s $ 5 0, 8 5 1.
  T h e pr o p ert y i s al s o l e s s t h a n o n e- h alf mil e fr o m I nt e r st at e 9 0 wit h i nt er c h a n g e a bl e a c c e s s. I n J ul y of 2 0 1 8,
  t h e pr o p ert y s ol d f or $ 3, 6 0 0, 0 0 0 or $ 1 3 6. 3 9 p er s q u ar e f o ot. It w a s o n t h e m ar k et f or a littl e o v er 6 m o nt h s
  wit h a n i niti al a s ki n g pri c e of $ 4, 4 0 3, 5 0 0. T h e c a p r at e w a s 1 0. 0 9 % b a s e d o n i n pl a c e i n c o m e. Pl e a s e n ot e
  t h at S h o p k o fil e d f or C h a pt er 1 1 b a n kr u pt c y o n J a n uar y 1 6, 2 0 1 9. O n M ar c h 1 8, 2 0 1 9, S h o p k o a n n o u n c e d
  it w o ul d cl o s e all of it s l o c ati o n s b y s u m m er 2 0 1 9. All r e m ai ni n g l o c ati o n s cl o s e d at t h e e n d of b u si n e s s
  o n J u n e 2 3, 2 0 1 9. At t h e ti m e of t h e s al e, t hi s w a s n ot k n o w n b y t h e i n v e st or w h o p ur c h a s e d t h e pr o p ert y.




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                                                                                                                                           V A C A NT GR O CERY ST ORE
                                                                                                                                 S A L E S C O M P A RI S O N A P P R O A C H



                                                                          R   E T AI L   C   O M P A R A BLE   4




Pr o p ert y I d e ntifi c ati o n
  Pr o p ert y / S al e I D                    1 0 9 9 9 6 7 7/ 1 4 3 5 7 0 8
  Pr o p ert y T y p e                         Fr e e St a n di n g B uil di n g
  Pr o p ert y N a m e                         Pi c k ' n S a v e - Hi g hl a n d Ri d g e
  A d dr e s s                                 3 0 1 F all s R d
  Cit y, St at e Zi p                          Gr aft o n, Wi s c o n si n 5 3 0 2 4
  C o u nt y                                   Oz a u k e e
  MS A                                         Mil w a u k e e- W a u k e s h a
  L atit u d e / L o n git u d e               4 3. 3 0 7 8 9 7/- 8 7. 9 6 1 8 1 2
  TaxI D                                       P art of 1 0- 0 2 5- 0 6- 0 0 8. 0 0

Tr a n s a cti o n D at a
  S al e D at e                                0 3- 0 6- 2 0 1 8                                       R e c or di n g N u m b er         1061461
  S al e St at u s                             Cl o s e d                                              S al e Pri c e                     $ 1 2, 0 4 6, 0 3 3
  Gr a nt or                                   Gr aft o n, L L C                                       Fi n a n ci n g A dj.              $0
  Gr a nt e e                                  E x c h a n g eri g ht N et L e a s e d                 S al e C o n diti o n s A dj.      $0
                                               P ortf oli o 2 0, L L C                                 E x p. I m m. Aft er S al e        $0
  Pr o p ert y Ri g ht s                       L e as e d F e e                                        N o n - R e alt y A dj.            $0
  Fi n a n ci n g                              C a s h t o S ell er                                    A dj u st e d Pri c e              $ 1 2, 0 4 6, 0 3 3
  C o n diti o n s of S al e                   T y pi c al

Pr o p ert y D e s cri pti o n
  Gr o s s B uil di n g S F                   5 4, 9 6 6                                               Eff e cti v e A g e ( e st.)      5
  N et R e nt a bl e S F                      5 4, 9 6 6                                               I n v e st m e nt Cl a s s        C
  N o. of L ot s                              1                                                        Occ u p a nc y T y p e            T e n a nt o c c u pi e d
  St ori e s                                  1                                                        T e n a nc y                      Si n gl e- T e n a nt
  B uil di n g C o n diti o n                 Good                                                     S p ri n kl er s                  W et s y st e m
  B uil di n g Q u alit y                     Good                                                     P ar ki n g C o nf or m s         Y es
  C o n str u cti o n Cl a s s                C - M a s o nr y                                         P ar ki n g S p a c e s           400
  Y e ar B uilt                               2008                                                     P k g / 1, 0 0 0 S F G B A        7. 2 8
© 2 01 9 V A L B RI D G E P R O P E R T Y A D VI S O R S | C hi c a g o                                                                                              Pa ge 94
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                                                                                                                                       V A C A NT GR O CERY ST ORE
                                                                                                                             S A L E S C O M P A RI S O N A P P R O A C H


  P k g / 1, 0 0 0 S F N R A                  7. 2 8                                           U s a bl e L a n d t o Bl d g         6. 0 6
  Gr o s s A cr e s                           7. 6 4 1 2 0                                     Acc ess                               Good
  U s a bl e A cr e s                         7. 6 4 1 2 0                                     Vi si bilit y                         Good
  Flr. Ar e a R ati o ( F A R)                0. 1 7                                           C or n er /I nt eri or                T hr o u g h L ot
  Gr o s s L a n d t o Bl d g                 6. 0 6                                           Fl o o d H a z ar d Z o n e           Zone X

  Fi n a n ci al D at a & I n di c at or s ( A ct u al)
  P   GI                                      $ 9 1 9, 8 8 4                                   E GI M                                1 3. 0 9 5
  E   GI                                      $ 9 1 9, 8 8 4                                   N OI / S F                            $ 1 6. 7 4
  N   OI                                      $ 9 1 9, 8 8 4                                   O AR                                  7. 6 4 %
  P   GI M                                    1 3. 1 0 0

P h y si c al I n di c at or s
  $/ S F G B A                                $ 2 1 9. 1 5                                     O c c u p a n c y at S al e           1 0 0. 0 %
  $/ S F N R A                                $ 2 1 9. 1 5

  V erifi c ati o n
  C o nfir m e d Wit h                         S D S, C o St ar, D e e d, P u bli c R e c or d s, A s s e s s or
  C o nfir m e d B y                           V al bri d g e Pr o p ert y A d vi s or s | C hi c a g o
  C o nfir m ati o n D at e                    1 1- 0 7- 2 0 1 9

  R e m ar k s
  T hi s i s t h e s al e of a gr o c er y st or e b uil di n g l o c at e d i n Gr aft o n WI a n d o c c u pi e d b y Pi c k ' n S a v e. T h e c e nt er
  i s k n o w n a s Hi g hl a n d Ri d g e, w hi c h i s a r e d e v el o p m e nt of M a n c h e st er M all a n c h or e d b y Pi c k ‘ n S a v e. T h e
  b uil di n g i s att a c h e d t o a s m all stri p c e nt er t h at i s n ot p art of t hi s tr a n s a cti o n. T h e 5 4, 9 6 6- s q u ar e f o ot
  b uil di n g w a s c o n str u ct e d i n 2 0 0 8 a n d sit s o n a 7. 6 4 1- a cr e sit e. D ail y tr affi c c o u nt s at t h e ti m e w er e a b o ut
  6, 0 0 0 v e hi cl e s p er d a y al o n g F all s R o a d a n d 9, 8 0 0 v e hi cl e s p er d a y al o n g Wi s c o n si n A v e n u e wit h m e di a n
  h o u s e h ol d i n c o m e of $ 8 4, 5 4 0 (t hr e e- mil e r a di u s), a n d a b o ut 2 2 mil e s fr o m d o w nt o w n Mil w a u k e e. I n
  F e br u ar y of 2 0 1 8, t h e pr o p ert y s ol d f or $ 1 2, 0 4 6, 0 3 3 or a r e p ort e d c a p r at e of 7. 6 4 %. T h e off eri n g h a d
  g o n e t o m ar k et i n Q 4 2 0 1 7 wit h a s ki n g pr i c e of $ 1 2, 4 3 0, 8 6 7 at a n a s ki n g 7. 4 % c a p r at e.




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                                                                                                                                 S A L E S C O M P A RI S O N A P P R O A C H



                                                                          R   E T AI L   C   O M P A R A BLE   5




Pr o p ert y I d e ntifi c ati o n
  Pr o p ert y / S al e I D                    1 0 9 9 9 7 1 7/ 1 4 3 5 7 3 0
  Pr o p ert y T y p e                         Fr e e St a n di n g B uil di n g
  Pr o p ert y N a m e                         Tr a ct or S u p pl y
  A d dr e s s                                 1 9 1 1 M ar k et W a y
  Cit y, St at e Zi p                          W at ert o w n, Wi s c o n si n 5 3 0 9 4
  C o u nt y                                   J eff er s o n
  MS A                                         N/ A
  L atit u d e / L o n git u d e               4 3. 1 5 9 4 4 2/- 8 8. 7 2 9 9 2 7
  TaxI D                                       2 9 1- 0 8 1 5- 1 6 3 2- 0 0 7

Tr a n s a cti o n D at a
  S al e D at e                                0 7- 0 7- 2 0 1 7                                       D a y s o n M ar k et              263
  S al e St at u s                             Cl o s e d                                              S al e Pri c e                     $ 3, 6 0 0, 0 0 0
  Gr a nt or                                   C ol e T S W at ert o w n WI D S T                      Fi n a n ci n g A dj.              $0
  Gr a nt e e                                  W at ert o w n G at e w a y L L C                       S al e C o n diti o n s A dj.      $0
  Pr o p ert y Ri g ht s                       L e as e d F e e                                        E x p. I m m. Aft er S al e        $0
  Fi n a n ci n g                              C a s h t o S ell er                                    N o n - R e alt y A dj.            $0
  C o n diti o n s of S al e                   T y pi c al                                             A dj u st e d Pri c e              $ 3, 6 0 0, 0 0 0
  R e c or di n g N u m b er                   1385072

Pr o p ert y D e s cri pti o n
  Gr o s s B uil di n g S F                   2 3, 6 2 7                                               Eff e cti v e A g e ( e st.)      7
  N et R e nt a bl e S F                      2 3, 6 2 7                                               I n v e st m e nt Cl a s s        C
  N o. of L ot s                              1                                                        Occ u p a nc y T y p e            T e n a nt o c c u pi e d
  St ori e s                                  1                                                        T e n a nc y                      Si n gl e- T e n a nt
  B uil di n g C o n diti o n                 A v er a g e                                             S p ri n kl er s                  W et s y st e m
  B uil di n g Q u alit y                     A v er a g e                                             P ar ki n g S p a c e s           40
  C o n str u cti o n Cl a s s                C - M a s o nr y                                         P k g / 1, 0 0 0 S F G B A        1. 6 9
  Y e ar B uilt                               2005                                                     P k g / 1, 0 0 0 S F N R A        1. 6 9
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                                                                                                                                       V A C A NT GR O CERY ST ORE
                                                                                                                             S A L E S C O M P A RI S O N A P P R O A C H


  Gr o s s A cr e s                           4. 6 7 5 0 0                                     Acc ess                               Good
  U s a bl e A cr e s                         4. 6 7 5 0 0                                     Vi si bilit y                         A v er a g e
  Flr. Ar e a R ati o ( F A R)                0. 1 2                                           C or n er /I nt eri or                T hr o u g h L ot
  Gr o s s L a n d t o Bl d g                 8. 6 2                                           Fl o o d H a z ar d Z o n e           Zone X
  U s a bl e L a n d t o Bl d g               8. 6 2

  Fi n a n ci al D at a & I n di c at or s ( A ct u al)
  P   GI                                      $ 2 6 3, 5 7 5                                   E GI M                                1 3. 6 5 8
  E   GI                                      $ 2 6 3, 5 7 5                                   N OI / S F                            $ 1 1. 1 6
  N   OI                                      $ 2 6 3, 5 7 5                                   O AR                                  7. 3 2 %
  P   GI M                                    1 3. 6 6 0

P h y si c al I n di c at or s
  $/ S F G B A                                $ 1 5 2. 3 7                                     O c c u p a n c y at S al e           1 0 0. 0 %
  $/ S F N R A                                $ 1 5 2. 3 7

  V erifi c ati o n
  C o nfir m e d Wit h                         S D S, C o St ar, D e e d, P u bli c R e c or d s, A s s e s s or
  C o nfir m e d B y                           V al bri d g e Pr o p ert y A d vi s or s | C hi c a g o
  C o nfir m ati o n D at e                    1 1- 0 7- 2 0 1 9

  R e m ar k s
  T hi s i s t h e s al e of a 2 3, 6 2 7- s q u ar e f o ot, n et l e a s e d fr e e st a n di n g r et ail b uil di n g l o c at e d i n W at ert o w n WI.
  T h e b uil di n g w a s c o n str u ct e d i n 2 0 0 5 a n d i s l o c at e d o n a 4. 6 7 5- a cr e l ot. T h e pr o p ert y i s o c c u pi e d b y
  Tr a ct or S u p pl y o n a 1 4- y e ar l e a s e t h at h a d l e s s t h a n f o ur y e ar s r e m ai ni n g o n t h e l e a s e at t h e ti m e of s al e,
  wit h t h e l e a s e e x piri n g o n J a n u ar y 3 1, 2 0 2 1. T h e l e a s e r at e w a s $ 1 1. 1 5 p er s q u ar e f o ot, N N N wit h 2 %
  a n n u al i n cr e a s e s i n r e nt. Tr a ct or S u p pl y C o m p a n y i s t h e l ar g e st o p er at or of r ur al lif e st yl e r et ail st or e s i n
  A m eri c a. T h e pr o p ert y i s l o c at e d j u st s o ut h of a W al m art S u p er c e nt er a n d a m u ni ci p al air p ort. T h e a v er a g e
  d ail y tr affi c c o u nt t o t h e n ort h of t h e s u bj e ct al o n g Air P ar k Dri v e i s 4, 3 0 0 a n d t h e m e di a n h o u s e h ol d
  i n c o m e wit hi n a 3- mil e r a di u s i s $ 4 7, 4 9 5. I n J ul y of 2 0 1 7, t h e pr o p ert y s ol d f or $ 3, 6 0 0, 0 0 0 or $ 1 5 2. 3 7 p er
  s q u ar e f o ot. It w a s o n t h e m ar k et f or al m o st ei g ht m o nt h s wit h a n i niti al a s ki n g pri c e of $ 3, 8 3 3, 3 1 4. T h e
  r e p ort e d c a p r at e w a s 7. 3 2 %.




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                                                                                                                           V A C A NT GR O CERY ST ORE
                                                                                                                 S A L E S C O M P A RI S O N A P P R O A C H




S al es C o m p aris o n A n al ysis
W h e n n e c e s s ar y, a dj u st m e nt s w er e m a d e f or diff er e n c e s i n v ari o u s el e m e nt s of c o m p ari s o n, i n cl u di n g
pr o p ert y ri g ht s c o n v e y e d, fi n a n ci n g t er m s, c o n diti o n s of s al e, e x p e n dit ur e s m a d e i m m e di at el y aft er
p ur c h a s e, m ar k et c o n diti o n s, l o c ati o n, a n d ot h er p h y si c al c h ar a ct eri sti c s. If t h e el e m e nt i n c o m p ari s o n
i s c o n si d er e d s u p eri or t o t h at of t h e s u bj e ct, w e a p pli e d a n e g ati v e a dj u st m e nt. C o n v er s el y, a p o siti v e
a dj u st m e nt t o t h e c o m p ar a bl e w a s a p pli e d if i nf e ri or. A s u m m ar y of t h e el e m e nt s of c o m p ari s o n
f oll o w s.

Tr a n s a cti o n A dj u st m e nt s
Tr a n s a cti o n a dj u st m e nt s i n cl u d e: ( 1) r e al pr o p ert y ri g ht s c o n v e y e d, ( 2) fi n a n ci n g t er m s, ( 3) c o n diti o n s
of s al e, a n d ( 4) e x p e n dit ur e s m a d e i m m e di at el y aft e r p ur c h a s e. T h e s e it e m s, w hi c h ar e a p pli e d pri or t o
t h e m ar k et c o n diti o n s a n d pr o p ert y a dj u st m e nt s, ar e di s c u s s e d a s f oll o w s:

R e al Pr o p ert y Ri g ht s C o n v e y e d
R e al pr o p ert y ri g ht s c o n v e y e d i nfl u e n c e s al e pri c e s a n d m u st b e c o n si d er e d w h e n a n al y zi n g a s al e
c o m p ar a bl e. I n t h e c a s e of t h e s u bj e ct pr o p ert y, t h e f e e si m pl e i nt er e st i s c o n si d er e d o n a n “ a s i s”
b a si s. H o w e v er, a s t h e s u bj e ct i s c urr e ntl y v a c a nt , a h y p ot h eti c al “ a s st a bili z e d” v al u e e sti m at e i s
r e q uir e d s o t h at a l e a s e u p di s c o u nt c a n b e d e d uct e d fr o m t h e “ a s st a bili z e d” v al u e t o e sti m at e t h e
c urr e nt “ a s i s” m ar k et v al u e. T h er ef or e, o nl y o n e of t h e s al e c o m p ar a bl e s c o n v e y e d t h e f e e si m pl e
i nt er e st ( p ur c h a s e b y t e n a nt s al e); a n d t h e r e m ai ni n g s al e s c o n v e y e d t h e l e a s e f e e i nt er e st, w hi c h i s
c o n si st e nt wit h t h e e sti m ati o n of t h e “ a s st a bili z e d ” m ar k et v al u e pr e mi s e, t h er ef or e, n o a dj u st m e nt s
w er e r e q uir e d.

S al e   1:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   2:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   3:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   4:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   5:   no   a dj u st    m e nt     w as    w arr a nt e d.

Fi n a n ci n g T er m s
T h e tr a n s a cti o n pri c e of o n e pr o p ert y m a y diff er fr o m t h at of a n i d e nti c al pr o p ert y d u e t o diff er e nt
fi n a n ci al arr a n g e m e nt s. S al e s i n v ol vi n g fi n a n ci n g t er m s t h at ar e n ot at or n e ar m ar k et t er m s r e q uir e
a dj u st m e nt s f or c a s h e q ui v al e n c y t o r efl e ct t y pi c al m ar k et t er m s. A c a s h e q ui v al e n c y pr o c e d ur e
di s c o u nt s t h e at y pi c al m ort g a g e t er m s t o pr o vi d e a n i n di c ati o n of v al u e at c a s h e q ui v al e nt t er m s. All
of t h e c o m p ar a bl e s al e s i n v ol v e d t y pi c al m ar k et t er m s b y w hi c h t h e s ell er s r e c ei v e d c a s h or it s
e q ui v al e nt a n d t h e b u y er s p ai d c a s h or t e n d er e d t y pi c al d o w n p a y m e nt s a n d o bt ai n e d c o n v e nti o n al
fi n a n ci n g at m ar k et t er m s f or t h e b al a n c e. T h er ef or e, n o a dj u st m e nt s f or t hi s c at e g or y w er e r e q uir e d.

S al e   1:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   2:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   3:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   4:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   5:   no   a dj u st    m e nt     w as    w arr a nt e d.

C o n diti o n s of S al e
At y pi c al c o n diti o n s of s al e m a y r e s ult i n a pri c e t h at i s hi g h er or l o w er t h a n a n or m al tr a n s a cti o n. S u c h
at y pi c al c o n diti o n s of s al e oft e n o c c ur i n c o nj u n cti o n wit h s al e s b et w e e n r el at e d p arti e s or t h o s e i n
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                                                                                                                       S A L E S C O M P A RI S O N A P P R O A C H


w hi c h o n e of t h e p arti e s i s at y pi c all y m oti v at e d t o c o m pl et e t h e tr a n s a cti o n. A d diti o n all y, a d o w n w ar d
a dj u st m e nt m a y b e a p pli e d t o a li sti n g pri c e, w hi c h u s u all y r efl e ct s t h e u p p er li mit of v al u e.

S al e   1:   a d o w n w ar d a dj u st           m e nt of 3. 8 % w a s w arr a nt e d d u e t o e x c e s s l a n d v al u e d at $ 5 0 0, 0 0 0.
S al e   2:   n o a dj u st m e nt w a s           w arr a nt e d.
S al e   3:   n o a dj u st m e nt w a s           w arr a nt e d.
S al e   4:   n o a dj u st m e nt w a s           w arr a nt e d.
S al e   5:   n o a dj u st m e nt w a s           w arr a nt e d.

E x p e n dit ur e s M a d e I m m e di at el y Aft er P ur c h a s e
A k n o wl e d g e a bl e b u y er c o n si d er s e x p e n dit ur e s r e q uir e d u p o n p ur c h a s e of a pr o p ert y, a s t h e s e c o st s
aff e ct t h e pri c e t h e b u y er a gr e e s t o p a y. S u c h e x p e n dit ur e s m a y i n cl u d e: c o st s t o c ur e d ef err e d
m ai nt e n a n c e, c o st s t o d e m oli s h a n d r e m o v e a n y p orti o n of t h e i m pr o ve m e nt s, c o st s t o p etiti o n f or a
z o ni n g c h a n g e, c o st s t o r e m e di at e e n vir o n m e nt al c o nt a mi n ati o n a n d/ or c o st s t o o c c u p y or st a bili z e
t h e pr o p ert y. T h e r el e v a nt fi g ur e i s n ot t h e a ct u al c o st i n c urr e d, b ut t h e c o st a nti ci p at e d b y b ot h t h e
b u y er a n d s ell er. T h e p arti e s t o t h e s al e c o m p ar a bl e s di d n ot a nti ci p at e e x p e n d it ur e s i m m e di at el y aft er
p ur c h a s e; n o a dj u st m e nt s w er e r e q uir e d.

S al e   1:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   2:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   3:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   4:   no   a dj u st    m e nt     w as    w arr a nt e d.
S al e   5:   no   a dj u st    m e nt     w as    w arr a nt e d.

M ar k et C o n diti o ns A dj ust m e nt
M ar k et c o n diti o n s c h a n g e o v er ti m e b e c a u s e of i nfl at i o n, d efl ati o n, fl u ct u ati o n s i n s u p pl y a n d d e m a n d,
or ot h er f a ct or s. C h a n gi n g m ar k et c o n diti o n s m a y cr e at e a n e e d f or a dj u st m e nt t o c o m p ar a bl e s al e
tr a n s a cti o n s c o m pl et e d d uri n g p eri o ds of di s si mil ar m ar k et c o n diti o n s.

Di s c u s si o n s wit h m ar k et p arti ci p a nt s a n d a r e vi e w of m ar k et d at a i n di c at e d o v er all m ar k et c o n diti o n s
f or r et ail pr o p erti e s, e s p e ci all y gr o c er y st or e s, h a v e b e e n i m pr o vi n g, wit h r e c e nt tr a n s a cti o n s
c o nfir mi n g t hi s tr e n d. A s s u c h, a p pli e d a n a dj u st m e nt t o e a c h c o m p ar a bl e b a s e d o n a f a ct or of 2. 0 0 %
p er y e ar.

Pr o p ert y A dj ust m e nts
Pr o p ert y a dj u st m e nt s ar e u s u all y e x pr e s s e d q u a ntit ati v el y a s p er c e nt a g e s or d oll ar a m o u nt s t h at r efl e ct
t h e diff er e n c e s i n v al u e attri b ut a bl e t o t h e v ari o u s c h ar a ct eri sti c s of t h e pr o p ert y. I n s o m e i n st a n c e s,
h o w e v er, q u alit ati v e a dj u st m e nt s ar e u s e d. T h e s e a d j u st m e nt s ar e b a s e d o n l o c ati o n al a n d p h y si c al
c h ar a ct eri sti c s a n d ar e a p pli e d aft er t h e a p pli c ati o n of tr a n s a cti o n a n d m ar k et c o n diti o n s a dj u st m e nt s.

O ur r e a s o ni n g f or t h e pr o p ert y a dj u st m e nt s m a d e t o e a c h s al e c o m p ar a bl e f oll o w s. T h e di s c u s si o n will
a n al y z e e a c h a dj u st m e nt c at e g or y d e e m e d a p pli c a bl e t o t h e s u bj e ct pr o p ert y.

L o c ati o n
L o c ati o n a dj u st m e nt s m a y b e r e q uir e d w h e n t h e l o c ati o n al c h ar a ct eri sti c s of a c o m p ar a bl e ar e diff er e nt
fr o m t h o s e of t h e s u bj e ct. T h e s e c h ar a ct eri sti c s c a n i n cl u d e g e n er al n ei g h b or h o o d c h ar a ct eri sti c s,


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fr e e w a y a c c e s si bilit y, str e et e x p o s ur e, c or n er - v er s u s i nt eri or-l ot l o c ati o n, n ei gh b ori n g pr o p erti e s, vi e w
a m e niti e s, a n d ot h er f a ct or s.

T h e s u bj e ct pr o p ert y i s l o c at e d al o n g C o m m er ci al Dri v e wit h a v er a g e a c c e s s a n d g o o d vi si bilit y.

S al e   1:   a d o w n w ar d a dj u st m e nt of 1 0. 0 % w a s w a rr a nt e d d u e t o it s s u p eri or c o m m er ci al l o c ati o n.
S al e   2:   a d o w n w ar d a dj u st m e nt of 1 0. 0 % w a s w a rr a nt e d d u e t o it s s u p eri or c o m m er ci al l o c ati o n.
S al e   3:   a n u p w ar d a dj u st m e nt of 5. 0 % w a s w arr a nt e d d u e t o it s i nf eri or c o m m er ci al l o c ati o n.
S al e   4:   a d o w n w ar d a dj u st m e nt of 1 0. 0 % w a s w a rr a nt e d d u e t o it s s u p eri or c o m m er ci al l o c ati o n.
S al e   5:   n o a dj u st m e nt w a s w arr a nt e d.

Pl e a s e n ot e t h at t h e l o c ati o n a dj u st m e nt s w er e b a s e d o n t h e L o c ati o n I n d e x pr o vi d e d b y S al e s D at a
S er vi c e ( S D S). A c c or di n g t o S D S, “ b a s e d o n t h e r e vi e w a n d s c ori n g of C e n s u s d at a, Wi s c o n si n
D e p art m e nt of R e v e n u e d at a, a n d g e o gr a p hi c/tr a n s p ort ati o n d at a, e a c h Wi s c o n si n Zi p C o d e n o w h a s
a n S D S L o c ati o n I n d e x. T h e o bj e cti v e of t h e i n d e x i s t o c o m p ar e t h e l o c ati o n of a S u bj e ct pr o p ert y wit h
t h e l o c ati o n s of c o m p ar a bl e pr o p erti e s.

T h at i s, y o u c a n c o m p ar e t h e S D S L o c ati o n I n d e x t o t h e i n di c e s f or y o ur c o m p ar a bl e pr o p erti e s: a
pr o p ert y wit h a hi g h er i n d e x w o ul d s u g g e st a s u p e ri or l o c ati o n, a n d a l o w er i n d e x w o ul d s u g g e st a n
i nf eri or l o c ati o n. T h e d e gr e e of a dj u stm e nt, h o w e v er, i s l eft u p t o t h e i n di vi d u al.” T h er ef or e, b a s e d o n
t h e r e s p e cti v e L o c ati o n I n di c e s, w e h a v e m a d e a dj u st m e nt s t o t h e c o m p ar a bl e pr o p erti e s. T h e
s u bj e ct’ s L o c ati o n I n d e x i s 2 5 8. 1 a n d t h e c o m p ar a bl e s r a n g e d fr o m 2 3 3. 4 t o 3 3 9. 3 wit h a r a n g e a v er a g e
of 2 9 6. 8.

Si z e
T h e si z e a dj u st m e nt a d dr e s s e s v ari a n c e i n t h e n et r e nt a bl e ar e a of t h e c o m p ar a bl e s a n d t h at of t h e
s u bj e ct, a s a l ar g er b uil di n g t y pi c all y c o m m a n d s a l o w er s al e pri c e p er u nit t h a n a s m all er b uil di n g.
T hi s i n v er s e r el ati o n s hi p i s d u e, i n p art, t o t h e pri n ci pl e of “ e c o n o mi e s of s c al e.”

T h e s u bj e ct pr o p ert y c o n si st s of 3 6, 5 0 0 s q u ar e f e et of n et r e nt a bl e ar e a. T h e i m pr o v e d s al e s r a n g e i n
si z e fr o m 2 3, 6 2 7 t o 7 0, 3 7 5 a n d r e q uir e d si z e a dj u st m e nt s. W e a p pli e d a n a dj u st m e nt f a ct or of
a p pr o xi m at el y 1 0 % p er d o u bli n g t o e a c h s al e, w hi c h r e s ult e d i n t ot al a dj u st m e nt s r a n gi n g fr o m
n e g ati v e 7. 0 % t o p o siti v e 9. 0 %.

S al e   1:   a n u p w ar d a dj u st m e nt of 7. 0 %                    w a s w arr a nt e d gi v e n it s l ar g er si z e.
S al e   2:   a n u p w ar d a dj u st m e nt of 9. 0 %                    w a s w arr a nt e d gi v e n it s l ar g er si z e.
S al e   3:   a d o w n w ar d a dj u st m e nt of 6. 0                   % w a s w arr a nt e d gi v e n it s s m all er si z e.
S al e   4:   a n u p w ar d a dj u st m e nt of 5. 0 %                    w a s w arr a nt e d gi v e n it s l ar g er si z e.
S al e   5:   a d o w n w ar d a dj u st m e nt of 7. 0                   % w a s w arr a nt e d gi v e n it s s m all er si z e.

A g e/ C o n diti o n
All el s e b ei n g e q u al, ol d er pr o p erti e s t y pi c all y c o m m a n d a l o w er pri c e p er s q u ar e f o ot t h a n n e w er
pr o p erti e s. H o w e v er, alt h o u g h a pr o p ert y m a y b e p h y si c all y ol d er t h a n a n ot h er pr o p ert y, t h e eff e cti v e
a g e m a y b e si mil ar t o a n e w er pr o p ert y a n d n o a dj u st m e nt m a y b e i n di c at e d. T hi s m a y b e d u e t o t h e
ol d er pr o p ert y b ei n g w ell m ai nt ai n e d or a r e c e nt r e n o v ati o n. W e b a s e d t h e a dj u st m e nt s t o t h e
c o m p ar a bl e s o n eff e cti v e a g e r at h er t h a n p h y si c al a g e. T hi s t a k e s t h e o v er all c o n diti o n of a pr o p ert y
i nt o c o n si d er ati o n.

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T h e s u bj e ct pr o p ert y w a s b uilt i n 2 0 1 5 a n d i s i n g o o d c o n diti o n, wit h a n eff e cti v e a g e of 4 y e ar s. T h e
s al e c o m p ar a bl e s w er e b uilt fr o m 2 0 0 5 t o 2 0 1 5 a n d h a v e eff e cti v e a g e s r a n gi n g fr o m 2 t o 7 y e ar s. T o
a c c o u nt f or diff er e n c e s i n eff e cti v e a g e, w e r e vi e w e d t h e M ar s h all V al u ati o n S er vi c e d e pr e ci ati o n
s c h e d ul e f or c o m m er ci al pr o p erti e s, w hi c h i s pr e s e nt e d i n t h e f oll o wi n g t a bl e:

                                 M ar s h all V al u ati o n S er vi c e D e pr e ci ati o n S c h e d ul e
                                                                          Eff e cti v e            4 0- Y e ar
                                 Pr o p ert y                                A ge              D e pr e ci ati o n
                                 S al e 3                                      2                       2. 0 %
                                                                               3                       3 .0 %
                                 S u bj e ct                                   4                       4. 0 %
                                 S al e 1, S al e 2, a n d S al e 4            5                       5 .0 %
                                                                               6                       6 .0 %
                                 S al e 5                                      7                       7. 0 %


T h e eff e cti v e a g e a n d e c o n o mi c lif e of e a c h pr o p ert y w a s e sti m at e d b y t h e a p pr ai s er, a n d t h e
a dj u st m e nt s w er e b a s e d o n t h e diff er e n c e b et w e e n t h e i n di c at e d d e pr e ci ati o n f or t h e s u bj e ct pr o p ert y
a n d e a c h s al e c o m p ar a bl e.

S al e 1 w a s b uilt i n 2 0 0 8 a n d i s i n g o o d c o n diti o n wi t h a n eff e cti v e a g e of 5 y ear s. T h er ef or e, a n u p w ar d
a dj u st m e nt of 1. 0 % w a s w arr a nt e d.

S al e 2 w a s b uilt i n 2 0 1 2 a n d i s i n g o o d c o n diti o n wi t h a n eff e cti v e a g e of 5 y ear s. T h er ef or e, a n u p w ar d
a dj u st m e nt of 1. 0 % w a s w arr a nt e d.

S al e 3 w a s b uilt i n 2 0 1 5 a n d i s i n a v er a g e c o n dit i o n wit h a n eff e cti v e a g e of 2 y e ar s. T h er ef or e, a
d o w n w ar d a dj u st m e nt of 2. 0 % w a s w arr a nt e d.

S al e 4 w a s b uilt i n 2 0 0 8 a n d i s i n g o o d c o n diti o n wi t h a n eff e cti v e a g e of 5 y ear s. T h er ef or e, a n u p w ar d
a dj u st m e nt of 1. 0 % w a s w arr a nt e d.

S al e 5 w a s b uilt i n 2 0 0 5 a n d i s i n a v er a g e c o n diti o n wit h a n eff e cti v e a g e of 7 y e ar s. T h er ef or e, a n
u p w ar d a dj u st m e nt of 3. 0 % w a s w arr a nt e d.

C o n str u cti o n Q u alit y
T h e s u bj e ct pr o p ert y c o n si st s of g o o d q u alit y m a s o nr y c o n str u cti o n.

S al e 1 c o n si st s of g o o d cl a s s c - m a s o nr y q u alit y wit h n o a dj u st m e nt w arr a nt e d.

S al e 2 c o n si st s of g o o d cl a s s c - m a s o nr y q u alit y wit h n o a dj u st m e nt w arr a nt e d.

S al e 3 c o n si st s of a v er a g e cl a s s c - m a s o nr y q u alit y wit h n o a dj u st m e nt w arr a nt e d.

S al e 4 c o n si st s of g o o d cl a s s c - m a s o nr y q u alit y wit h n o a dj u st m e nt w arr a nt e d.

S al e 5 c o n si st s of a v er a g e cl a s s c - m a s o nr y q u alit y wit h n o a dj u st m e nt w arr a nt e d.

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D e si g n/ F u n cti o n al Utilit y
S al e 1: a d o w n w ar d a dj u st m e nt of 5. 0 % w a s w arr a nt e d gi v e n it s s u p eri or d e si g n a s a Pi c k ‘ n S a v e st or e.
S al e 2: n o a dj u st m e nt w a s w arr a nt e d.
S al e 3: n o a dj u st m e nt w a s w arr a nt e d.
S al e 4: a d o w n w ar d a dj u st m e nt of 5. 0 % w a s w arr a nt e d gi v e n it s s u p eri or d e si g n a s a Pi c k ‘ n S a v e st or e.
S al e 5: a n u p w ar d a dj u st m e nt of 5. 0 % w a s w arr a nt e d gi v e n it s i nf eri or d e si g n a s a g e n er al m er c h a n di s e
st or e.

L a n d-t o- B uil di n g R ati o
T h e s u bj e ct pr o p ert y h a s a l a n d-t o- b uil di n g r ati o of 4. 2 5-t o- 1.

S al e   1:   a d o w n w ar d a dj u st m e nt of 5. 0 % w a s w arr a nt e d gi v e n it s s u p eri or l a n d t o b uil di n g r ati o.
S al e   2:   a n u p w ar d a dj u st m e nt of 5. 0 % w a s w arr a nt e d gi v e n it s i nf eri or l a n d t o b uil di n g r ati o.
S al e   3:   n o a dj u st m e nt w a s w arr a nt e d.
S al e   4:   a d o w n w ar d a dj u st m e nt of 1 0. 0 % w a s w arr a nt e d gi v e n it s s u p eri or l a n d t o b uil di n g r ati o.
S al e   5:   a d o w n w ar d a dj u st m e nt of 1 0. 0 % w a s w arr a nt e d gi v e n it s s u p eri or l a n d t o b uil di n g r ati o.

P ar ki n g R ati o
T h e s u bj e ct pr o p ert y h a s a p ar ki n g r ati o of 3. 4 5 p er 1, 0 0 0- s q u ar e f e et.

S al e   1:   n o a dj u st m e nt w a s w arr a nt e d.
S al e   2:   n o a dj u st m e nt w a s w arr a nt e d.
S al e   3:   n o a dj u st m e nt w a s w arr a nt e d.
S al e   4:   a d o w n w ar d a dj u st m e nt of 5. 0 % w a s w arr a nt e d gi v e n it s s u p eri or p ar ki n g r ati o.
S al e   5:   a n u p w ar d a dj u st m e nt of 5. 0 % w a s w arr a nt e d gi v e n it s i nf eri or p ar ki n g r ati o.

N o n- R e alt y C o m p o n e nt s of V al u e
N o n-r e alt y c o m p o n e nt s of v al u e i n cl u d e t a n gi bl e it e m s, e q ui p m e nt, a n d b u si n e s s c o n c er n s t h at d o
n ot c o n stit ut e r e al pr o p ert y b ut ar e i n cl u d e d i n eit h er t h e s al e pri c e of t h e c o m p ar a bl e pr o p ert y or t h e
o w n er s hi p i nt er e st i n t h e s u bj e ct pr o p ert y. T h e s e c o m p o n e nt s s h o ul d b e a n al y z e d s e p ar at el y fr o m t h e
r e al pr o p ert y. I n m o st c a s e s, t h e e c o n o mi c li v e s, a s s o ciat e d i n v e st m e nt ri s k s, r at e of r et ur n crit eri a, a n d
c oll at er al s e c urit y f or s u c h n o n-r e alt y c o m p o n e nt s diff er fr o m t h o s e of t h e r e al pr o p ert y.

F ur nit ur e, fi xt ur e s, a n d e q ui p m e nt ar e t y pi c al e x a m pl e s of it e m s t h at m a y b e i n cl u d e d i n a c o m p ar a bl e
s al e. I n a p pr ai s al s of pr o p erti e s i n w hi c h t h e b u si n e s s o p er ati o n i s e s s e nti al t o t h e u s e of t h e r e al
pr o p ert y, t h e c o ntri b ut or y v al u e of t h e n o n-r e alt y c o m p o n e nt m u st b e a n al y z e d. If t h e c o ntri b ut or y
v al u e of t h e n o n-r e alt y c o m p o n e nt c a n n ot b e s e p ar at e d fr o m t h e v al u e of t h e r e al pr o p ert y a s a w h ol e,
it s h o ul d m a k e cl e ar t h at t h e v al u e i n di c ati o n u si ng t h e s al e s c o m p ari s o n a p pr o a c h r efl e ct s b ot h t h e
c o ntri b ut or y v al u e of t h e r e al e st at e a n d t h e v al u e of t h e b u si n e s s o p er ati o n.

I n t h e c a s e of t h e c o m p ar a bl e s al e s, eff ort w a s gi v en t o c o nt a cti n g a p art y t o t h e tr a n s a cti o n i n or d er
t o c o nfir m if t h e p ur c h a s e pri c e i n cl u d e d F F & E. S ev er al of t h e br o k er s r e s p o n d e d t o o ur r e q u e st a n d
c o nfir m e d t h at t h e s al e pri c e o nl y i n cl u d e d t h e r e al e st at e. It i s o ur a s s u m pti o n t h at t h e r e m ai ni n g
pr o p erti e s tr a n s a ct e d i n a si mil ar f a s hi o n.

Tr affi c C o u nt
S al e 1: a d o w n w ar d a dj u st m e nt of 5. 0 % w a s w arr a nt e d d u e t o it s s u p eri or tr affi c c o u nt.
S al e 2: a d o w n w ar d a dj u st m e nt of 1 0. 0 % w a s w arr a nt e d d u e t o it s s u p eri or tr affi c c o u nt.

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S al e 3: n o a dj u st m e nt w a s w arr a nt e d.
S al e 4: a n u p w ar d a dj u st m e nt of 5. 0 % w a s w arr a nt e d d u e t o it s i nf eri or tr affi c c o u nt.
S al e 5: a n u p w ar d a dj u st m e nt of 1 0. 0 % w a s w arr a nt e d d u e t o it s i nf eri or tr affi c c o u nt.

3- Mil e M e di a n H HI
S al e 1: a d o w n w ar d a dj u st m e nt of 1 0. 0 % w a s w arr a nt e d d u e t o it s s u p eri or t hr e e- mil e m e di a n
h o u s e h ol d i n c o m e.
S al e 2: a n u p w ar d a dj u st m e nt of 1 0. 0 % w a s w arr a nt e d d u e t o it s i nf eri or t hr e e- mil e m e di a n h o u s e h ol d
i n c o m e.
S al e 3: a n u p w ar d a dj u st m e nt of 5. 0 % w a s w arr a nt e d d u e t o it s i nf eri or t hr e e- mil e m e di a n h o u s e h ol d
i n c o m e.
S al e 4: a d o w n w ar d a dj u st m e nt of 5. 0 % w a s w arr a nt e d d u e t o it s s u p eri or t hr e e- mil e m e di a n
h o u s e h ol d i n c o m e.
S al e 5: a n u p w ar d a dj u st m e nt of 5. 0 % w a s w arr a nt e d d u e t o it s i nf eri or t hr e e- mil e m e di a n h o u s e h ol d
i n c o m e.

S u m m ar y of A dj ust m e nts
Pr e s e nt e d o n t h e f oll o wi n g p a g e i s a s u m m ar y of t h e a dj u st m e nt s m a d e t o t h e s al e c o m p ar a bl e s. A s
n ot e d e arli er, t h e s e q u a ntit ati v e a dj u st m e nt s w er e b a s e d o n o ur m ar k et r e s e ar c h, b e st j u d g m e nt, a n d
e x p eri e n c e i n t h e a p pr ai s al of si mil ar pr o p erti e s.




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                                                                                                                                                                                                           V A C A NT GR O CERY ST ORE
                                                                                                                                                                                                 S A L E S C O M P A RI S O N A P P R O A C H




                                                                       C O M P A R A B L E S A L E S A D J U S T M E N T G RI D
                                                                  S u bj e ct                           S al e # 1                         S al e # 2                         S al e # 3                          S al e # 4                         S al e # 5
   S al e I D                                                                                          1435771                             1435632                           1435648                             1435708                            1435730
   D at e of V al u e & S al e                                     M a y- 2 0                            J ul y- 1 9               N o v e m b er - 1 8                         J ul y- 1 8                       M ar c h- 1 8                      J ul y- 1 7
   Pr o p ert y N a m e                                     V a c a nt Gr o c er y               Pi c k ' n S a v e               C er m a k Fr e s h                          Sho pko                    Pi c k ' n S a v e -            Tr a ct or S u p pl y
                                                                     St or e                                                                M ar k et                                                 Hi g hl a n d Ri d g e
   N et R e nt a bl e Ar e a                                      3 6, 5 0 0 sf                            6 1, 7 0 0                        7 0, 3 7 5                          2 6, 3 9 5                          5 4, 9 6 6                         2 3, 6 2 7
   L a n d Ar e a ( a cr e s)                                       3. 5 5 9 6                             8. 1 6 1 4                        6. 0 0 0 0                          2. 5 2 0 0                          7. 6 4 1 2                         4. 6 7 5 0
   U n a dj ust e d S al e s Pri c e                                                             $ 1 3, 2 8 9, 3 0 0                   $ 7, 5 0 0, 0 0 0                 $ 3, 6 0 0, 0 0 0                 $ 1 2, 0 4 6, 0 3 3                  $ 3, 6 0 0, 0 0 0
   U n a dj u s t e d S al e s P ri c e P S F of N R A                                                  $ 2 F1 5.L 3S 9E                    $ 1 F0 6.L 5S 7E                  $ 1 F3 6.L 3S 9E                    $ 2 1 9.L 1S 5E                    $ 1 F5 2.L 3S 7E
   T r a n s a cti o n al A dj u s t m e nt s
       P r o p ert y Ri g ht s C o n v e y e d                  L e as e d F e e                   L e as e d F e e                    F e e Si m pl e                   L e as e d F e e                     L e as e d F e e                  L e as e d F e e
              A dj ust e d S al e s Pri c e                                                             $ 2 1 5. 3 9                        $ 1 0 6. 5 7                      $ 1 3 6. 3 9                         $ 2 1 9. 1 5                      $ 1 5 2. 3 7

      Fi n a n ci n g T er m s                                C a s h t o S ell er             C as h t o S ell er                 C as h t o S ell er                C as h t o S ell er                 C as h t o S ell er                C as h t o S ell er
            A dj ust e d S al e s Pri c e                                                              $ 2 1 5. 3 9                        $ 1 0 6. 5 7                       $ 1 3 6. 3 9                        $ 2 1 9. 1 5                       $ 1 5 2. 3 7

      C o n di ti o n s of S al e                                 T y pi c al                    E x c ess L a n d          E x c er cis e d O pti o n                          T y pi c al                         T y pi c al                        T y pi c al
                                                                                                                                      t o P ur c h as e
               A dj ust m e nt                                                                              - 3. 8 %                                    -                                  -                                   -                                  -
               A dj ust e d S al e s Pri c e                                                             $ 2 0 7. 2 8                       $ 1 0 6. 5 7                       $ 1 3 6. 3 9                        $ 2 1 9. 1 5                       $ 1 5 2. 3 7

      E x p e n di t u r e s aft er S al e                                                                         $0                                  $0                              $0                                    $0                                 $0
             A d ju s tm e n t                                                                                      -                                   -                                 -                                   -                                  -
             A dj u s t e d S al e s Pri c e                                                            $ 2 0 7. 2 8                        $ 1 0 6. 5 7                      $ 1 3 6. 3 9                        $ 2 1 9. 1 5                       $ 1 5 2. 3 7
   M ar k et C o n di ti o n s A dj u s t m e n t s
      El a p s e d Ti m e fr o m D at e of V al u e                                                 0. 8 1 y e ar s                     1. 4 3 y e ar s                   1. 7 8 y e ar s                     2. 1 6 y e ar s                    2. 8 2 y e ar s
             M ar k et Tr e n d T hr o u g h                      M a y- 2 0                                 1. 6 %                              2. 9 %                            3. 6 %                              4. 3 %                             5. 6 %
   A n al y z e d S al e s P ri c e                                                                     $ 2 1 0. 6 3                        $ 1 0 9. 6 2                      $ 1 4 1. 2 5                        $ 2 2 8. 6 0                       $ 1 6 0. 9 6
   Pr o p ert y A dj u s t m e nt s
      L o c ati o n                                       1 5 0 C o m m er c e Dr     3 6 9 0 3 E Wis c o nsi n              1 5 4 1 Mill er P ar k             4 0 6 G at e w a y A v e                   3 0 1 F alls R d           1 9 1 1 M ar k et W a y
                                                                                                              Ave                              W ay
                                                         C ol u m b us, Wis c o nsi n        O c o n o m o w o c,                    Mil w a u k e e,                       M a ust o n,          Gr aft o n, Wis c o nsi n                     W at ert o w n,
                                                                                                    Wis c o nsi n                      Wis c o nsi n                       Wis c o nsi n                                                          Wis c o nsi n
               A dj ust m e nt                                                                             - 1 0. 0 %                         - 1 0. 0 %                             5. 0 %                         - 1 0. 0 %                                       -

      Si z e                                                     3 6, 5 0 0 sf                        6 1, 7 0 0 sf                       7 0, 3 7 5 sf                     2 6, 3 9 5 sf                       5 4, 9 6 6 sf                      2 3, 6 2 7 sf
               A dj ust m e nt                                                                                 7. 0 %                              9. 0 %                           - 6. 0 %                            5. 0 %                            - 7. 0 %

      A g e / C o n di ti o n            Y e ar B ui t              2015                                   2008                                2012                                2015                              2008                                 2005
                                        C o n diti o n              Good                                   Good                                Good                           A v er a g e                           Good                            A v er a g e
                                  Eff e cti v e A g e             4 y e ar s                             5 y e ar s                          5 y e ar s                         2 y e ar s                         5 y e ar s                          7 y e ar s
                                 E c o n o mi c Lif e            4 0 Y e ar s                          4 0 Y e ar s                        4 0 Y e ar s                      4 0 Y e ar s                        4 0 Y e ar s                       4 0 Y e ar s
               A dj ust m e nt                                                                              1. 0 %                              1. 0 %                            - 2. 0 %                            1. 0 %                               3. 0 %

      C o n s tr u cti o n Q u ali t y                       G o o d Cl ass C -             G o o d Cl ass C -                  G o o d Cl ass C -              A v er a g e Cl ass C -                G o o d Cl ass C -             A v er a g e Cl ass C -
                                                                  M as o nr y                        M as o nr y                         M as o nr y                         M as o nr y                        M as o nr y                        M as o nr y
               A d ju s tm e n t                                                                                        -                                   -                                -                                    -                                  -

      D e si g n / F u n cti o n al Utili t y                     A v er a g e            A b o v e A v er a g e                  A v er a g e                       A v er a g e                   A b o v e A v er a g e             B el o w A v er a g e
             A dj ust m e nt                                                                                 - 5. 0 %                                       -                                -                        - 5. 0 %                              5. 0 %

      L a n d-t o - B uil di n g R ati o                         4. 2 5-t o - 1                       5. 7 6-t o - 1                     3. 7 1-t o - 1                     4. 1 6-t o - 1                      6. 0 6-t o - 1                     8. 6 2-t o- 1
            A dj ust m e nt                                                                                 - 5. 0 %                            5. 0 %                                       -                      - 1 0. 0 %                         - 1 0. 0 %

      P ar ki n g R ati o                                    3. 4 5 p er 1, 0 0 0            4. 8 3 p er 1, 0 0 0               4. 6 9 p er 1, 0 0 0                3. 7 1 p er 1, 0 0 0               7. 2 8 p er 1, 0 0 0               1. 6 9 p er 1, 0 0 0
            A dj ust m e nt                                                                                             -                                   -                                -                     - 5. 0 %                             5. 0 %

      N o n - R e al t y C o m p o n e nt s                         FF&E                               N o FF &E                          N o FF &E                         N o FF &E                            N o FF &E                          N o FF &E
             A dj ust m e nt                                                                               1 0. 0 %                           1 0. 0 %                          1 0. 0 %                             1 0. 0 %                           1 0. 0 %

      T r affi c C o u nt                                          1 2, 5 0 0                              2 1, 7 0 0                         3 9, 3 0 0                        1 1, 1 0 0                            6, 0 0 0                            4, 3 0 0
            A dj ust m e nt                                                                                  - 5. 0 %                         - 1 0. 0 %                                     -                          5. 0 %                           1 0. 0 %

      3- Mil e M e di a n H HI                                    $ 6 8, 8 5 6                          $ 9 0, 7 3 1                        $ 3 8, 5 6 2                      $ 5 0, 8 5 1                        $ 8 4, 5 4 0                       $ 4 7, 4 9 5
           A dj ust m e nt                                                                                - 1 0. 0 %                           1 0. 0 %                             5. 0 %                            - 5. 0 %                             5. 0 %
           N et P h ysi c al A dj ust m e nt                                                              - 1 7. 0 %                           1 5. 0 %                          1 2. 0 %                           - 1 4. 0 %                          2 1. 0 %
   A dj u s t e d S al e s Pri c e P S F of N R A                                                       $ 1 7 4. 8 3                        $ 1 2 6. 0 6                      $ 1 5 8. 2 1                        $ 1 9 6. 6 0                       $ 1 9 4. 7 6




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                                                                                                                              S A L E S C O M P A RI S O N A P P R O A C H




S al es C o m p aris o n A p pr o a c h Val u e I n di c ati o n
Fr o m t h e m ar k et d at a a v ail a bl e, w e u s e d r et ail s al e s i n c o m p etiti v e m ar k et ar e a s w hi c h w er e a dj u st e d
b a s e d o n p erti n e nt el e m e nt s of c o m p ari s o n. T h e f oll o wi n g t a bl e s u m m ari z e s t h e u n a dj u st e d a n d
a dj u st e d s al e pri c e s:

                  I m pr o v e d S al e s St ati s ti c s
                  M etri c                                                    U n a dj u s t e d            A n al y z e d                  A dj u s t e d
                  Mi ni m u m S al e Pri c e p er S q. Ft.                         $ 1 0 6. 5 7              $ 1 0 9. 6 2                      $ 1 2 6. 0 6
                  M a xi m u m S al e Pri c e p er S q. F t                         $ 2 1 9. 1 5               $ 2 2 8. 6 0                    $ 1 9 6. 6 0
                  M e di a n S al e Pri c e p er S q. Ft.                           $ 1 5 2. 3 7               $ 1 6 0. 9 6                    $ 1 7 4. 8 3
                  M e a n S al e Pri c e p er S q. Ft.                              $ 1 6 5. 9 7               $ 1 7 0. 2 1                    $ 1 7 0. 0 9


T h e m o st c o m p ar a bl e of t h e s al e s u s e d w er e n u m b er s 1, 2 a n d 3 a s t h e y w er e t h e m o st r e c e nt s al e s
wit h t h e l e a st a m o u nt of a dj u st m e nt s. T h e a dj u st e d pri c e s f or t h e s e s al e s r a n g e d fr o m $ 1 2 6. 0 6 t o
$ 1 7 4. 8 3 p er s q u ar e f o ot, wit h a n a v er a g e of $ 1 5 3. 0 3 p er s q u ar e f o ot a n d a m e di a n of $ 1 5 8. 2 1 p er
s q u ar e f o ot.

B a s e d o n t h e a dj u st e d pri c e s a n d t h e m o st c o m p ar a bl e s al e s a n d t h e a v er a g e of t h e o v er all c o m p ar a bl e
s al e s r a n g e, a u nit v al u e f or t h e s u bj e ct pr o p ert y i s n e ar t h e mi d dl e of t h e a dj u st e d o v er all r a n g e, or
$ 1 6 5. 0 0 p er s q u ar e f o ot. T hi s i n di c at e d a pr eli mi n ar y pr o s p e cti v e u p o n st a bili z at i o n l e a s e d f e e m ar k et
v al u e i n di c ati o n of $ 6, 0 2 0, 0 0 0.

Pr os p e cti v e U p o n St a bili z ati o n L e as e d F e e M ar k et Va l u e I n di c ati o n
L e a s e- U p Di s c o u nt
A s di s c u s s e d i n t h e I n c o m e C a pit ali z ati o n A p pr o a c h , t h e l e a s e- u p di s c o u nt of $ 2, 2 3 0, 0 0 0 w a s d e d u ct e d
fr o m t h e pr eli mi n ar y v al u e e sti m at e.

B a s e d o n t hi s a n al y si s, t h e s al e s c o m p ari s o n i n di c ati o n s ar e s u m m ari z e d a s f oll o w s:

   I m pr o v e d S al e s C o m p ari s o n A p pr o a c h V al u e I n di c ati o n s
   R e a s o n a bl e A dj ust e d C o m p ar a bl e R a n g e
          3 6, 5 0 0 sf                                                   x                  $ 1 6 0. 0 0                      =                       $ 5, 8 4 0, 0 0 0

          3 6, 5 0 0 sf                                                   x                  $ 1 7 0. 0 0                      =                       $ 6, 2 0 5, 0 0 0

   Pr o s p e cti v e U p o n St a bili z ati o n L e a s e d F e e M ar k et V al u e I n di c ati o n
          3 6, 5 0 0 sf                                                   x                  $ 1 6 5. 0 0                      =                       $ 6, 0 2 0, 0 0 0
          L e s s L e a s e - U p Di s c o u nt:                                                                                                       $ 2, 2 3 0, 0 0 0
   A s I s F e e Si m pl e M ar k et V al u e I n di c ati o n                                                                                         $ 3, 7 9 0, 0 0 0




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                                                                                                                I N C O M E C A PI T A LI Z A TI O N A P P R O A C H



I n c o m e C a pit ali z ati o n A p pr o a c h
M et h o d ol o g y
T h e i n c o m e c a pit ali z ati o n a p pr o a c h i s d e v el o p e d b y c o n v erti n g a nti ci p at e d f ut ur e i n c o m e i nt o a
pr e s e nt v al u e b y a c a pit ali z ati o n pr o c e s s. T h er e ar e t w o t y p e s of c a pit ali z ati o n: dir e ct c a pit ali z ati o n a n d
yi el d c a pit ali z ati o n, m or e c o m m o nl y k n o w n a s di s c o u nt e d c a s h fl o w ( D C F) a n al y si s.

I n c o m e- pr o d u ci n g pr o p erti e s, b y n at ur e, ar e d ev el o p e d a n d p ur c h a s e d f or i n v e st m e nt p ur p o s e s,
w h er e e ar ni n g p o w er, i n cl u di n g a n i n c o m e str e a m a n d r et ur n of i n v e st m e nt, ar e t h e m o st criti c al
el e m e nt s aff e cti n g v al u e. T h e f or e c a st of i n c o m e a n d s el e cti o n of a p pr o pri at e r at e( s) ar e t h er ef or e
i m p ort a nt a s p e ct s of t h e v al u ati o n pr o c e s s. T h e pr o c e s s of d e v el o pi n g t h e i n c o m e a p pr o a c h c o n si st s
of t h e f oll o wi n g a n al y s e s: M ar k et R e nt A n al y si s, I n c o m e A n al y si s, V a c a n c y A n al y si s, E x p e n s e A n al y si s,
a n d R at e A n al y si s.

Fr e e st a n di n g b uil di n g s l e a s e d t o cr e dit r at e d t e n a nt s t y pi c all y f e at ur e l o n g-ter m l e a s e s wit h fl at or st e a dil y
i n cr e a si n g r e nt al r at e s. P arti ci p a nt s i n t h e N N N, or “ Net L e a s e d”, m ar k et u s e t h e dir e ct c a pit ali z ati o n m et h o d
t o d e v el o p a n i n di c ati o n of m ar k et v al u e. W e u s e d t h e s a m e m et h o d h er ei n.

I n c o m e A n al ysis
T h e s u bj e ct pr o p ert y i s c urr e ntl y v a c a nt a n d t h er ef or e, a c o m p ari s o n of m ar k et r e nt s w a s n e c e s s ar y t o
e st a bli s h a r e nt f or t h e s u bj e ct pr o p ert y u p o n st a bili z ati o n.

Esti m at e of M ar k et R e nt
T o d e v el o p a n o pi ni o n of m ar k et r e nt, w e s ur v e y e d r e pr e s e nt ati v e s of c o m p ar a bl e a n d c o m p etiti v e
pr o p erti e s i n t h e l o c al m ar k et ar e a, f o c u si n g o n t h o s e off eri n g t h e gr e at e st si mil arit y i n t er m s of
l o c ati o n, si z e a n d m ar k et a p p e al. W e u s e d f o ur r e nt c o m p ar a bl e s t o d eri v e a n a p pr o pri at e m ar k et r e nt
f or t h e s u bj e ct pr o p ert y. F oll o wi n g i s a t a bl e s u m m arizi n g e a c h r e nt c o m p ar a bl e a n d a m a p ill u str ati n g
t h e l o c ati o n of e a c h c o m p ar a bl e i n r el ati o n t o t h e s u bj e ct. D et ail s of e a c h c o m p ar a bl e f oll o w t h e
l o c ati o n m a p.




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             R e nt C o m p ar a bl e S u m m ar y
             C o m p.    D at e of               C o m p. Pr o p ert y                                                                                                                                               Y e ar      Pr o p ert y       R e nt al         L e as e
             N o.       S ur v e y / L e as e    Ty pe       Na me                                                          L o c ati o n                                                                           B uil t O c c u p a n c y R at e / S F      Str u ct u r e
             1            M ar c h- 1 9          L e as e    Pi c k' n S a v e                                               2 0 5 C e ntr al Bri d g e St              W a us a u, Wi s c o nsi n                   2001          1 0 0. 0 %      $ 1 1. 4 1   Tri pl e N et
             2          J a n u ar y- 1 8        L e as e    Pi c k n' S a v e                                               2 5 3 8 Ir o n w o o d Dri v e           S u n Pr airi e, Wi s c o nsi n                2008          1 0 0. 0 %      $ 1 2. 8 8   Tri pl e N et
             3            O ct o b er - 1 7      L e as e    F e sti v al F o o d s - T h e S h o p p e s at H al e Dri v e 1 2 3 H al e Dr                            H ol m e n, Wi s c o nsi n                    2017          1 0 0. 0 %      $ 1 4. 4 8   Tri pl e N et
             4            M a y- 1 7             L e as e    Fr e s h T h y m e F ar m er s M ar k et                         N 8 9 W 1 6 8 4 9 A p pl et o n A v e     M e n o m o n e e F all s, Wi s c o nsi n    2017          1 0 0. 0 %      $ 1 4. 0 0   Tri pl e N et




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                                                                    R     E T AI L   R   E NT   C   O M P A R A BLE   1




Pr o p ert y I d e ntifi c ati o n
  Pr o p ert y / R e nt I D                    1 1 0 0 0 0 2 0/ 4 5 3 1 9 2
  Pr o p ert y T y p e                         Fr e e St a n di n g B uil di n g
  Pr o p ert y N a m e                         Pi c k ‘ n S a v e
  A d dr e s s                                 2 0 5 C e ntr al Bri d g e St
  Cit y, St at e Zi p                          W a u s a u, Wi s c o n si n 5 4 4 0 1
  C o u nt y                                   M ar at h o n
  MS A                                         W a us a u
  L atit u d e / L o n git u d e               4 4. 9 6 7 2 0 4/- 8 9. 6 3 4 7 2 7
  TaxI D                                       2 9 1- 2 9 0 7- 2 6 1- 0 9 5 5

Tr a n s a cti o n D at a
  L ess e e                                    Pi c k ‘ n S a v e                                         R e n e w al D et ail               2 1 0 Y e ar O pti o n s
  T e n a nt S F                               6 7, 9 5 1                                                 C o n c e s si o n s / S F          $. 0 0
  E ntir e Bl d g L e a s e                    Y es                                                       C o n c e s si o n s D et ail       None
  L e a s e St at u s                          R e n e w al                                               % / O v er a g e Cl a u s e         No
  L e a s e Si g n e d                         1 2- 0 1- 2 0 1 8                                          R e nt E s c al ati o n             1 0 % e v er y 5 y e ar s
  C o m m e n c e m e nt                       0 3- 0 1- 2 0 1 9                                          Pr o p ert y O c c u p a n c y      1 0 0. 0 %
  E x pir ati o n                              0 2- 2 8- 2 0 2 9
  T er m ( m o s.)                             120                                                        R e nt al R at e s
  L e as e T y p e                             Tri pl e N et                                              I niti al R e nt / S F              $ 1 1. 4 1
  E x p e n s e St o p                         No                                                         C urr e nt R e nt / S F             $ 1 1. 4 1
  R e n e w al O pti o n s                     Y es                                                       Eff e cti v e R e nt / S F          $ 1 1. 4 1

Pr o p ert y D e s cri pti o n
  Gr o s s B uil di n g S F                   6 7, 9 5 1                                                  Occ u p a nc y T y p e              T e n a nt o c c u pi e d
  N et R e nt a bl e S F                      6 7, 9 5 1                                                  B uil di n g Q u alit y             Good
  Y e ar B uilt                               2001                                                        B uil di n g C o n diti o n         Good
  I n v e st m e nt Cl a s s                  C                                                           St ori e s                          1
  T e n a nc y                                Si n gl e- T e n a nt                                       S p ri n kl er s                    W et s y st e m

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  P ar ki n g S p a c e s                     406                                              Flr. Ar e a R ati o ( F A R)     0. 1 6
  P k g / 1, 0 0 0 S F G B A                  5. 9 7                                           L a n d t o Bl d g R ati o       6. 1 9
  P k g / 1, 0 0 0 S F N R A                  5. 9 7                                           Acc ess                          Good
  Gr o s s A cr e s                           9. 6 6 0 0 0                                     Vi si bilit y                    Good
  U s a bl e A cr e s                         9. 6 6 0 0 0                                     C or n er /I nt eri or           I nt eri or

  V erifi c ati o n
  C o nfir m e d Wit h                         C o St ar a n d P u bli c R e c or d s
  C o nfir m e d B y                           V al bri d g e Pr o p ert y A d vi s or s | C hi c a g o
  C o nfir m ati o n D at e                    1 1- 0 8- 2 0 1 9

  R e m ar k s
  T hi s c o m p ar a bl e r e pr e s e nt s t h e s al e of a fr e e st a n di n g Pi c k ‘ n S a v e gr o c er y st or e l o c at e d at 2 0 5 C e ntr al
  Bri d g e St, W a u s a u, Wi s c o n si n. T h e 6 7, 9 5 1- s q u ar e f o ot b uil di n g i s sit u at e d al o n g t h e Wi s c o n si n Ri v er o n
  a 9. 6 6- a cr e sit e a n d w a s b uilt i n 2 0 0 1. T h e pr o p ert y i s s u bj e ct t o a l e a s e t h at c o m m e n c e d i n 2 0 0 1 t h at
  w a s r e c e ntl y r e n e w e d f or a n ot h er 1 0 y e ar s at a r at e $ 1 1. 4 1 p er s q u ar e f o ot, o n a tri pl e n et b a si s wit h
  e s c al ati o n s e v er y fi v e y e ar s. T h e c urr e nt l e a s e e xt e n si o n e x pir e s i n F e br u ar y of 2 0 2 9.




© 2 01 9 V A L B RI D G E P R O P E R T Y A D VI S O R S | C hi c a g o                                                                                   P a g e 11 0
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                                                                                                                                              V A C A NT GR O CERY ST ORE
                                                                                                                               I N C O M E C A PI T A LI Z A TI O N A P P R O A C H


                                                                    R     E T AI L   R   E NT   C   O M P A R A BLE   2




Pr o p ert y I d e ntifi c ati o n
  Pr o p ert y / R e nt I D                    1 0 9 2 7 9 7 3/ 4 5 3 2 2 1
  Pr o p ert y T y p e                         Fr e e St a n di n g B uil di n g
  Pr o p ert y N a m e                         Pi c k n' S a v e
  A d dr e s s                                 2 5 3 8 Ir o n w o o d Dri v e
  Cit y, St at e Zi p                          S u n Pr airi e, Wi s c o n si n 5 3 5 9 0
  C o u nt y                                   Dane
  MS A                                         M a di s o n
  L atit u d e / L o n git u d e               4 3. 1 8 6 1 2 2/- 8 9. 2 6 2 0 2 1
  TaxI D                                       0 8 1 0- 0 1 3- 2 5 0 1- 2

Tr a n s a cti o n D at a
  L ess e e                                    Pi c k N S a v e                                           R e n e w al D et ail               4 Fi v e Y e ar O pti o n s
  T e n a nt S F                               5 9, 5 0 0                                                 C o n c e s si o n s / S F          $. 0 0
  E ntir e Bl d g L e a s e                    No                                                         C o n c e s si o n s D et ail       None
  L e a s e St at u s                          E x e c ut e d                                             R e nt E s c al ati o n             1 0 % e v er y 5 y e ar s
  L e a s e Si g n e d                         1 2- 0 1- 2 0 1 7                                          Pr o p ert y O c c u p a n c y      1 0 0. 0 %
  C o m m e n c e m e nt                       0 1- 0 1- 2 0 1 8
  E x pir ati o n                              1 2- 3 1- 2 0 2 7                                          R e nt al R at e s
  T er m ( m o s.)                             120                                                        I niti al R e nt / S F              $ 1 2. 8 8
  L e as e T y p e                             Tri pl e N et                                              C urr e nt R e nt / S F             $ 1 2. 8 8
  E x p e n s e St o p                         No                                                         Eff e cti v e R e nt / S F          $ 1 2. 8 8
  R e n e w al O pti o n s                     Y es

Pr o p ert y D e s cri pti o n
  Gr o s s B uil di n g S F                   6 1, 0 4 8                                                  Occ u p a nc y T y p e              T e n a nt o c c u pi e d
  N et R e nt a bl e S F                      6 1, 0 4 8                                                  B uil di n g Q u alit y             A v er a g e
  Y e ar B uilt                               2008                                                        B uil di n g C o n diti o n         Good
  I n v e st m e nt Cl a s s                  C                                                           St ori e s                          1
  T e n a nc y                                Si n gl e- T e n a nt                                       S p ri n kl er s                    W et s y st e m

© 2 01 9 V A L B RI D G E P R O P E R T Y A D VI S O R S | C hi c a g o                                                                                                   P a g e 111
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                                                                                                                                V A C A NT GR O CERY ST ORE
                                                                                                                 I N C O M E C A PI T A LI Z A TI O N A P P R O A C H


  P ar ki n g S p a c e s                     334                                              Flr. Ar e a R ati o ( F A R)     0. 1 7
  P k g / 1, 0 0 0 S F G B A                  5. 4 7                                           L a n d t o Bl d g R ati o       5. 9 7
  P k g / 1, 0 0 0 S F N R A                  5. 4 7                                           Acc ess                          A v er a g e
  Gr o s s A cr e s                           8. 3 7 0 0 0                                     Vi si bilit y                    Good
  U s a bl e A cr e s                         8. 3 6 9 9 9                                     C or n er /I nt eri or           C or n er

  V erifi c ati o n
  C o nfir m e d Wit h                         C o St ar a n d Br o k er
  C o nfir m e d B y                           V al bri d g e Pr o p ert y A d vi s or s | C hi c a g o
  C o nfir m ati o n D at e                    1 1- 0 8- 2 0 1 9

  R e m ar k s
  T hi s c o m p ar a bl e r e pr e s e nt s t h e l e a s e of a fr e e st a n di n g Pi c k ‘ n S a v e gr o c er y st or e l o c at e d at 2 5 3 8 Ir o n w o o d
  Dr, S u n Pr airi e, Wi s c o n si n. T h e b uil di n g i s l o c at e d wi t hi n t h e Pr airi e C e nt er s h op pi n g pl a z a t h at f e at ur e s
  s e v er al ot h er o utl ot b uil di n g s. T h e 5 9, 5 0 0- s q u ar e f o ot b uil di n g i s sit u at e d al o n g t h e c or n er of Wi n d s or
  Str e et a n d N. Gr a n d A v e n u e o n a 8. 3 7 - a cr e sit e a n d w a s b uilt i n 2 0 0 8. T h e pr o p ert y i s s u bj e ct t o a 1 0- y e ar
  l e a s e t h at c o m m e n c e d i n i n J a n u ar y of 2 0 1 8 at a r at e $ 1 2. 8 8 p er s q u ar e f o ot, o n a tri pl e n et b a si s wit h
  e s c al ati o n s e v er y fi v e y e ar s. T h e c urr e nt l e a s e e xt e n si o n e x pir e s i n D e c e m b er 3 1, 2 0 2 7




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                                                                                                                               I N C O M E C A PI T A LI Z A TI O N A P P R O A C H


                                                                    R     E T AI L   R   E NT   C   O M P A R A BLE   3




Pr o p ert y I d e ntifi c ati o n
  Pr o p ert y / R e nt I D                    1 0 9 9 9 9 8 2/ 4 5 3 1 7 1
  Pr o p ert y T y p e                         Fr e e St a n di n g B uil di n g
  Pr o p ert y N a m e                         F e sti v al F o o d s - T h e S h o p p e s at H al e Dri v e
  A d dr e s s                                 1 2 3 H al e Dr
  Cit y, St at e Zi p                          H ol m e n, Wi s c o n si n 5 4 6 3 6
  C o u nt y                                   L a Cr o s s e
  MS A                                         L a Cr o s s e, WI- M N
  L atit u d e / L o n git u d e               4 3. 9 5 2 9 8 2/- 9 1. 2 5 7 8 5 5

Tr a n s a cti o n D at a
  L ess e e                                    F e sti v al F o o d s                                     R e n e w al D et ail               3 Fi v e Y e ar O pti o n s
  S uit e N o.                                 100                                                        C o n c e s si o n s / S F          $. 0 0
  T e n a nt S F                               7 5, 0 0 0                                                 C o n c e s si o n s D et ail       None
  E ntir e Bl d g L e a s e                    Y es                                                       % / O v er a g e Cl a u s e         No
  L e a s e St at u s                          E x e c ut e d                                             R e nt E s c al ati o n             5 % e v er y 5 y e ar s
  L e a s e Si g n e d                         1 0- 0 1- 2 0 1 7                                          Pr o p ert y O c c u p a n c y      1 0 0. 0 %
  C o m m e n c e m e nt                       1 0- 0 1- 2 0 1 7
  E x pir ati o n                              0 9- 3 0- 2 0 3 2                                          R e nt al R at e s
  T er m ( m o s.)                             180                                                        I niti al R e nt / S F              $ 1 4. 4 8
  L e as e T y p e                             Tri pl e N et                                              C urr e nt R e nt / S F             $ 1 4. 4 8
  E x p e n s e St o p                         No                                                         Eff e cti v e R e nt / S F          $ 1 4. 4 8
  R e n e w al O pti o n s                     Y es

Pr o p ert y D e s cri pti o n
  Gr o s s B uil di n g S F                   8 5, 2 0 0                                                  Occ u p a nc y T y p e              T e n a nt o c c u pi e d
  N et R e nt a bl e S F                      8 5, 2 0 0                                                  B uil di n g Q u alit y             Good
  Y e ar B uilt                               2017                                                        B uil di n g C o n diti o n         Good
  I n v e st m e nt Cl a s s                  C                                                           St ori e s                          1
  T e n a nc y                                M ulti- T e n a nt                                          S p ri n kl er s                    W et s y st e m

© 2 01 9 V A L B RI D G E P R O P E R T Y A D VI S O R S | C hi c a g o                                                                                                   P a g e 11 3
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                                                                                                                                V A C A NT GR O CERY ST ORE
                                                                                                                 I N C O M E C A PI T A LI Z A TI O N A P P R O A C H


  P ar ki n g S p a c e s                     300                                              Flr. Ar e a R ati o ( F A R)     0. 2 1
  P k g / 1, 0 0 0 S F G B A                  3. 5 2                                           L a n d t o Bl d g R ati o       4. 6 7
  P k g / 1, 0 0 0 S F N R A                  3. 5 2                                           Acc ess                          A v er a g e
  Gr o s s A cr e s                           9. 1 3 0 0 0                                     Vi si bilit y                    A v er a g e
  U s a bl e A cr e s                         9. 1 3 0 0 0                                     C or n er /I nt eri or           I nt eri or

  V erifi c ati o n
  C o nfir m e d Wit h                         C o St ar a n d P u bli c R e c or d s
  C o nfir m e d B y                           V al bri d g e Pr o p ert y A d vi s or s | C hi c a g o
  C o nfir m ati o n D at e                    1 1- 0 8- 2 0 1 9

  R e m ar k s
  T hi s c o m p ar a bl e r e pr e s e nt s t h e s al e of a fr e e st a n di n g F e sti v al F o o d s gr o c er y st or e l o c at e d at 1 2 3 H al e
  Dri v e i n H ol m e n, L a Cr o s s e C o u nt y, Wi s c o n si n. T h e 7 5, 0 0 0- s q u ar e f o ot b uil di n g i s sit u at e d o n a 9. 1 3- a cr e
  sit e a n d w a s b uilt i n 2 0 1 7. T h e pr o p ert y i s s u bj e ct t o a l e a s e t h at c o m m e n c e d i n O ct o b er 2 0 1 7 f or a t er m
  of 1 5 y e ar s, wit h t hr e e 5- y e ar r e n e w al o pti o n s. B a s e r e nt w a s $ 1 4. 4 8 p er s q u ar e f o ot, o n a tri pl e n et b a si s,
  wit h fi v e p er c e nt e s c al ati o n s at e a c h fi v e- y e ar p eri o d, i n cl u di n g o pti o n t er m s. T h e c e nt er i s k n o w n a s t h e
  S h o p p e s at H al e Dri v e t h at i n cl u d e s t hi s gr o c er y st or e a n d a 1 0, 2 0 0- s q u ar e f o ot stri p c e nt er.




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                                                                                                                               I N C O M E C A PI T A LI Z A TI O N A P P R O A C H


                                                                    R     E T AI L   R   E NT   C   O M P A R A BLE   4




Pr o p ert y I d e ntifi c ati o n
  Pr o p ert y / R e nt I D                    1 1 0 0 0 0 1 2/ 4 5 3 1 8 7
  Pr o p ert y T y p e                         Fr e e St a n di n g B uil di n g
  Pr o p ert y N a m e                         Fr e s h T h y m e F ar m er s M ar k et
  A d dr e s s                                 N 8 9 W 1 6 8 4 9 A p pl et o n A v e
  Cit y, St at e Zi p                          M e n o m o n e e F all s, Wi s c o n si n 5 3 0 5 1
  C o u nt y                                   W a u k es h a
  MS A                                         Mil w a u k e e- W a u k e s h a
  L atit u d e / L o n git u d e               4 3. 1 7 9 9 9 5/- 8 8. 1 1 9 7 9 0
  TaxI D                                       M N F V- 0 0 1 1- 0 6 5- 0 0 6

Tr a n s a cti o n D at a
  L ess e e                                    Fr e s h T h y m e                                         R e n e w al O pti o n s            Y es
  T e n a nt S F                               2 9, 0 5 0                                                 C o n c e s si o n s / S F          $. 0 0
  E ntir e Bl d g L e a s e                    Y es                                                       C o n c e s si o n s D et ail       None
  L e a s e St at u s                          E x e c ut e d                                             R e nt E s c al ati o n             7 % e v er y 5 y e ar s
  L e a s e Si g n e d                         1 2- 1 2- 2 0 1 6                                          Pr o p ert y O c c u p a n c y      1 0 0. 0 %
  C o m m e n c e m e nt                       0 5- 1 7- 2 0 1 7
  E x pir ati o n                              0 5- 1 6- 2 0 3 2                                          R e nt al R at e s
  T er m ( m o s.)                             180                                                        I niti al R e nt / S F              $ 1 4. 0 0
  L e as e T y p e                             Tri pl e N et                                              C urr e nt R e nt / S F             $ 1 4. 0 0
  E x p e n s e St o p                         No                                                         Eff e cti v e R e nt / S F          $ 1 4. 0 0

Pr o p ert y D e s cri pti o n
  Gr o s s B uil di n g S F                   2 9, 0 5 0                                                  B uil di n g Q u alit y             Good
  N et R e nt a bl e S F                      2 9, 0 5 0                                                  B uil di n g C o n diti o n         Good
  Y e ar B uilt                               2017                                                        St ori e s                          1
  I n v e st m e nt Cl a s s                  C                                                           S p ri n kl er s                    W et s y st e m
  T e n a nc y                                Si n gl e- T e n a nt                                       P ar ki n g S p a c e s             160
  Occ u p a nc y T y p e                      T e n a nt o c c u pi e d                                   P k g / 1, 0 0 0 S F G B A          5. 5 1

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                                                                                                                  I N C O M E C A PI T A LI Z A TI O N A P P R O A C H


  P k g / 1, 0 0 0 S F N R A                  5. 5 1                                           L a n d t o Bl d g R ati o        5. 8 3
  Gr o s s A cr e s                           3. 8 9 0 0 0                                     Acc ess                           Good
  U s a bl e A cr e s                         3. 8 9 0 0 0                                     Vi si bilit y                     Good
  Flr. Ar e a R ati o ( F A R)                0. 1 7                                           C or n er /I nt eri or            C or n er

  V erifi c ati o n
  C o nfir m e d Wit h                         C o St ar a n d Br o k er
  C o nfir m e d B y                           V al bri d g e Pr o p ert y A d vi s or s | C hi c a g o
  C o nfir m ati o n D at e                    1 1- 0 8- 2 0 1 9

  R e m ar k s
  T hi s i s t h e l e a s e of a n e wl y c o n str u ct e d ( 2 0 1 7), 1 0 0 % o c c u pi e d gr o c er y st or e wit h 2 9, 0 5 0 of r e nt a bl e s q u ar e
  f e et. It sit s a s a n e n d c a p t o a 5 8, 0 1 0- sf c e nt er wit h Pl a n et Fit n e s s a s t h e ot h er c o - a n c h or. T h e sit e it s elf
  off er s g o o d vi si bilit y a n d fr o nt a g e al o n g A p pl et o n A v e n u e ( 1 6, 8 0 0 V P D) a n d i s l o c at e d i n a str o n g
  Mil w a u k e e S u b ur b o nl y 1 4 mil e s n ort h w e st of Mil w a u k e e' s C B D. T h e l e a s e i s wit h L a k e s V e nt ur e, L L C w hi c h
  i s Fr e s h T h y m e' s c or p or at e e ntit y wit h o v er 7 5 l o c ati o n s. T h e ori gi n al l ea s e t er m i s f or 1 5 y e ar s a n d t h er e
  i s a p pr o xi m at el y 1 3 y e ar s of t er m r e m ai ni n g wit h r e nt i n cr e a s e s of $ 1. 0 0/ sf ( +/- 7. 0 0 %) e v er y 5 y e ar s. T h e
  l e a s e h a s a c or p or at e g u ar a nt e e a n d t h e b a s e l e a se t er m i s s c h e d ul e d t o e x pir e i n M a c h 2 0 3 2. T h e
  s h o p pi n g c e nt er i s m a n a g e d b y t h e n ei g h b ori n g o w n er, s o t h er e i s mi ni m al L a n dl or d r e s p o n si bilit y.




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M ar k et R e nt A n al ysis
W h e n n e c e s s ar y, a dj u st m e nt s w er e         m a d e f or diff er e n c e s i n t h e v ari o u s el e m e nt s of c o m p ari s o n,
i n cl u di n g l e a s e str u ct ur e, m ar k et c o n diti o n s, l o c ati o n, si z e a n d ot h er r el e v a nt f a ct or s. If t h e el e m e nt i n
c o m p ari s o n i s c o n si d er e d s u p eri or t o t h at of t h e s u bj e ct, w e a p pli e d a n e g ati v e a dj u st m e nt. C o n v er s el y,
a p o siti v e a dj u st m e nt i s a p pli e d if i nf eri or. A s u m m ar y of t h e el e m e nt s of c o m p ari s o n f oll o w s.

Tr a ns a cti o n A dj ust m e nts
Tr a n s a cti o n a dj u st m e nt s i n cl u d e: e x p e n s e str u ct ur e, c o n c e s si o n s, t e n a nt i m pr o v e m e nt all o w a n c e s a n d
c o n diti o n s of l e a s e. T h e s e it e m s, w hi c h ar e a p p li e d pri or t o t h e m ar k et c o n diti o n s a n d pr o p ert y
a dj u st m e nt s, ar e di s c u s s e d a s f oll o w s:

E x p e n s e Str u ct ur e
T h e m ar k et r e nt e sti m at e i s b a s e d o n a tri pl e n et l e a s e str u ct ur e. A s t h e r e nt c o m p ar a bl e s e x hi bit e d
r e nt al r at e s n e g oti at e d o n t h e s a m e b a si s, n o e x p e n s e str u ct ur e a dj u st m e nt s w er e w arr a nt e d.

R e nt al C o n c e s si o n s
N o r e nt c o m p ar a bl e s w er e r e p ort i n g r e nt al c o n c e s si o n s u p o n t h e d at e of v al u e. T h er ef or e, n o
a dj u st m e nt s d u e t o r e nt al c o n c e s si o n s w er e r e q uir e d.

R e nt al    1:   no   a dj u st    m e nt     w as    w arr a nt e d.
R e nt al    2:   no   a dj u st    m e nt     w as    w arr a nt e d.
R e nt al    3:   no   a dj u st    m e nt     w as    w arr a nt e d.
R e nt al    4:   no   a dj u st    m e nt     w as    w arr a nt e d.

T e n a nt I m pr o v e m e nt All o w a n c e s
T h e r e nt c o m p ar a bl e s d o n ot i n cl u d e a n y l e a s e s wi t h o v er- b a s e-l e v el t e n a nt i m pr o v e m e nt all o w a n c e s.
T h er ef or e, n o t e n a nt i m pr o v e m e nt all o w a n c e a dj u st m e nt s w er e r e q uir e d.

R e nt al    1:   no   a dj u st    m e nt     w as    w arr a nt e d.
R e nt al    2:   no   a dj u st    m e nt     w as    w arr a nt e d.
R e nt al    3:   no   a dj u st    m e nt     w as    w arr a nt e d.
R e nt al    4:   no   a dj u st    m e nt     w as    w arr a nt e d.

C o n diti o n s of L e a s e
N o at y pi c al c o n diti o n s of l e a s e w er e n ot e d a n d t h e f or -l e a s e li s ti n g r at e s                   w er e r e p ort e d a s
r e pr e s e nt ati v e of c o n s u m m at e d m ar k et tr a n s a cti o n s.

R e nt al    1:   no   a dj u st    m e nt     w as    w arr a nt e d.
R e nt al    2:   no   a dj u st    m e nt     w as    w arr a nt e d.
R e nt al    3:   no   a dj u st    m e nt     w as    w arr a nt e d.
R e nt al    4:   no   a dj u st    m e nt     w as    w arr a nt e d.

M ar k et C o n diti o ns A dj ust m e nt
M ar k et c o n diti o n s c h a n g e o v er ti m e b e c a u s e of i nfl at i o n, d efl ati o n, fl u ct u ati o n s i n s u p pl y a n d d e m a n d,
or ot h er f a ct or s. C h a n gi n g m ar k et c o n diti o n s m a y cr e at e a n e e d f or a dj u st m e nt t o c o m p ar a bl e r e nt
tr a n s a cti o n s c o n s u m m at e d d uri n g p eri o ds of di s si mil ar m ar k et c o n diti o n s.


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                                                                                                                         V A C A NT GR O CERY ST ORE
                                                                                                          I N C O M E C A PI T A LI Z A TI O N A P P R O A C H

Di s c u s si o n s wit h m ar k et p arti ci p a nt s a n d a r e vi e w of m ar k et d at a i n di c at e d o v er all m ar k et c o n diti o n s
f or r et ail pr o p erti e s h a v e b e e n i m pr o vi n g wit h r e c e nt l e a s e s c o nfir mi n g t hi s tr e n d. A s s u c h, w e a p pli e d
a n a dj u st m e nt t o e a c h c o m p ar a bl e b a s e d o n a f a ct or of 1. 0 0 % p er y e ar.

Pr o p ert y A dj ust m e nts
Pr o p ert y A dj u st m e nt s ar e u s u all y e x pr e s s e d q u a ntit ati v el y a s p er c e nt a g e s or d oll ar a m o u nt s t h at
r efl e ct diff er e n c e s i n r e nt al r at e s attri b ut a bl e t o t h e v ari o u s c h ar a ct e ri sti c s of t h e pr o p ert y. I n s o m e
i n st a n c e s, h o w e v er, q u alit ati v e a dj u st m e nt s ar e u s e d. Pr o p ert y a dj u st m e nt s ar e b a s e d o n l o c ati o n al
a n d p h y si c al c h ar a ct eri sti c s a n d ar e m a d e aft er t h e a p pli c ati o n of tr a n s a cti o n a n d m ar k et c o n diti o n s
a dj u st m e nt s.

O ur r e a s o ni n g f or t h e a dj u st m e nt s m a d e, w hi c h w er e b a s e d o n o ur m ar k et r e s e ar c h, b e st j u d g e m e nt,
a n d e x p eri e n c e i n t h e a p pr ai s al of si mi l ar pr o p erti e s, i s di s c u s s e d b el o w:

L o c ati o n
L o c ati o n a dj u st m e nt s m a y b e r e q uir e d w h e n t h e l o c ati o n al c h ar a ct eri sti c s of a c o m p ar a bl e ar e diff er e nt
fr o m t h o s e of t h e s u bj e ct. T h e s e c h ar a ct eri sti c s c a n i n cl u d e g e n er al n ei g h b or h o o d c h ar a ct eri sti c s,
fr e e w a y a c c e s si bilit y, str e et e x p o s ur e, c or n er v er s u s i nt eri or l ot l o c ati o n, n ei g h b ori n g pr o p erti e s, vi e w
a m e niti e s, a n d ot h er f a ct or s.

T h e s u bj e ct pr o p ert y h a s a v er a g e a c c e s s a n d g o o d vi si bilit y.

R e nt al    1:   n o a dj u st m e nt w a s           w arr a nt e d.
R e nt al    2:   a d o w n w ar d a dj u st           m e nt of 1 0. 0 % w a s w arr a nt e d.
R e nt al    3:   n o a dj u st m e nt w a s           w arr a nt e d.
R e nt al    4:   a d o w n w ar d a dj u st           m e nt of 1 0. 0 % w a s w arr a nt e d.

T e n a nt S p a c e Si z e
T h e si z e a dj u st m e nt a d dr e s s e s v ari a n c e i n t h e r e nt a bl e ar e a of t h e c o m p ar a bl e s a n d t h at of t h e s u bj e ct,
a s l ar g er l e a s e s p a c e t y pi c all y c o m m a n d s a l o w er r e nt al r at e p er u nit t h a n d o e s a s m all er s p a c e. T hi s
i n v er s e r el ati o n s hi p i s d u e, i n p art, t o t h e pri n ci pl e of “ e c o n o mi e s of s c al e.”

R e nt al    1:   an   u p w ar d a dj u st m e nt of 1 0. 0 % w a s w arr a nt e d.
R e nt al    2:   an   u p w ar d a dj u st m e nt of 1 0. 0 % w a s w arr a nt e d.
R e nt al    3:   an   u p w ar d a dj u st m e nt of 1 0. 0 % w a s w arr a nt e d.
R e nt al    4:   no   a dj u st m e nt w a s w arr a nt e d.

A g e/ C o n diti o n
T h e s u bj e ct pr o p ert y w a s b uilt i n 2 0 1 5 a n d, a s of t h e d at e of v al u e, w a s i n g o o d c o n diti o n, wit h a n
eff e cti v e a g e of 4 y e ar s. T h e s u bj e ct pr o p ert y a n d t h e c o m p ar a bl e s ar e g e n er all y i n si mil ar c o n diti o n,
b ut f e at ur e eff e cti v e a g e s fr o m 1 t o 1 0 y e ar s.

R e nt al    1:   a n u p w ar d a dj u st m e nt of 5. 0 % w a s w arr a nt e d.
R e nt al    2:   n o a dj u st m e nt w a s w arr a nt e d.
R e nt al    3:   a d o w n w ar d a dj u st m e nt of 1 0. 0 % w a s w arr a nt e d.
R e nt al    4:   a d o w n w ar d a dj u st m e nt of 1 0. 0 % w a s w arr a nt e d.

C o n str u cti o n Q u alit y
T h e s u bj e ct pr o p ert y c o n si st s of g o o d q u alit y m a s o nr y c o n str u cti o n.
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                                                                                                            I N C O M E C A PI T A LI Z A TI O N A P P R O A C H



R e nt al 1 c o n si st s of g o o d cl a s s c - m a s o nr y q u alit y wit h n o a dj u st m e nt w arr a nt e d.

R e nt al 2 c o n si st s of a v er a g e cl a s s c - m a s o nr y q u alit y wit h n o a dj u st m e nt w arr a nt e d.

R e nt al 3 c o n si st s of g o o d cl a s s c - m a s o nr y q u alit y wit h n o a dj u st m e nt w arr a nt e d.

R e nt al 4 c o n si st s of g o o d cl a s s c - m a s o nr y q u alit y wit h n o a dj u st m e nt w arr a nt e d.

D e si g n/ F u n cti o n al Utilit y
R e nt al 1: a d o w n w ar d a dj u st                m e nt of 1 0. 0 % w a s w arr a nt e d.
R e nt al 2: a d o w n w ar d a dj u st                m e nt of 1 0. 0 % w a s w arr a nt e d.
R e nt al 3: n o a dj u st m e nt w a s                w arr a nt e d.
R e nt al 4: n o a dj u st m e nt w a s                w arr a nt e d.

L a n d-t o- B uil di n g R ati o
T h e s u bj e ct pr o p ert y h a s a u s a bl e l a n d-t o- b uil di n g r ati o of 4. 2 5-t o- 1.
R e nt al 1: a d o w n w ar d a dj u st m e nt of 1 0. 0 % w a s w arr a nt e d.
R e nt al 2: a d o w n w ar d a dj u st m e nt of 5. 0 % w a s w arr a nt e d.
R e nt al 3: n o a dj u st m e nt w a s w arr a nt e d.
R e nt al 4: a d o w n w ar d a dj u st m e nt of 5. 0 % w a s w arr a nt e d.

N o n- R e alt y C o m p o n e nt s
N o n-r e alt y c o m p o n e nt s of v al u e i n cl u d e t a n gi bl e it e m s, e q ui p m e nt, a n d b u si n e s s c o n c er n s t h at d o
n ot c o n stit ut e r e al pr o p ert y b ut ar e i n cl u d e d i n t h e r e nt al r at e. F ur nit ur e, fi xt ur e s, a n d e q ui p m e nt ar e
t y pi c al e x a m pl e s of it e m s t h at m a y b e i n cl u d e d i n a c o m p ar a bl e l e a s e tr a n s a cti o n. If a l e a s e tr a n s a cti o n
i n cl u d e d t h e u s e of a n y n o n -r e alt y c o m p o n e nt s of v al u e, a dj u st m e nt s w er e m a d e t o r efl e ct t h e
c o ntri b ut or y v al u e. F or p ur p o s e s of t hi s a n al y si s, t h e s u bj e ct w o ul d b e l e a s e d wit h F F & E i n cl u d e d i n
t h e r e nt al r at e, t h er ef or e, a dj u st m e nt s w er e r e q uir e d.

R e nt al    1:   an   up    w ar d   a dj u st    m e nt    of   1 0. 0   %   w as   w arr a nt e d.
R e nt al    2:   an   up    w ar d   a dj u st    m e nt    of   1 0. 0   %   w as   w arr a nt e d.
R e nt al    3:   an   up    w ar d   a dj u st    m e nt    of   1 0. 0   %   w as   w arr a nt e d.
R e nt al    4:   an   up    w ar d   a dj u st    m e nt    of   1 0. 0   %   w as   w arr a nt e d.

S u m m ar y of A dj ust m e nts
Pr e s e nt e d b el o w i s a s u m m ar y of t h e a dj u st m e nt s m a d e t o t h e r e nt c o m p ar a bl e s. A s n ot e d e arli er,
t h e s e q u a ntit ati v e a dj u st m e nt s w er e b a s e d o n o ur m ar k et r e s e ar c h, b e st j u d g m e nt, a n d e x p eri e n c e i n
t h e a p pr ai s al of si mil ar pr o p erti e s.




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                                                             R E N T C O M P A R A B L E A D J U S T M E N T G RI D
                                                                                              R e nt al # 1                   R e nt al # 2                   R e nt al # 3                      R e nt al # 4
  C o m p ar a bl e I D                                                                             453192                          453221                          453171                            453187
  D at e of V al u e & S ur v e y/ L e a s e D a              M a y- 2 0                        M ar c h- 1 9               J a n u ar y- 1 8               O ct o b er - 1 7                         M a y- 1 7
  Pr o p ert y N a m e                                  V a c a nt Gr o c er y                Pi c k' n S a v e              Pi c k n' S a v e        F e sti v al F o o d s -                Fr e s h T h y m e
                                                                St or e                                                                               T h e S h o p p e s at             F ar m er s M ar k et
                                                                                                                                                                H al e Dri v e
  N et R e nt a bl e Ar e a                                  3 6, 5 0 0 sf                       6 7, 9 5 1 sf                   6 1, 0 4 8 sf                    8 5, 2 0 0 sf                     2 9, 0 5 0 sf
  L a n d Ar e a ( a cr e s)                                    3. 5 6 0                                 9. 6 6                    8. 3 6 9 9 9                           9. 1 3                            3. 8 9
  A n n u al R e nt al R at e                                                                        $ 1 1. 4 1                      $ 1 2. 8 8                       $ 1 4. 4 8                        $ 1 4. 0 0
  T r a n s a cti o n al A dj u s t m e nt s
      E x p e n s e Str u ct u r e                                  Tri pl e N et               Tri pl e N et                   Tri pl e N et                   Tri pl e N et                     Tri pl e N et
                                                 A n n u al E x p e ns es ( P S F)                     $ 0. 0 0                        $ 0. 0 0                        $ 0. 0 0                          $ 0. 0 0

     R e nt C o n c e s si o n s                                                                       N o ne                          N o ne                          N o ne                            N o ne
           A dj ust m e nt                                                                             $ 0. 0 0                        $ 0. 0 0                        $ 0. 0 0                          $ 0. 0 0

     T e n a nt I m p. All o w a n c e - O v er B a s e A m o u n t
           A dj ust m e nt                                                                             $ 0. 0 0                        $ 0. 0 0                         $ 0. 0 0                         $ 0. 0 0
           N et L e a s e Str u ct ur e A dj u st m e nt                                               $ 0. 0 0                        $ 0. 0 0                         $ 0. 0 0                         $ 0. 0 0

           Eff e cti v e R e nt al R at e                                                            $ 1 1. 4 1                      $ 1 2. 8 8                      $ 1 4. 4 8                        $ 1 4. 0 0

     C o n di ti o n s of L e a s e                                                               R e n e w al                    E x e c ut e d                  E x e c ut e d                    E x e c ut e d
           A dj ust m e nt                                                                             $ 0. 0 0                         $ 0. 0 0                        $ 0. 0 0                          $ 0. 0 0
           A dj u s t e d R e nt al R at e                                                          $ 1 1. 4 1                        $ 1 2. 8 8                      $ 1 4. 4 8                        $ 1 4. 0 0
  M a r k et C o n di ti o n s A dj u s t m e nt s
      E l a p s e d Ti m e fr o m D at e of V al u e                                           1. 1 7 y e ar s                 2. 3 3 y e ar s                 2. 5 8 y e ar s                    2. 9 6 y e ar s
            M ar k et Tr e n d T hr o u g h                   M a y- 2 0                                1. 2 %                          2. 3 %                          2. 6 %                            3. 0 %
  A n al y z e d R e nt al R at e                                                                    $ 1 1. 5 4                      $ 1 3. 1 8                      $ 1 4. 8 5                        $ 1 4. 4 1

  Pr o p ert y A dj u s t m e nt s
     L o c ati o n                                    1 5 0 C o m m er c e Dr      2 0 5 C e ntr al Bri d g e           2 5 3 8 Ir o n w o o d              1 2 3 H al e Dr                    N89 W16849
                                                                                                           St                           Dri v e                                               A p pl et o n A v e
                                                     C ol u m b us, Wis c o nsi n W a us a u, Wis c o nsi n                 S u n Pr airi e,       H ol m e n, Wis c o nsi n           M e n o m o n e e F alls,
                                                                                                                                Wis c o nsi n                                                      Wis c o nsi n
           A dj ust m e nt                                                                                       -                   - 1 0. 0 %                                    -                    - 1 0. 0 %

     T e n a nt S p a c e Si z e                             3 6 , 3 0 0 sf                      6 7, 9 5 1 sf                   5 9, 5 0 0 sf                   7 5, 0 0 0 sf                     2 9, 0 5 0 sf
           A dj ust m e nt                                                                            1 0. 0 %                        1 0. 0 %                        1 0. 0 %                                      -

     A g e / C o n di ti o n         Y e ar B uilt             2015                                   2001                            2008                             2017                              2017
                                    C o n diti o n             Good                                   Good                            Good                            Good                              Good
                               Eff e cti v e A g e            4 y e ar s                          1 0 y e ar s                      5 y e ar s                      1 y e ar s                        1 y e ar s
           A dj ust m e nt                                                                             5. 0 %                                 -                     - 1 0. 0 %                        - 1 0. 0 %

     C o n s tr u cti o n Q u ali t y                    G o o d Cl ass C -             G o o d Cl ass C -           A v er a g e Cl ass C -            G o o d Cl ass C -                 G o o d Cl ass C -
                                                              M as o nr y                        M as o nr y                      M as o nr y                    M as o nr y                        M as o nr y
           A d ju s tm e n t                                                                                     -                            -                                    -                                -

     D e si g n / F u n cti o n al Utili t y                  A v er a g e               A b o v e A v er a g e          A b o v e A v er a g e                    A v er a g e                      A v er a g e
            A dj ust m e nt                                                                          - 1 0. 0 %                      - 1 0. 0 %                                    -                                -

     L a n d -t o - B uil di n g R ati o                     4 . 2 5-t o - 1                    6. 1 9-t o - 1                   5. 9 7-t o- 1                   4. 6 7 -t o - 1                   5. 8 3-t o- 1
           A dj ust m e nt                                                                          - 1 0. 0 %                         - 5. 0 %                                    -                     - 5. 0 %

     N o n - R e al t y C o m p o n e nt s                       Y es                            N o FF &E                       N o FF &E                       N o FF & E                         N o FF &E
            A dj ust m e nt                                                                          1 0. 0 %                        1 0. 0 %                        1 0. 0 %                           1 0. 0 %
            N et P h ysi c al A dj u st m e nt                                                         5. 0 %                         - 5. 0 %                       1 0. 0 %                          - 1 5. 0 %
  A dj u s t e d A n n u al R e nt al R at e                                                         $ 1 2. 1 2                      $ 1 2. 5 2                      $ 1 6. 3 4                        $ 1 2. 2 5




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C o n cl usi o ns
Fr o m t h e m ar k et d at a a v ail a bl e, w e u s e d f o ur r e nt c o m p ar a bl e s, w hi c h w er e a dj u st e d b a s e d o n
p erti n e nt el e m e nt s of c o m p ari s o n. T h e f oll o wi n g t a bl e s u m m ari z e s t h e u n a dj u st e d a n d a dj u st e d r e nt al
r at e s:

        R e nt C o m p ar a bl e St ati s ti c s
        M etri c                                                          U n a dj u s t e d           A n al y z e d                  A dj u s t e d
        Mi ni m u m R e nt al R at e                                              $ 1 1. 4 1               $ 1 1. 5 4                      $ 1 2. 1 2
        M a xi m u m R e nt al R at e                                             $ 1 4. 4 8               $ 1 4. 8 5                       $ 1 6. 3 4
        M e di a n R e nt al R at e                                               $ 1 3. 4 4               $ 1 3. 8 0                       $ 1 2. 3 9
        M e a n R e nt al R at e                                                  $ 1 3. 1 9               $ 1 3. 5 0                       $ 1 3. 3 1


T h e m o st c o m p ar a bl e r e nt s w er e r e nt al s 1, 2 a n d 3, a s t h e y w er e t h e m o st r e c e nt l e a s e s wit h t h e f e w e st
a m o u nt of a dj u st m e nt s. T h e a dj u st e d r e nt al r at e s f or t h e s e c o m p ar a bl e s r a n g e d fr o m $ 1 2. 1 2 t o $ 1 6. 3 4
p er s q u ar e f o ot, wit h a n a v er a g e of $ 1 3. 6 6 p er s q u ar e f o ot a n d a m e di a n of $ 1 2. 5 2 p er s q u ar e f o ot.

T h er ef or e, b a s e d o n t h e pr e c e di n g a n al y si s, a m ar k et b a s e d tri pl e n et r e nt al r at e n e ar t h e l o w er- e n d
of t h e r a n g e, or $ 1 3. 0 0 p er s q u ar e f o ot, i n cl u di n g F F & E, i s e sti m at e d f or t h e s u bj e ct pr o p ert y.

A s w a s di s c u s s e d i n t h e Hi g h e st a n d B e st U s e s e ct i o n, utili zi n g a r e vi s e d pr oj e ct e d s al e s of $ 1 2 5, 0 0 0
t o $ 1 5 0, 0 0 0 p er w e e k, u p o n st a bili z ati o n, a n d a t ot al c o st of o c c u p a n c y at 6 %, t h e n et r e nt w o ul d b e
a p pr o xi m at el y $ 1 0. 0 0 t o $ 1 2. 0 0 p er s q u ar e f o ot wit h $ 2. 5 0 i n a m orti z e d F F & E v al u e gi v e n t h e
d e pr e ci at e d v al u e of t h e e xi sti n g p er s o n al pr o p ert y , i n di c ati n g a n et r e nt of a p pr o xi m at el y $ 1 2. 5 0 t o
$ 1 4. 5 0 p er s q u ar e f o ot, N N N i n cl u di n g F F & E. T h er ef or e, t h e c o n cl u d e d m ar k et r e nt of $ 1 3. 0 0 p er
s q u ar e f o ot, i n cl u di n g F F & E, f all s dir e ctl y i n -li n e wit h t h e c o st o c c u p a n c y a n al y si s.

I n c o m e A n al ysis
T h e i n c o m e a n al y si s e n c o m p a s s e s a r e vi e w of t h e e x i sti n g s u bj e ct l e a s e s (if a n y) a n d c o m p ari s o n t o
m ar k et r e nt l e v el s a s e st a bli s h e d i n t h e pr e c e di n g a n al y si s, a s w ell a s a d diti o n al i n c o m e s o ur c e s,
e x p e n s e r e c o v eri e s, a n d r e nt e s c al ati o n s. T h e s u m of all i n c o m e d e v el o p s p ot e nti al gr o s s i n c o m e ( P GI).

A s n ot e d t hr o u g h o ut t hi s r e p ort, t h e s u bj e ct pr o p ert y i s c urr e ntl y v a c a nt a n d n ot s u bj e ct t o a n y l e a s e
a gr e e m e nt. T h er ef or e, w e h a v e utili z e d t h e r e nt c o m p ar a bl e s d et ail e d a b o v e t o e sti m at e a m ar k et r e nt
f or t h e s u bj e ct pr o p ert y.

Va c a n c y/ C oll e cti o n L oss
N et l e a s e pr o p erti e s r e m ai n i n d e m a n d wit h i n v e st or s. W hil e s u c h pr o p erti e s m a y p o s e s o m e v a c a n c y
ri s k, m o st i n v e st or s a n d a n al y st s d o n ot u s e a v a c an c y f a ct or i n t h e p ur c h a s e d e ci si o n. F oll o wi n g t hi s
st a n d ar d, w e di d n ot d e d u ct a v a c a n c y or c oll e cti o n l o s s li n e it e m, wit h t h e ri s k of v a c a n c y i n h er e nt i n
t h e c o n cl u d e d o v er all c a pit ali z ati o n r at e. S u p p ort f or t h e o v er all c a pit ali z ati o n r at e w a s d eri v e d fr o m
m ar k et d at a a n d p u bli s h e d i n v e st or s ur v e y s. T h e c o m p ar a bl e s al e s u s e d i n t hi s r e p ort al s o f oll o w t hi s
st a n d ar d.




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                                                                                                                                                     I N C O M E C A PI T A LI Z A TI O N A P P R O A C H



E x p e ns e A n al ysis
T h e s u bj e ct i s c urr e ntl y v a c a nt a n d n o hi st ori c al d at a w a s a v ail a bl e f or a n al y si s. T h e e x p e n s e s w er e
e sti m at e d b a s e d o n o ur m ar k et r e s e ar c h, b e st j u d g e m e nt, a n d e x p eri e n c e i n t h e a p pr ai s al of si mil ar
pr o p erti e s. E x p e n s e s h a v e mi ni m al i m p a ct o n t h e v al u e of n et l e a s e pr o p erti e s, a s t h e t e n a nt p a y s all
pr o p ert y e x p e n s e s dir e ctl y.

Pl e a s e n ot e t h at it i s n ot u n c o m m o n t o h a v e li mit e d hi st ori c al d at a a v ail a bl e f or n et l e a s e pr o p erti e s,
a s t h e t e n a nt p a y s all pr o p ert y e x p e n s e s dir e ctl y. F urt h er m or e, a ll r e nt c o m p ar a bl e s a n al y z e d ar e
l e a s e d o n a si mil ar n et l e a s e b a si s, w h er e t h e t e n a nt i s r e s p o n si bl e f or all e xp e n s e s e x c e pt str u ct ur al
m ai nt e n a n c e. T h er ef or e, a n y ri s k of e x p e n s e s i s i n h e r e nt i n t h e c o n cl u d e d o v erall c a pit ali z ati o n r at e.
All li sti n g s a n d r e c e nt s al e s of c o m p ar a bl e pr o p erti e s si mil ar t o t h e s u bj e ct w er e m ar k et e d wit h littl e
t o n o e x p e n s e s. A s s u c h, w e di d n ot d e d uct a n y e x p e n s e s fr o m t h e i n c o m e str e a m.

N et O p er ati n g I n c o m e ( N OI)
N et o p er ati n g i n c o m e c o n si st s of t h e i n c o m e t h at r e m ai n s aft er all o p er ati n g e x p e n s e s ar e d e d u ct e d
fr o m eff e cti v e gr o s s i n c o m e, b ut b ef or e m ort g a g e d e bt s er vi c e a n d ot h er n o n- p eri o di c l e a si n g a n d
c a pit al e x p e n dit ur e s. T h e st a bili z e d n et o p er ati n g i n c o m e c al c ul ati o n i s pr e s e nt e d i n t h e f oll o wi n g
t a bl e:

       St a bili z e d N et O p er ati n g I n c o m e S c h e d ul e
    C at e g or y                                                                                     NRA                       P er S q. F t.                                           T ot al          % of E GI
    P ot e nti al R e nt al I n c o m e
          Gr o c er y St or e                                                                 3 6, 5 0 0 sf          x              $ 1 3. 0 0                    =               $ 4 7 4, 5 0 0           1 0 0. 0 %
    T ot al P ot e nti al R e nt al I n c o m e                                              3 6, 5 0 0 s f          x              $ 1 3. 0 0                    =               $ 4 7 4, 5 0 0           1 0 0. 0 %

    P ot e nti al Gr o s s I n c o m e ( P GI)                                                                                      $ 1 3. 0 0                                    $ 4 7 4, 5 0 0           1 0 0. 0 %

          L e s s: V a c a n c y & C oll e cti o n L o s s                   @               0. 0 %                                  $ 0. 0 0                                                $0                0. 0 %
    Eff e cti v e Gr o s s I n c o m e ( E GI)                                                                                      $ 1 3. 0 0                                    $ 4 7 4, 5 0 0           1 0 0. 0 %

    L e s s: T ot al O p er ati n g E x p e n s e s                                                                                  $ 0. 0 0                                                 $0                0. 0 %

    St a bili z e d N et O p er ati n g I n c o m e ( N OI)                                                                         $ 1 3. 0 0                                    $ 4 7 4, 5 0 0           1 0 0. 0 %


O v er all C a pit ali z ati o n R at e ( O A R)
M ar k et c o m p ar a bl e s a n d i n v e st or s ur v e y s                                    w er e        utili z e d t o c o n cl u d e a n a p pr o pri at e                                           o v er all
c a pit ali z ati o n r at e f or t h e s u bj e ct.

M ar k et
O v er all c a pit ali z ati o n r at e s f or c o m p ar a bl e s a l e s ar e pr e s e nt e d i n t h e f oll o wi n g t a bl e:

    M ar k et O v er all C a pit ali z ati o n R at e ( O A R) C o m p ar a bl e s
   C o m p.                    Pr o p e rt y                                                                                                             Y e ar       O c c u p a n c y at   A ct u al R e m ai ni n g
   N o.     D at e of S al e   Na me                                         L o c ati o n                                                              B uil t        Ti m e of S al e         O A R L e a s e T er m
   1         J ul y- 1 9       Pi c k ' n S a v e                            3 6 9 0 3 E Wi s c o nsi n A v e O c o n o m o w o c, Wi s c o n si n      2008                    1 0 0. 0 % 6. 7 5     %   1 0. 4    Y e ar s
   2         J ul y- 1 8       Sho pko                                       4 0 6 G at e w a y A v e          M a u st o n, Wi s c o nsi n             2015                    1 0 0. 0 % 1 0. 0 9   %   1 2. 3    Y e ar s
   3           M ar c h- 1 8   Pi c k ' n S a v e - Hi g hl a n d Ri d g e   3 0 1 F all s R d                Gr aft o n, Wi s c o nsi n                2008                   1 0 0. 0 % 7. 6 4      %   1 1. 8    Y e ar s
   4         J ul y- 1 7       Tr a ct or S u p pl y                         1 9 1 1 M ar k et W a y           W at ert o w n, Wi s c o n si n          2005                    1 0 0. 0 % 7. 3 2     %      3. 5   Y e ar s
                                                                                                                                                                             A v er a g e: 7. 9 5     %




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I n v e st or S ur v e y s
T h e f oll o wi n g t a bl e hi g hli g ht s v ari o u s o v er all c a pit a li z ati o n r at e s p u bli s h e d b y t h e i n v e st or s ur v e y s:

  I n v e s t or S ur v ey s - O v er all C a p it ali z ati o n R at e s
  S ur v e y                                                                              D at e                 R at e R a n g e             A v er a g e
  P W C R e al E st at e S u v e y - N et L e a s e M ar k et                           Q3 2019          5. 0 0 %       to       8. 5 0 %       6. 5 0 %
  T h e B o ul d er Gr o u p - R et ail N et L e a s e M ar k et                        Q3 2019                        to                       6. 2 1 %
  T h e B o ul d er Gr o u p - Bi g B o x N et L e a s e M ar k et                      Q4 2018                        to                       7. 0 4 %
  R e alt y R at e s. c o m - Fr e e st a n di n g R et ail                             Q3 2019          5. 0 0 %      to       1 3. 5 3 %     1 0. 1 6 %
  T h e B o ul d er Gr o u p - J u ni or Bi g B o x N et L e a s e M ar k et            Q4 2018                        to                       7. 0 2 %
  T h e B o ul d er Gr o u p - Bi g B o x N et L e a s e M ar k et - Mi d w e s t       Q4 2018                        to                       7. 4 0 %
  P W C R e al E st at e S u v e y - N et L e a s e M ar k et                           Q2 2019          5. 0 0 %      to       8. 5 0 %        6. 6 0 %
  T h e B o ul d er Gr o u p - R et ail N et L e a s e M ar k et                        Q2 2019                        to                       6. 2 3 %
  T h e B o ul d er Gr o u p - Bi g B o x N et L e a s e M ar k et                      Q4 2017                        to                       6. 7 5 %
  R e alt y R at e s. c o m - Fr e e st a n di n g R et ail                            Q2 2019           5. 0 9 %      to      1 3. 7 2 %      1 0. 3 7 %
                                                                                       A v er a g e      5. 0 2 %      to      1 1. 0 6 %       7. 4 3 %


T h e o v er all c a pit ali z ati o n r at e i n di c ati o n s ar e a s f oll o w s:

             M ar k et E xtr a ct e d R a n g e:                              6. 7 5 % t o 8. 0 0 %
             I n v e st or s S ur v e y R a n g e:                              7. 0 0 % t o 8. 0 0 %

O v er all C a pit ali z ati o n R at e C o n cl u si o n
B a s e d o n t h e d at a a n d a n al y si s pr e s e nt e d a b o v e, t h e f oll o wi n g f a ct or s w er e c o n si d er e d:

             T h e r e m ai ni n g l e a s e t er m f or t h e s u bj e ct pr o p ert y, u p o n st a bili z ati o n, e x c e e d s 1 5 y e ar s.
             I n t hi s m ar k et, t e n a nt s h a v e m ulti pl e o pti o n s t o r e n e w t h e l e a s e.
             T h e m ar k et r e nt al r at e s f or t hi s pr o p ert y t y p e h a v e p eri o di c i n cr e a s e s.
             T h er e i s o nl y o n e ot h er gr o c er wit hi n t h e C ol u m b u s m ar k et.
             T h e gr o c er y st or e m ar k et n ati o n wi d e h a s e x p eri e n c e d c o nti n u e d gr o wt h o v er t h e p a st 5 y e ar s
              a n d i s e x p e ct e d t o e x p eri e n c e a n ot h er 1 % a n n u al gr o wt h i n r e v e n u e o v er t h e n e xt fi v e y e ar s.
             Wit hi n a t hr e e- mil e r a di u s, d e m a n d f ar e x c e e d s s u p pl y f or t hi s i n d u str y gr o u p i n di c ati n g a
              p o siti v e r et ail l e a k a g e.

C o n si d eri n g t h e d at a pr e s e nt e d, w e c o n cl u d e d a n o v er all c a pit ali z ati o n r at e of 7. 5 0 %.

L e as e- U p Dis c o u nt
T h e pr eli mi n ar y v al u e c o n cl u si o n i s b a s e d o n o p er ati o n s at st a bili z ed o c c u p a n c y. H o w e v er, t h e s u bj e ct
pr o p ert y i s c urr e ntl y v a c a nt. T h er ef or e, a l e a s e- u p di s c o u nt w a s n e c e s s ar y t o r efl e ct t h e pr o s p e cti v e
u p o n st a bili z ati o n l e a s e d f e e m ar k et v al u e i n di c ati o n. Gi v e n t h e si n gl e t e n a nt n at ur e of t h e pr o p ert y,
t o a c hi e v e st a bili z e d o c c u p a n c y, t h e e ntir e 3 6, 5 0 0 s q u ar e f e et m u st b e a b s or b e d.

Gi v e n t h e l o c ati o n, p h y si c al c h ar a ct eri sti c s of t h e s u bj e ct pr o p ert y a n d c urr e nt m ar k et c o n diti o n s, it i s
n ot r e a s o n a bl e t o a s s u m e t h e s u bj e ct pr o p ert y w o ul d c a pt ur e s u b st a nti all y m or e t h a n it s f air s h ar e of
a b s or pti o n. T h e m ar k et d at a r e vi e w e d pr o vi d e s li mit e d s u p p ort f or a n or d erl y a b s or pti o n a n d o ur
o b s er v ati o n s i n di c at e a b s or pti o n t o b e p o siti v e i n r e c e nt q u art er s. B a s e d o n t h e p erf or m a n c e of t h e
s u bj e ct pr o p ert y’ s s u b m ar k et, a l e a s e - u p p eri o d of 6 m o nt h s w a s pr oj e ct e d a n d i s r efl e ct e d i n t h e
c al c ul ati o n s b el o w. A s t h e s u bj e ct i s i n g o o d c o n d iti o n wit h a n i n- pl a c e F F & E p a c k a g e, t h e l e a s e u p

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p eri o d i s e x p e ct e d t o b e a b br e vi at e d u p o n a g gr e s si v e                 m ar k eti n g a n d s uffi ci e nt off eri n g of l e a s e
c o n c e s si o n s a s d e s cri b e d h er ei n.

M ar k et r e nt a n d a n y r ei m b ur s a bl e e x p e n s e s w er e a p pli e d t o t h e v a c a nt s p a c e t o d eri v e t h e i n c o m e
l o st d uri n g l e a s e- u p. T h e m ar k et t e n a nt i m pr o v e me nt all o w a n c e, st a n d ar d c o m mi s si o n r at e s a n d fr e e
r e nt w er e u s e d a s p art of t h e c al c ul ati o n. Fi n all y , a n a p pr o pri at e d e gr e e of e ntr e pr e n e uri al i n c e nti v e
w a s a d d e d. A s pr e s e nt e d i n t h e f oll o wi n g t a bl e, t h e c al c ul ati o n s r e s ult e d i n a l e a s e- u p a dj u st m e nt of
$ 2, 2 3 0, 0 0 0.

                       L e a s e - U p A dj u s t m e nt
                      C o m p o n e nt                                                               P er c e n t / U ni t          A m o u nt
                      N et R e nt a bl e Ar e a                                                            1 0 0. 0 %              3 6, 5 0 0 sf
                         St a bili z e d V a c a n c y                                                       0. 0 %                         0 sf
                         A ct u al V a c a n c y                                                           1 0 0. 0 %              3 6, 5 0 0 sf
                      L e a si n g R e q uir e d t o St a bili z e                                         1 0 0. 0 %              3 6, 5 0 0 sf

                      L e a s e - U p P eri o d                                                                                    6 m o nt hs
                      I nc o m e L oss
                          M ar k et R e nt                                                              $ 1 3. 0 0 p sf            $ 4 7 4, 5 0 0
                          R ei m b ur s a bl e E x p e ns e s                                            $ 0. 0 0 p sf                        $0
                      P ot e nti al A n n u al L o s s                                                  $ 1 3. 0 0 p sf            $ 4 7 4, 5 0 0
                      P ot e nti al L o s s o v er L e a s e - U p P eri o d                             6 m o nt hs               $ 2 3 7, 2 5 0
                      A v er a g e L o s s F a ct or - Str o n g er Fi ni s h A b s or pti o n                                        1 0 0. 0 %
                      E sti m at e d I n c o m e L o s s o v er L e a s e - U p P eri o d                                          $ 2 3 7, 2 5 0

                      L e a si n g C o sts
                         T e n a nt I m pr o v e m e nt C o sts                 All o w a n c e              NRA
                             1 st G e n er ati o n S p a c e                     $ 0. 0 0 p sf                                                $0
                             2 n d G e n er ati o n S p a c e                  $ 1 0. 0 0 p sf           3 6, 5 0 0 sf             $ 3 6 5, 0 0 0
                         T ot al                                               $ 1 0. 0 0 p sf           3 6, 5 0 0 sf             $ 3 6 5, 0 0 0
                                                                                     T er m                   R at e
                         L e a si n g C o m mi s si o ns                          2 0 y e ar s               5. 0 %                $ 4 7 4, 5 0 0
                      T ot al L e a si n g C o sts                                                                                 $ 8 3 9, 5 0 0

                      Fr e e R e nt                                                                     2 4 m o nt hs              $ 9 4 9, 0 0 0

                      T ot al L o st I n c o m e, L e a si n g C o sts a n d Fr e e R e nt                                       $ 2, 0 2 5, 7 5 0
                      E ntr e pr e n e uri al I n c e nti v e                                              1 0. 0 %                 $ 2 0 2, 5 7 5
                      C al c ul at e d L e a s e - U p A dj u s t m e n t                                                       $ 2, 2 3 0, 0 0 0


Dir e ct C a pit ali z ati o n C o n cl usi o ns
T h e dir e ct c a pit ali z ati o n c al c ul ati o n i s pr e s e nt e d a s f oll o w s:




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   Dir e ct C a pit ali z ati o n T e c h ni q u e V al u e I n di c ati o n s
  St a bili z e d N et O p er ati n g I n c o m e ( N OI)                                                                             $ 4 7 4, 5 0 0

  Di vi d e d b y O v er all C a pit ali z ati o n R at e                                                                  ÷               7. 5 0 %
  Pr eli mi n ar y Pr o s p e cti v e U p o n St a bili z ati o n L e a s e d F e e V al u e I n di c ati o n                      $ 6, 3 2 6, 6 6 7
  Pr o s p e cti v e U p o n St a bili z ati o n L e a s e d F e e M ar k et V al u e I n di c ati o n                             $ 6, 3 3 0, 0 0 0
         L e s s L e a s e - U p Di s c o u nt:                                                                                     $ 2, 2 3 0, 0 0 0
  A s I s F e e Si m pl e M ar k et V al u e I n di c ati o n                                                                      $ 4, 1 0 0, 0 0 0




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                                                                                                                                            R E C O N CI LI A TI O N




R e c o n cili ati o n
S u m m ar y of Val u e I n di c ati o ns
T h e i n di c at e d v al u e s fr o m t h e a p pr o a c h e s u s e d a n d o ur c o n cl u d e d m ar k et v al u e s f or t h e s u bj e ct
pr o p ert y ar e s u m m ari z e d i n t h e f oll o wi n g t a bl e.


                                                                          V al u e I n di c ati o n s
                                                                                                                                      Pr o s p e cti v e U p o n
    A p pr o a c h t o V al u e                                                                                             As Is             St a bili z ati o n
    L a n d O nl y - S al e s C o m p ari s o n                                                                      $ 3 1 0, 0 0 0

    C o st                                                                                                        $ 3, 8 6 0, 0 0 0              $ 6, 0 9 0, 0 0 0

    S al e s C o m p ari s o n                                                                                    $ 3, 7 9 0, 0 0 0              $ 6, 0 2 0, 0 0 0
    I n c o m e C a pit ali z ati o n
        Dir e ct C a pit ali z ati o n                                                                            $ 4, 1 0 0, 0 0 0              $ 6, 3 3 0, 0 0 0
                                                                          V al u e C o n cl u si o n s
                                                                                                                                      Pr o s p e cti v e U p o n
    C o m p o n e nt                                                                                                       As Is              St a bili z ati o n
    V al u e T y p e                                                                                           M ar k et V al u e             M ar k et V al u e
    Pr o p ert y Ri g hts A p pr ai s e d                                                                         F e e Si m pl e                L e as e d Fe e
    Eff e cti v e D at e of V al u e                                                                     O ct o b er 2 1, 2 0 1 9               M a y 1, 2 0 2 0
    V al u e C o n cl u si o n                                                                                    $ 4, 0 0 0, 0 0 0              $ 6, 3 0 0, 0 0 0
                                                                                                                 $ 1 0 9. 5 9 p s f             $ 1 7 2. 6 0 p s f


T o r e a c h a fi n al o pi ni o n of v al u e, w e c o n si d er e d t h e r eli a bilit y a n d r el e v a n c e of e a c h v al u e i n di c ati o n
b a s e d u p o n t h e q u alit y of t h e d at a a n d a p pli c a bilit y of t h e a s s u m pti o n s u n d erl yi n g e a c h a p pr o a c h.
Gi v e n t h e a v ail a bilit y a n d r eli a bilit y of d at a wit h i n t h e S al e s C o m p ari s o n A p pr o a c h, w e g a v e t hi s
a p pr o a c h pri m ar y w ei g ht i n arri vi n g at o ur fi n al v a l u e c o n cl u si o n s. F urt h er m or e, r et ail pr o p erti e s s u c h
a s t h e s u bj e ct pr o p ert y ar e t y pi c all y p ur c h a s e d b y a l o c al i n v e st or/ o w n er- u s er s, w h o pri m aril y r el y
u p o n t h e m et h o d s e m pl o y e d b y t h e S al e s C o m p ari s o n A p pr o a c h.

O ur fi n di n g s a n d c o n cl u si o n s ar e f urt h er c o nti n g e nt u p o n t h e f oll o wi n g e xtr a or di n ar y a s s u m pti o n s
a n d/ or h y p ot h eti c al c o n diti o n s w hi c h mi g h t h a v e aff e ct e d t h e a s si g n m e nt r e s ult s:

E xtr a or di n ar y Ass u m pti o ns:
             T hi s a p pr ai s al i s pr e di c at e d o n t h e e xtr a or di n ar y a s s u m pti o n t h at h a z ar d o u s s u b st a n c e s d o n ot
              e xi st at t h e s u bj e ct pr o p ert y. T h e a p pr ai s er, h o w e v er, i s n ot q u alifi e d t o d et e ct s u c h s u b st a n c e s,
              i n cl u di n g t h e e xi st e n c e of ur e a-f or m al d e h y d e i n s ul ati o n, r a d o n g a s, f o a m a n d a s b e st o s
              i n s ul ati o n, l e a d p ai nt or ot h er p ot e nti all y h a z ar d ou s m at eri al t h at m a y aff e ct t h e v al u e of t h e
              pr o p ert y. A d diti o n all y, n o s oil s ur v e y h a s b e e n f u r ni s h e d, a n d it i s a s s u m e d t h at n o s urf a c e or
              s u b s urf a c e c o nt a mi n a nt s ar e pr e s e nt. N o r e s p o n si bilit y i s a s s u m e d f or a n y s u c h c o n diti o n s,
              n or f or a n y e x p erti s e or e n gi n e eri n g k n o wl e d g e r e q uir e d t o di s c o v er t h e m.
             It i s a s s u m e d t h at t h e i nf or m ati o n pr o vi d e d t o u s b y t h e o w n er a n d cit y/ c o u nt y offi ci al s i s
              a c c ur at e. A n y d e vi ati o n fr o m h o w t hi s i nf or m at i o n w a s r e pr e s e nt e d t o u s c o ul d r e s ult i n a
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                                                                                                                                        R E C O N CI LI A TI O N


              c h a n g e i n o pi ni o n of v al u e. M or e s p e cifi c all y, w e w er e pr o vi d e d wit h a f or m er l e a s e a gr e e m e nt
              t h at r e p ort e d t h e gr o s s b uil di n g ar e a of t h e pr o p ert y t o b e 3 6, 5 0 0- s q u ar e f e et. H o w e v er,
              a c c or di n g t o c o u nt y pr o p ert y r e c or d s, t h e gr o s s b uil di n g ar e a w a s r e p ort e d t o b e 3 8, 9 0 5-
              s q u ar e f e et. Aft er c o n d u cti n g a r o u g h m e a s ur e m e nt vi a a eri al GI S s oft w ar e, t h e b uil di n g ar e a
              r e p ort e d o n t h e l e a s e a p p e ar s t o b e t h e m o st a c c ur at e fi g ur e. T h er ef or e, f or p ur p o s e s of t hi s
              a n al y si s, w e h a v e r eli e d o n t h e 3 6, 5 0 0- s q u ar e fi g ur e r e p ort e d b y t h e l e a s e d o c u m e nt.
             T h e a p pr ai s er w a s n ot s u p pli e d a l e g al d e s cri pti o n or s ur v e y of t h e s u bj e ct pr o p ert y. T hi s
              a p pr ai s al i s c o nti n g e nt o n t h e s u bj e ct sit e( s) b e i n g t h e si z e, s h a p e, a n d di m e n si o n s a s i n di c at e d
              i n t hi s r e p ort.
             If a n y i nf or m ati o n ari s e t h at c o ntr a di ct s t h e e xtr a or di n ar y a s s u m pti o n s st at e d a b o v e, w e
              r e s er v e t h e ri g ht t o r e- e nt er t hi s d o c u m e nt a n d m a k e a n y c h a n g e s t o t h e c o n cl u si o n
              d et er mi n e d h er ei n t h at w e d e e m n e c e s s ar y. T h e u s e of t h e s e e xtr a or di n ar y a s s u m pti o n s m a y
              h a v e aff e ct e d t h e a s si g n m e nt r e s ult s.

H y p ot h eti c al C o n diti o ns:
             W e h a v e a p pr ai s e d t h e pr o p ert y a s ' st a bili z e d' a s       d e s cri b e d i n t hi s r e p ort a s of t h e d at e of
              v al u e.

E x p os ur e Ti m e a n d M ar k eti n g P eri o ds
Aft er a n al y zi n g t h e c o m p ar a bl e s al e s utili z e d i n t hi s r e p ort, t h e m ar k et i n g p eri o d s f or t hr e e pr o p erti e s
r a n g e d fr o m 6. 1 t o 8. 7 7 m o nt h s wit h a n a v er a ge of 7. 0 6 m o nt h s, f or st a bili z e d pr o p erti e s.

F urt h er m or e, t h e m ar k eti n g ti m e f or t h e N et L e a s e m a r k et a c c or di n g t o t h e P w C R e al E st at e I n v e st or
S ur v e y r e p ort r a n g e d fr o m 1 t o 1 2 m o nt h s wit h a n a v er a g e of 5. 2 m o nt h s i n t h e 3 r d q u art er of 2 0 1 9.

T h er ef or e, b a s e d o n st ati sti c al i nf or m ati o n a b o ut d a y s o n m ar k et, e s cr o w l e n gt h, a n d m ar k eti n g ti m e s
g at h er e d t hr o u g h n ati o n al i n v e st or s ur v e y s, s al e s v e rifi c ati o n, a n d i nt er vi e w s of m ar k et p arti ci p a nt s,
m ar k eti n g a n d e x p o s ur e ti m e e sti m at e s of 9 t o 1 2 m o nt h s a n d 9 t o 1 2 m o nt h s, r e s p e cti v el y, ar e
c o n si d er e d r e a s o n a bl e a n d a p pr o pri at e f or t h e s u bj e c t pr o p ert y o n a n “ a s i s” b a si s. T h e m ar k eti n g a n d
e x p o s ur e ti m e h a s b e e n e sti m at e d b e y o n d t h e ti m e p e ri o d of a st a bili z e d pr o p ert y d u e t o t h e v a c a nt
n at ur e of t h e r e al e st at e a n d t h e l o n g er ti m e p eri o d it will t a k e t o fi n d a b u y er i n it s c urr e nt c o n diti o n.




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                                                                                                G E N E R A L A S S U M P TI O N S & LI MI TI N G C O N DI TI O N S




G e n er al A s s u m pti o n s a n d Li miti n g C o n diti o n s
T hi s a p pr ai s al i s s u bj e ct t o t h e f oll o wi n g g e n er al a s s u m pti o n s a n d li miti n g c o n diti o n s:

1.            T h e l e g al d e s cri pti o n – if f ur ni s h e d t o u s – i s a s s u m e d t o b e c orr e ct.

2.            N o r e s p o n si bilit y i s a s s u m e d f or l e g al m att er s, q u e sti o n s of s ur v e y or titl e, s oil or s u b s oil c o n diti o n s,
              e n gi n e eri n g, a v ail a bilit y or c a p a cit y of utiliti e s, or ot h er si mil ar t e c h ni c al m att er s. T h e a p pr ai s al d o e s
              n ot c o n stit ut e a s ur v e y of t h e pr o p ert y a p pr ai s e d. All e xi sti n g li e n s a n d e n c u m br a n c e s h a v e b e e n
              di sr e g ar d e d a n d t h e pr o p ert y i s a p pr ai s e d a s t h o u g h fr e e a n d cl e ar, u n d er r e s p o n si bl e o w n er s hi p
              a n d c o m p et e nt m a n a g e m e nt u nl e s s ot h er wi s e n ot e d.

3.            U nl e s s ot h er wi s e n ot e d, t h e a p pr ai s al will v al u e t h e pr o p ert y a s t h o u g h fr e e of c o nt a mi n ati o n.
              V al bri d g e Pr o p ert y A d vi s or s | C hi c a g o will c o n d u ct n o h a z ar d o u s m at eri al s or c o nt a mi n ati o n
              i n s p e cti o n of a n y ki n d. It i s r e co m m e n d e d t h at t h e cli e nt hir e a n e x p e rt if t h e pr e s e n c e of h a z ar d o u s
              m at eri al s or c o nt a mi n ati o n p o s e s a n y c o n c er n.

4.            T h e st a m p s a n d/ or c o n si d er ati o n pl a c e d o n d e e d s u s e d t o i n di c at e s al e s ar e i n c orr e ct r el ati o n s hi p
              t o t h e a ct u al d oll ar a m o unt of t h e tr a n s a cti o n.

5.            U nl e s s ot h er wi s e n ot e d, it i s a s s u m e d t h er e ar e n o e n cr o a c h m e nt s, z o ni n g vi ol ati o n s or r e stri cti o n s
              e xi sti n g i n t h e s u bj e ct pr o p ert y.

6.            T h e a p pr ai s er i s n ot r e q uir e d t o gi v e t e sti m o n y or att e n d a n c e i n c o urt b y r e a s o n of t hi s a p pr ai s al,
              u nl e s s pr e vi o u s arr a n g e m e nt s h a v e b e e n m a d e.

7.            U nl e s s e x pr e s sl y s p e cifi e d i n t h e e n g a g e m e nt l ett er, t h e f e e f or t hi s a p pr ai s al d o e s n ot i n cl u d e t h e
              att e n d a n c e or gi vi n g of t e sti m o n y b y A p pr ai s er at a n y c o urt, r e g ul at or y or ot h er pr o c e e di n g s, or
              a n y c o nf er e n c e s or ot h er w or k i n pr e p ar ati o n f o r s u c h pr o c e e di n g. If a n y p art n er or e m pl o y e e of
              V al bri d g e Pr o p ert y A d vi s or s | C hi c a g o i s a s k e d or r e q uir e d t o a p p e ar a n d/ or t e stif y at a n y
              d e p o siti o n, tri al, or ot h er pr o c e e di n g a b o ut t h e pr e p ar ati o n, c o n cl u si o n s or a n y ot h er a s p e ct of t hi s
              a s si g n m e nt, cli e nt s h all c o m p e n s at e A p pr ai s er f or t h e ti m e s p e nt b y t h e p art n er or e m pl o y e e i n
              a p p e ari n g a n d/ or t e stif yi n g a n d i n pr e p ari n g t o t e stif y a c c or di n g t o t h e A p pr ai s er’ s t h e n c urr e nt
              h o url y r at e pl u s r ei m b ur s e m e nt of e x p e n s e s.

8.            T h e v al u e s f or l a n d a n d/ or i m pr o v e m e nt s, a s c o nt ai n e d i n t hi s r e p ort, ar e c o n stit u e nt p art s of t h e
              t ot al v al u e r e p ort e d a n d n eit h er i s ( or ar e) t o b e u s e d i n m a ki n g a s u m m ati o n a p pr ai s al of a
              c o m bi n ati o n of v al u e s cr e at e d b y a n ot h er a p pr ai s er. Eit h er i s i n v ali d at e d if s o u s e d.

9.            T h e d at e s of v al u e t o w hi c h t h e o pi n i o n s e x pr e s s e d i n t hi s r e p ort ap pl y ar e s et f ort h i n t hi s r e p ort.
              W e a s s u m e n o r e s p o n si bilit y f or e c o n o mi c or p h y s i c al f a ct or s o c c urri n g at s o m e p oi nt at a l at er
              d at e, w hi c h m a y aff e ct t h e o pi ni o n s st at e d h er ei n. T h e f or e c a st s, pr oj e cti o n s, or o p er ati n g e sti m at e s
              c o nt ai n e d h er ei n ar e b a s e d o n c urr e nt m ar k et c o n diti o n s a n d a nti ci p at e d s h ort-t er m s u p pl y a n d
              d e m a n d f a ct or s a n d ar e s u bj e ct t o c h a n g e wit h f ut ur e c o n diti o n s. A p pr ai s er i s n ot r e s p o n si bl e f or
              d et er mi ni n g w h et h er t h e d at e of v a l u e r e q u e st e d b y Cli e nt i s a p pr o pri at e f or Cli e nt’ s i nt e n d e d u s e.

1 0.          T h e s k et c h e s, m a p s, pl at s a n d e x hi bit s i n t hi s r e p ort ar e i n cl u d e d t o a s si st t h e r e ad er i n vi s u ali zi n g
              t h e pr o p ert y. T h e a p pr ai s er h a s m a d e n o s ur v e y of t h e pr o p ert y a n d a s s u m e d n o r e s p o n si bilit y i n
              c o n n e cti o n wit h s u c h m att er s.

1 1.          T h e i nf or m ati o n, e sti m at e s a n d o pi ni o n s, w hi c h w er e o bt ai n e d fr o m s o ur c e s o ut si d e of t hi s offi c e,
              ar e c o n si d er e d r eli a bl e. H o w e v er, n o li a bilit y f or t he m c a n b e a s s u m e d b y t h e a p pr ai s er.
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1 2.          P o s s e s si o n of t hi s r e p ort, or a c o p y t h er e of, d o e s n ot c arr y wit h it t h e ri g ht of p u bli c ati o n. N eit h er
              all, n or a n y p art of t h e c o nt e nt of t h e r e p ort, or c o p y t h er e of (i n cl u di n g c o n cl u si o n s a s t o pr o p ert y
              v al u e, t h e i d e ntit y of t h e a p pr ai s er s, pr of e s si o n al d e si g n ati o n s, r ef er e n c e t o a n y pr of e s si o n al
              a p pr ai s al or g a ni z ati o n or t h e fir m wit h w hi c h t h e a p pr ai s er s ar e c o n n e ct e d), s h all b e di s s e mi n at e d
              t o t h e p u bli c t hr o u g h a d v erti si n g, p u bli c r el ati o n s, n e w s, s al e s, or ot h er m e di a wit h o ut pri or writt e n
              c o n s e nt a n d a p pr o v al.

1 3.          N o cl ai m i s i nt e n d e d t o b e e x pr e s s e d f or m att er s of e x p erti s e t h at w o ul d r e q uir e s p e ci ali z e d
              i n v e sti g ati o n or k n o wl e d g e b e y o n d t h at or di n aril y e m pl o y e d b y r e al e st at e a p pr ai s er s. W e cl ai m n o
              e x p erti s e i n ar e a s s u c h a s, b ut n ot li mit e d t o, l e g al, s ur v e y, str u ct ur al, e n vir on m e nt al, p e st c o ntr ol,
              m e c h a ni c al, et c.

1 4.          T hi s a p pr ai s al w a s pr e p ar e d f or t h e s ol e a n d e x cl u si v e u s e of t h e cli e nt f or t h e f u n cti o n o utli n e d
              h er ei n. A n y p art y w h o i s n ot t h e cli e nt or i nt e n d e d u s er i d e ntifi e d i n t h e a p pr ai s al or e n g a g e m e nt
              l ett er i s n ot e ntitl e d t o r el y u p o n t h e c o nt e nt s of t h e a p pr ai s al wit h o ut e x pr e s s writt e n c o n s e nt of
              V al bri d g e Pr o p ert y A d vi s or s | C hi c a g o a n d Cli e nt. T h e Cli e nt s h all n ot i n cl u d e p art n er s, affili at e s, or
              r el ati v e s of t h e p art y a d dr e s s e d h er ei n. T h e a p pr ai s er a s s u m e s n o o bli g ati o n, li a bilit y or
              a c c o u nt a bilit y t o a n y t hir d p art y.

1 5.          Di stri b uti o n of t hi s r e p ort i s at t h e s ol e di s cr eti o n of t h e cli e nt, b ut t hir d- p arti e s n ot li st e d a s a n
              i nt e n d e d u s er o n t h e f a c e of t h e a p pr ai s al or t h e e n g a g e m e nt l ett er m a y n ot r el y u p o n t h e c o nt e nt s
              of t h e a p pr ai s al. I n n o e v e nt s h all cli e nt gi v e a t h ir d- p art y a p arti al c o p y of t h e a p pr ai s al r e p ort. W e
              will m a k e n o di stri b uti o n of t h e r e p ort wit h o ut t h e s p e cifi c dir e cti o n of t h e cli e nt.

1 6.          T hi s a p pr ai s al s h all b e u s e d o nl y f or t h e f u n cti o n o utli n e d h er ei n, u nl e s s e x pr e s sl y a ut h ori z e d b y
              V al bri d g e Pr o p ert y A d vi s or s | C hi c a g o.

1 7.          T hi s a p pr ai s al s h all b e c o n si d er e d i n it s e ntir et y. N o p art t h er e of s h all b e u se d s e p ar at el y or o ut of
              c o nt e xt.

1 8.          U nl e s s ot h er wi s e n ot e d i n t h e b o d y of t hi s r e p ort, t hi s a p pr ais al a s s u m e s t h at t h e s u bj e ct pr o p ert y
              d o e s n ot f all wit hi n t h e ar e a s w h er e m a n d at or y fl o o d i n s ur a n c e i s eff e cti v e. U nl e s s ot h er wi s e n ot e d,
              w e h a v e n ot c o m pl et e d n or h a v e w e c o ntr a ct e d t o h a v e c o m pl et e d a n i n v e sti g ati o n t o i d e ntif y
              a n d/ or q u a ntif y t h e pr e s e n c e of n o n-ti d al w etl a n d c o n diti o n s o n t h e s u bj e ct pr o p ert y. B e c a u s e t h e
              a p pr ai s er i s n ot a s ur v e y or, h e or s h e m a k e s n o g u ar a nt e e s, e x pr e s s or i m pli e d, r e g ar di n g t hi s
              d et er mi n ati o n.

1 9.          T h e fl o o d m a p s ar e n ot sit e s p e cifi c. W e ar e n ot q u alifi e d t o c o nfir m t h e l o c ati o n of t h e s u bj e ct
              pr o p ert y i n r el ati o n t o fl o o d h a z ar d ar e a s b a s e d o n t h e F E M A Fl o o d I n s ur a n c e R at e M a p s or ot h er
              s ur v e yi n g t e c h ni q u e s. It i s r e c o m m e n d e d t h at t h e cli e nt o bt ai n a c o nfir m ati o n of t h e s u bj e ct
              pr o p ert y’ s fl o o d z o n e cl a s sifi c a ti o n fr o m a li c e n s e d s ur v e y or.

2 0.          If t h e a p pr ai s al i s f or m ort g a g e l o a n p ur p o s e s 1) w e a s s u m e s ati sf a ct or y c o m pl eti o n of
              i m pr o v e m e nt s if c o n str u cti o n i s n ot c o m pl et e, 2) n o c o n si d er ati o n h a s b e e n gi v e n f or r e nt l o s s
              d uri n g r e nt - u p u nl e s s n ot e d i n t h e b o d y of t hi s r e p ort, a n d 3) o c c u p a n c y at l e v el s c o n si st e nt wit h
              o ur “I n c o m e a n d E x p e n s e Pr oj e cti o n” ar e a nti ci p at e d.

2 1.          It i s a s s u m e d t h at t h er e ar e n o hi d d e n or u n a p p ar e nt c o n diti o n s of t h e pr o p ert y, s u b s oil, or
              str u ct ur e s w hi c h w o ul d r e n d er it m or e or l e s s v al u a bl e. N o r e s p o n si bilit y i s a s s u m e d f or s u c h
              c o n diti o n s or f or e n gi n e eri n g w hi c h m a y b e r e q uir e d t o di s c o v er t h e m.




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2 2.          O ur i n s p e cti o n i n cl u d e d a n o b s er v ati o n of t h e l a n d a n d i m pr o v e m e nt s t h er e o n o nl y. It w a s n ot
              p o s si bl e t o o b s er v e c o n diti o n s b e n e at h t h e s oil or hi d d e n str u ct ur al c o m p o n e nt s wit hi n t h e
              i m pr o v e m e nt s. W e i n s p e ct e d t h e b uil di n g s i n v ol v e d, a n d r e p ort e d d a m a g e (if a n y) b y t er mit e s, dr y
              r ot, w et r ot, or ot h er i nf e st ati o n s a s a m att er of i nf or m ati o n, a n d n o g u ara nt e e of t h e a m o u nt or
              d e gr e e of d a m a g e (if a n y) i s i m pli e d. C o n diti o n of h e ati n g, c o oli n g, v e nt il ati o n, el e ctri c al a n d
              pl u m bi n g e q ui p m e nt i s c o n si d er e d t o b e c o m m e n s ur at e wit h t h e c o n diti o n of t h e b al a n c e of t h e
              i m pr o v e m e nt s u nl e s s ot h er wi s e st at e d. S h o ul d t h e cli e nt h a v e c o n c er n s i n t h e s e ar e a s, it i s t h e
              cli e nt’ s r e s p o n si bilit y t o or d er t h e a p pr o pri at e i n s p e cti o n s. T h e a p pr ai s er d o e s n ot h a v e t h e s kill or
              e x p erti s e t o m a k e s u c h i n s p e cti o n s a n d a s s u m e s n o r e s p o n si bilit y f or t h e s e it e m s.

2 3.          T hi s a p pr ai s al d o e s n ot g u ar a nt e e c o m pli a n c e wit h b uil di n g c o d e a n d lif e s af et y c o d e r e q uir e m e nt s
              of t h e l o c al j uri s di cti o n. It i s a s s u m e d t h at all r e q uir e d li c e n s e s, c o n s e nt s, c e rtifi c at e s of o c c u p a n c y
              or ot h er l e gi sl ati v e or a d mi ni str ati v e a ut h orit y fr o m a n y l o c al, st at e or n ati o n al g o v er n m e nt al or
              pri v at e e ntit y or or g a ni z ati o n h a v e b e e n or c a n b e o bt ai n e d or r e n e w e d f or a n y u s e o n w hi c h t h e
              v al u e c o n cl u si o n c o nt ai n e d i n t hi s r e p ort i s b a s e d u nl e s s s p e cifi c all y st at e d t o t h e c o ntr ar y.

2 4.          W h e n p o s si bl e, w e h a v e r eli e d u p o n b uil di n g m e a s ur e m e nt s pr o vi d e d b y t h e cli e nt, o w n er, or
              a s s o ci at e d a g e nt s of t h e s e p arti e s. I n t h e a b s e n c e of a d et ail e d r e nt r oll, r eli a bl e p u bli c r e c or d s, or
              “ a s- b uilt” pl a n s pr o vi d e d t o u s, w e h a v e r eli e d u p o n o ur o w n m e a s ur e m e nt s of t h e s u bj e ct
              i m pr o v e m e nt s. W e f oll o w t y pi c al a p pr ai s al i n d u str y m et h o d s; h o w e v er, w e r e c o g ni z e t h at s o m e
              f a ct or s m a y li mit o ur a bilit y t o o bt ai n a c c ur at e m e a s ur e m e nt s i n cl u di n g, b ut n ot li mit e d t o, pr o p ert y
              a c c e s s o n t h e d a y of i n s p e cti o n, b a s e m e nt s, f e n c e d/ g at e d ar e a s, gr a d e el e v ati o n s,
              gr e e n er y/ s hr u b b er y, u n e v e n s urf a c e s, m ulti pl e st or y str u ct ur e s, o bt u s e or a c ut e w all a n gl e s,
              i m m o bil e o b str u cti o n s, et c. Pr of e s sio n al b uil di n g ar e a m e a s ur e m e nt s of t h e q u alit y, l e v el of d et ail,
              or a c c ur a c y of pr of e s si o n al m e a s ur e m e nt s er vi c e s ar e b e y o n d t h e s c o p e of t hi s a p pr ai s al
              a s si g n m e nt.

2 5.          W e h a v e att e m pt e d t o r e c o n cil e s o ur c e s of d a t a di s c o v er e d or pr o vi d e d d uri n g t h e a p pr ai s al
              pr o c e s s, i n cl u di n g a s s e s s m e nt d e p art m e nt d at a. Ulti m at el y, t h e m e a s ur e m e nt s t h at ar e d e e m e d b y
              u s t o b e t h e m o st a c c ur a t e a n d/ or r eli a bl e ar e u s e d wit hi n t hi s r e p ort. W hil e t h e m e a s ur e m e nt s a n d
              a n y a c c o m p a n yi n g s k et c h e s ar e c o n si d er e d t o b e r e a s o n a bl y a c c ur at e a n d r eli a bl e, w e c a n n ot
              g u ar a nt e e t h eir a c c ur a c y. S h o ul d t h e cli e nt d e sir e m or e pr e ci s e m e a s ur e m e nt, t h e y ar e ur g e d t o
              r et ai n t h e m e a s ur e m e nt s er vi c e s of a q u alifi e d pr of e s si o n al ( s p a c e pl a n n er, ar c hit e ct or b uil di n g
              e n gi n e er) a s a n alt er n ati v e s o ur c e. If t hi s alt e r n ati v e m e a s ur e m e nt s o ur c e r efl e ct s or r e v e al s
              s u b st a nti al diff er e n c e s wit h t h e m e a s ur e m e nt s u s e d wit hi n t h e r e p o rt, u p o n r e q u e st of t h e cli e nt,
              t h e a p pr ai s er will s u b mit a r e vi s e d r e p ort f or a n a d diti o n al f e e.

2 6.          I n t h e a b s e n c e of b ei n g pr o vi d e d wit h a d et ail e d l a n d s ur v e y, w e h a v e u se d a s s e s s m e nt d e p art m e nt
              d at a t o a s c ert ai n t h e p h y si c al di m e n si o n s a n d a cr e a g e of t h e pr o p ert y. S h o u l d a s ur v e y pr o v e t hi s
              i nf or m ati o n t o b e i n a c c ur at e, u p o n r e q u e st of t h e cli e nt, t h e a p pr ai s er will s u b mit a r e vi s e d r e p ort
              f or a n a d diti o n al f e e.

2 7.          If o nl y pr eli mi n ar y pl a n s a n d s p e cifi c ati o n s w er e a v ail a bl e f or u s e i n t h e pr e p ar ati o n of t hi s a p pr ai s al,
              a n d a r e vi e w of t h e fi n al pl a n s a n d s p e cifi c ati o n s r e v e al s s u b st a nti al diff er e n c e s u p o n r e q u e st of
              t h e cli e nt t h e a p pr ai s er will s u b mit a r e vi s e d r e p ort f or a n a d diti o n al f e e.




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                                                                                                                                   V A C A NT GR O CERY ST ORE
                                                                                                 G E N E R A L A S S U M P TI O N S & LI MI TI N G C O N DI TI O N S


2 8.          U nl e s s ot h er wi s e st at e d i n t hi s r e p ort, t h e v al u e c o n cl u si o n i s pr e di c at e d o n t h e a s s u m pti o n t h at
              t h e pr o p ert y i s fr e e of c o nt a mi n ati o n, e n vir o n m e nt al i m p air m e nt or h a z ar d o u s m at eri al s. U nl e s s
              ot h er wi s e st at e d, t h e e xi st e n c e of h a z ar d o u s m at eri al w a s n ot o b s er v e d b y t h e a p pr ai s er a n d t h e
              a p pr ai s er h a s n o k n o wl e d g e of t h e e xi st e n c e of s u c h m at eri al s o n or i n t h e pr o p ert y. T h e a p pr ai s er,
              h o w e v er, i s n ot q u alifi e d t o d et e c t s u c h s u b st a n c e s. T h e pr e s e n c e of s u b st a n c e s s u c h a s a s b e st o s,
              ur e a-f or m al d e h y d e f o a m i n s ul ati o n or ot h er p ot e nti all y h a z ar d o u s m at eri al s m a y aff e ct t h e v al u e
              of t h e pr o p ert y. N o r e s p o n si bilit y i s a s s u m e d f or a n y s u c h c o n diti o n s, or f or a n y e x p erti s e or
              e n gi n e eri n g k n o w l e d g e r e q uir e d f or di s c o v er y. T h e cli e nt i s ur g e d t o r et ai n a n e x p ert i n t hi s fi el d, if
              d e sir e d.

2 9.          T h e A m eri c a n s wit h Di s a biliti e s A ct (“ A D A”) b e c a m e eff e cti v e J a n u ar y 2 6, 1 9 9 2. W e h a v e n ot m a d e
              a s p e cifi c c o m pli a n c e s ur v e y of t h e pr o p ert y t o d et er mi n e if it i s i n c o nf or mit y wit h t h e v ari o u s
              r e q uir e m e nt s of t h e A D A. It i s p o s si bl e t h at a c o m pli a n c e s ur ve y of t h e pr o p ert y, t o g et h er wit h a n
              a n al y si s of t h e r e q uir e m e nt s of t h e A D A, c o ul d r e v e al t h at t h e pr o p ert y i s n ot i n c o m pli a n c e wit h
              o n e or m or e of t h e r e q uir e m e nt s of t h e A ct. If s o, t hi s c o ul d h a v e a n e g ati v e eff e ct o n t h e v al u e of
              t h e pr o p ert y. Si n c e w e h a v e n o dir ect e vi d e n c e r el ati n g t o t hi s i s s u e, w e di d n ot c o n si d er p o s si bl e
              n o n c o m pli a n c e wit h t h e r e q uir e m e nt s of A D A i n d e v el o pi n g a n o pi ni o n of v al u e.

3 0.          T hi s a p pr ai s al a p pli e s t o t h e l a n d a n d b uil di n g i m pr o v e m e nt s o nl y. T h e v al u e of tr a d e fi xt ur e s,
              f ur ni s hi n g s, a n d ot h er e q ui p m e nt, or s u b s urf a c e ri g ht s ( mi n er al s, g a s, a n d oil) w er e n ot c o n si d er e d
              i n t hi s a p pr ai s al u nl e s s s p e cifi c all y st at e d t o t h e c o ntr ar y.

3 1.          N o c h a n g e s i n a n y f e d er al, st at e or l o c al l a w s, r e g ul ati o n s or c o d e s (i n cl u di n g, wit h o ut li mit ati o n,
              t h e I nt er n al R e v e n u e C o d e) ar e a nti ci p at e d, u nle s s s p e cifi c all y st at e d t o t h e c o ntr ar y.

3 2.          A n y i n c o m e a n d e x p e n s e e sti m at e s c o nt ai n e d i n t h e a p pr ai s al r e p ort ar e u s e d o nl y f or t h e p ur p o s e
              of e sti m ati n g v al u e a n d d o n ot c o n stit ut e pr e di cti o n of f ut ur e o p er ati n g r e s ult s. F urt h er m or e, it i s
              i n e vit a bl e t h at s o m e a s s u m pti o n s will n ot m at eri ali z e a n d t h at u n a nti ci p at e d e v e nt s m a y o c c ur t h at
              will li k el y aff e ct a ct u al p erf or m a n c e.

3 3.          A n y e sti m at e of i n s ur a bl e v al u e, if i n cl u d e d wit hi n t h e s c o p e of w or k a n d pr e s e nt e d h er ei n, i s b a s e d
              u p o n fi g ur e s d e v el o p e d c o n si st e nt wit h i n d u str y pr a cti c e s. H o w e v e r, a ct u al l o c al a n d r e gi o n al
              c o n str u cti o n c o st s m a y v ar y si g nifi c a ntl y fr o m o u r e sti m at e a n d i n di vi d u al i n s ur a n c e p oli ci e s a n d
              u n d er writ er s h a v e v ari e d s p e cifi c at i o n s, e x cl u si o n s, a n d n o n-i n s ur a bl e it e m s. A s s u c h, w e str o n gl y
              r e c o m m e n d t h at t h e Cli e nt o bt ai n e sti m at e s fro m pr of e s si o n al s e x p eri e n c e d i n e st a bli s hi n g
              i n s ur a n c e c o v er a g e. T hi s a n al y si s s h o ul d n ot b e r eli e d u p o n t o d et er mi n e i n s ur a n c e c o v er a g e a n d
              w e m a k e n o w arr a nti e s r e g ar di n g t h e a c c ur a c y of t hi s e sti m at e.

3 4.          T h e d at a g at h er e d i n t h e c o ur s e of t hi s a s si g n m e nt ( e x c e pt d at a f ur ni s h e d b y t h e Cli e nt) s h all r e m ai n
              t h e pr o p ert y of t h e A p pr ai s er. T h e a p pr ai s er will n ot vi ol at e t h e c o nfi d e nti al n at ur e of t h e a p pr ai s er-
              cli e nt r el ati o n s hi p b y i m pr o p erl y di s cl o si n g a n y c o nfi d e nti al i nf or m ati o n f ur n i s h e d t o t h e a p pr ai s er.
              N ot wit h st a n di n g t h e f or e g oi n g, t h e A p pr ai s er i s a ut h ori z e d b y t h e cli e nt t o di s cl o s e all or a n y
              p orti o n of t h e a p pr ai s al a n d r el at e d a p pr ai s al d at a t o a p pr o pri at e r e pr e s e nt ati v e s of t h e A p pr ai s al
              I n stit ut e if s u c h di s cl o s ur e i s r e q uir e d t o e n a bl e t h e a p pr ai s er t o c o m pl y wit h t h e B yl a w s a n d
              R e g ul ati o n s of s u c h I n stit ut e n o w or h er e aft er i n eff e ct.




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                                                                                              G E N E R A L A S S U M P TI O N S & LI MI TI N G C O N DI TI O N S


3 5.          Y o u a n d V al bri d g e Pr o p ert y A d vi s or s | C hi c a g o b ot h a gr e e t h at a n y di s p ut e o v er m att er s i n e x c e s s
              of $ 5, 0 0 0 will b e s u b mitt e d f or r e s ol uti o n b y ar bitr ati o n. T hi s i n cl u d e s f e e di s p ut e s a n d a n y cl ai m
              of m al pr a cti c e. T h e ar bitr at or s h all b e m ut u all y s el e ct e d. If V al bri d g e Pr o p ert y A d vi s or s | C hi c a g o
              a n d t h e cli e nt c a n n ot a gr e e o n t h e ar bitr at or, t h e pr e si di n g h e a d of t h e L o c al C o u nt y M e di ati o n &
              Ar bitr ati o n p a n el s h all s el e ct t h e ar bitr at or. S u c h ar bitr ati o n s h all b e bi n di n g a n d fi n al. I n a gr e ei n g
              t o ar bitr ati o n, w e b ot h a c k n o wl e d g e t h at, b y a gr e ei n g t o bi n di n g ar bi tr ati o n, e a c h of u s i s gi vi n g
              u p t h e ri g ht t o h a v e t h e di s p ut e d e ci d e d i n a c o urt of l a w b ef or e a j u d g e or j ur y. I n t h e e v e nt t h at
              t h e cli e nt, or a n y ot h er p art y, m a k e s a cl ai m a g ain st V al bri d g e Pr o p ert y A d vi s or s | C hi c a g o or a n y
              of it s e m pl o y e e s i n c o n n e cti o n s wit h or i n a n y w a y r el ati n g t o t hi s a s si g n m e nt, t h e m a xi m u m
              d a m a g e s r e c o v er a bl e b y s u c h cl ai m a nt s h all b e t h e a m o u nt a ct u all y r e c ei v e d b y V al bri d g e Pr o p ert y
              A d vi s or s | C hi c a g o f or t hi s a s si g n m e nt, a n d u n d er n o cir c u m st a n c e s s h all a n y cl ai m f or
              c o n s e q u e nti al d a m a g e s b e m a d e.

3 6.          V al bri d g e Pr o p ert y A d vi s or s | C hi c a g o s h all h a v e n o o bli g ati o n, li a bilit y, or a c c o u nt a bilit y t o a n y
              t hir d p art y. A n y p art y w h o i s n ot t h e “ cli e nt” or i nt e n d e d u s er i d e ntifi e d o n t he f a c e of t h e a p pr ai s al
              or i n t h e e n g a g e m e nt l ett er i s n ot e ntitl e d t o r el y u p o n t h e c o nt e nt s of t h e a p pr ai s al wit h o ut t h e
              e x pr e s s writt e n c o n s e nt of V al bri d g e Pr o p ert y A d vi s o r s | C hi c a g o. “ Cli e nt” s hall n ot i n cl u d e p art n er s,
              affili at e s, or r el ati v e s of t h e p art y n a m e d i n t h e e n g a g e m e nt l ett er. Cli e nt s h all h ol d V al bri d g e
              Pr o p ert y A d vi s or s | C hi c a g o a n d it s e m pl o y e e s h ar m l e s s i n t h e e v e nt of a n y l a w s uit br o u g ht b y a n y
              t hir d p art y, l e n d er, p art n er, or p art - o w n er i n a n y f or m of o w n er s hi p or a n y ot h er p art y a s a r e s ult
              of t hi s a s si g n m e nt. T h e cli e nt al s o a gr e e s t h at i n c a s e of l a w s uit ari si n g fr o m or i n a n y w a y i n v ol vi n g
              t h e s e a p pr ai s al s er vi c e s, cli e nt will h ol d V al brid g e Pr o p ert y A d vi s or s | C hi c a g o h ar ml e s s fr o m a n d
              a g ai n st a n y li a bilit y, l o s s, c o st, or e x p e n s e i n c urr e d or s uff er e d b y V al bri d g e Pr o p ert y A d vi s or s |
              C hi c a g o i n s u c h a cti o n, r e g ar dl e s s of it s o ut c o m e.

3 7.          T h e V al bri d g e Pr o p ert y A d vi s or s offi c e r e s p o n si bl e f or t h e pr e p ar ati o n of t hi s r e p ort i s
              i n d e p e n d e ntl y o w n e d a n d o p er at e d b y V al bri d g e Pr o p ert y A d vi s or s - C hi c a g o M etr o . N eit h er
              V al bri d g e Pr o p ert y A d vi s or s, I n c., n or a n y of it s a ffili at e s h a s b e e n e n g a g e d t o pr o vi d e t hi s r e p ort.
              V al bri d g e Pr o p ert y A d vi s or s, I n c. d o e s n ot pr o vi d e v al u ati o n s er vi c e s, a n d h a s t a k e n n o p art i n t h e
              pr e p ar ati o n of t hi s r e p ort.

3 8.          If a n y cl ai m i s fil e d a g ai n st a n y of V al bri d g e Pr o pert y A d vi s or s, I n c., a Fl ori d a C or p or ati o n, it s
              affili at e s, offi c er s or e m pl o y e e s, or t h e fir m pr o vi di n g t hi s r e p ort, i n c o n n e cti o n wit h, or i n a n y w a y
              ari si n g o ut of, or r el ati n g t o, t hi s r e p ort, or t h e e n g a g e m e nt of t h e fir m pr o vi di n g t hi s r e p ort, t h e n
              ( 1) u n d er n o cir c u m st a n c e s s h all s u c h cl ai m a nt b e e ntitl e d t o c o n s e q u e nti al, s p e ci al or ot h er
              d a m a g e s, e x c e pt o nl y f or dir e ct c o m p e n s at or y d a m a g e s, a n d ( 2) t h e m a xi m u m a m o u nt of s u c h
              c o m p e n s at or y d a m a g e s r e c o v er a bl e b y s u c h cl ai m a nt s h all b e t h e a m o u nt a ct u all y r e c ei v e d b y t h e
              fir m e n g a g e d t o pr o vi d e t hi s r e p ort.

3 9.          T hi s r e p ort a n d a n y a s s o ci at e d w o r k fil e s m a y b e s u bj e ct t o e v al u ati o n b y V al bri d g e Pr o p ert y
              A d vi s or s, I n c., or it s affili at e s, f or q u alit y c o ntr ol p ur p o s e s.

4 0.          A c c e pt a n c e a n d/ or u s e of t hi s a p pr ai s al r e p ort c o n stit ut e s a c c e pt a n c e of t h e f o r e g oi n g g e n er al
              a s s u m pti o n s a n d li miti n g c o n diti o n s.




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C ertifi c ati o n – G ar y K. D e Cl ar k, M AI, C R E, F RI C S,
R / W- A C
I c ertif y t h at, t o t h e b e st of m y k n o wl e d g e a n d b eli ef:
       1.     T h e st at e m e nt s of f a ct c o nt ai n e d i n t hi s r e p ort ar e tr u e a n d c orr e ct.
       2.     T h e r e p ort e d a n al y s e s, o pi ni o n s, a n d c o n cl u si o n s ar e li mit e d o nl y b y t h e r e p ort e d a s s u m pti o n s a n d
              li miti n g c o n diti o n s a n d ar e m y p er s o n al, i m p arti al, a n d u n bi a s e d pr of e s si o n al a n al y s e s, o pi ni o n s,
              a n d c o n cl u si o n s.
       3.     I h a v e n o pr e s e nt or pr o s p e cti v e i nt er e st i n t h e pro p ert y t h at i s t h e s u bj e c t of t hi s r e p ort a n d n o
              p er s o n al i nt er e st wit h r e s p e ct t o t h e p arti e s i n v ol v e d.
       4.     T h e u n d er si g n e d h a s n ot p erf or m e d s er vi c e s, a s a n a p pr ai s er or i n a n y ot h er c a p a cit y, r e g ar di n g
              t h e pr o p ert y t h at i s t h e s u bj e ct of t hi s r e p ort wit hi n t h e t hr e e- y e ar p eri o d i m m e di at el y pr e c e di n g
              a c c e pt a n c e of t hi s a s si g n m e nt.
       5.     I h a v e n o bi a s wit h r e s p e ct t o t h e pr o p ert y t h at i s t h e s u bj e ct of t hi s r e p ort or t o t h e p arti e s i n v ol v e d
              wit h t hi s a s si g n m e nt.
       6.     M y e n g a g e m e nt i n t hi s a s si g n m e nt            w as    n o t c o nti n g e nt       upon       d e v el o pi n g   or r e p orti n g
              pr e d et er mi n e d r e s ult s.
       7.     M y c o m p e n s ati o n f or c o m pl eti n g t hi s a s si g n m e nt i s n ot c o nti n g e nt u p o n t h e d e v el o p m e nt or
              r e p orti n g of a pr e d et er mi n e d v al u e or dir e cti o n i n v al u e t h at f a v o r s t h e c a u s e of t h e cli e nt, t h e
              a m o u nt of v al u e o pi ni o n, t h e att ai n m e nt of a st i p ul at e d r e s ult, or t h e o c c urr e n c e of a s u b s e q u e nt
              e v e nt dir e ctl y r el at e d t o t h e i n t e n d e d u s e of t hi s a p pr ai s al.
       8.     M y a n al y s e s, o pi ni o n s a n d c o n cl u si o n s w er e d e v el o p e d, a n d t hi s r e p ort h a s b e e n pr e p ar e d, i n
              c o nf or mit y wit h t h e U nif or m St a n d ar d s of Pr of e s si o n al A p pr ai s al Pr a cti c e.
       9.     G ar y K. D e Cl ar k h a s p er s o n all y i n s p e ct e d t h e s u bj e ct pr o p ert y.
       1 0. A nt h o n y S. M ul é, M AI h a s pr o vi d e d si g nifi c a nt r e al pr o p ert y a p pr ai s al a s si st a n c e t o t h e p er s o n
            si g ni n g t hi s c ertifi c ati o n.
       1 1. T h e r e p ort e d a n al y s e s, o pi ni o n s a n d c o n cl u si o n s w er e d e v el o p e d, a n d t hi s r e p ort h a s b e e n
            pr e p ar e d, i n c o nf or mit y wit h t h e r e q uir e m e nt s of t h e C o d e of Pr of e s si o n al Et hi c s a n d St a n d ar d s of
            Pr of e s si o n al A p pr ai s al Pr a cti c e of t h e A p pr ai s al I n stit ut e.
       1 2. T h e u s e of t hi s r e p ort i s s u bj e ct t o t h e r e q uir e m e nt s of t h e A p pr ai s al I n stit ut e r el ati n g t o r e vi e w b y
            it s d ul y a ut h ori z e d r e pr e s e nt ati v e s.
       1 3. A s of t h e d at e of t hi s r e p ort , t h e u n d er si g n e d h a s c o m pl et e d t h e c o nti n ui n g e d u c ati o n pr o gr a m f or
            D e si g n at e d M e m b er s of t h e A p pr ai s al I n stit ut e.




  G ar y K. D e Cl ar k, M AI, C R E, F RI C S, R/ W- A C
  S e ni or M a n a gi n g Dir e ct or a n d Pri n ci p al
  Wi s c o n si n Li c e n s e 2 6 1- 1 0
  g d e cl ar k @ v al bri d g e. c o m

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